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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                 Exhibit A
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          RPTR ZAMORA

    EDTR ZAMORA




    OVERSIGHT OF THE REPORT ON THE INVESTIGATION INTO RUSSIAN

    INTERFERENCE IN THE 2016 PRESIDENTIAL ELECTION: FORMER SPECIAL

    COUNSEL ROBERT S. MUELLER, III

    Wednesday, July 24, 2019

    House of Representatives,

    Committee on the Judiciary,

    Washington, D.C.




          The committee met, pursuant to call, at 8:32 a.m., in Room

    2141, Rayburn House Office Building, Hon. Jerrold Nadler [chairman

    of the committee] presiding.

          Present:   Representatives Nadler, Lofgren, Jackson Lee,

    Cohen, Johnson of Georgia, Deutch, Bass, Richmond, Jeffries,

    Cicilline, Swalwell, Lieu, Raskin, Jayapal, Demings, Correa,

    Scanlon, Garcia, Neguse, McBath, Stanton, Dean, Mucarsel-Powell,

    Escobar, Collins, Sensenbrenner, Chabot, Gohmert, Jordan, Buck,

    Ratcliffe, Roby, Gaetz, Johnson of Louisiana, Biggs, McClintock,

    Lesko, Reschenthaler, Cline, Armstrong, and Steube.
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          Staff Present:   Aaron Hiller, Deputy Chief Counsel; Arya

    Hariharan, Deputy Chief Oversight Counsel; David Greengrass,

    Senior Counsel; John Doty, Senior Advisor; Lisette Morton,

    Director Policy, Planning, and Member Services; Madeline Strasser,

    Chief Clerk; Moh Sharma, Member Services and Outreach Advisor;

    Susan Jensen, Parliamentarian/Senior Counsel; Sarah Istel,

    Oversight Counsel; Julian Gerson, Staff Assistant; Will Emmons,

    Professional Staff Member; Brendan Belair, Minority Staff

    Director; Bobby Parmiter, Minority Deputy Staff Director/Chief

    Counsel; Jon Ferro, Minority Parliamentarian/General Counsel;

    Carlton David, Minority Chief Oversight Counsel; Ashley Callen,

    Minority Oversight Counsel; Danny Johnson, Minority Oversight

    Counsel; Jake Greenberg, Minority Oversight Counsel; and Erica

    Barker, Minority Chief Legislative Clerk.
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          Chairman Nadler.   The Judiciary Committee will come to order.

    Without objection, the chair is authorized to declare recesses of

    the committee at any time.

          We welcome everyone to today's hearing on oversight of the

    report on the investigation into Russian interference in the 2016

    Presidential election.    I will now recognize myself for a brief

    opening statement.

          Director Mueller, thank you for being here.     I want to say

    just a few words about our themes today:     responsibility,

    integrity, and accountability.    Your career, for example, is a

    model of responsibility.    You are a decorated Marine officer.      You

    were awarded a Purple Heart and the Bronze Star for valor in

    Vietnam.   You served in senior roles at the Department of Justice,

    and in the immediate aftermath of 9/11, you served as director of

    the FBI.

          Two years ago, you return to public service to lead the

    investigation into Russian interference in the 2016 elections.

    You conducted that investigation with remarkable integrity.       For

    22 months, you never commented in public about your work, even

    when you were subjected to repeated and grossly unfair personal

    attacks.   Instead, your indictments spoke for you and in

    astonishing detail.

          Over the course of your investigation, you obtained criminal

    indictments against 37 people and entities.     You secured the

    conviction of President Trump's campaign chairman, his deputy
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    campaign manager, his National Security Advisor, and his personal

    lawyer, among others.    In the Paul Manafort case alone, you

    recovered as much as $42 million so that the cost of your

    investigation to the taxpayers approaches zero.

            And in your report you offer the country accountability as

    well.    In Volume I, you find that the Russian Government attacked

    our 2016 elections, quote, in a sweeping and systematic fashion,

    and that the attacks were designed to benefit the Trump campaign.

            Volume II walks us through 10 separate incidents of possible

    obstruction of justice where, in your words, President Trump

    attempted to exert undue influence over your investigation.      The

    President's behavior included, and I quote from your report,

    quote, public attacks on the investigation, nonpublic efforts to

    control it, and efforts in both public and private to encourage

    witnesses not to cooperate, close quote.

            Among the most shocking of these incidents, President Trump

    ordered his White House counsel to have you fired and then to lie

    and deny that it had happened.    He awarded his former campaign

    manager to convince the recused Attorney General to step in and to

    limit your work, and he attempted to prevent witnesses from

    cooperating with your investigation.

            Although Department policy barred you from indicting the

    President for this conduct, you made clear that he is not

    exonerated.    Any other person who acted in this way would have

    been charged with crimes, and in this Nation, not even the
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    President is above the law, which brings me to this committee's

    work:    responsibility, integrity, and accountability.    These are

    the marks by which we who serve on this committee will be measured

    as well.

            Director Mueller, we have a responsibility to address the

    evidence that you have uncovered.     You recognize as much when you

    said, quote, the Constitution requires a process other than the

    criminal justice system to formally accuse a sitting President of

    wrongdoing, close quote.    That process begins with the work of

    this committee.

            We will follow your example, Director Mueller.    We will act

    with integrity.    We will follow the facts where they lead.    We

    will consider all appropriate remedies.      We will make our

    recommendation to the House when our work concludes.      We will do

    this work because there must be accountability for the conduct

    described in your report, especially as it relates to the

    President.

            Thank you again, Director Mueller.   We look forward to your

    testimony.

            It is now my pleasure to recognize the ranking member of the

    Judiciary Committee, the gentleman from Georgia, Mr. Collins, for

    his opening statement.

            [The statement of Chairman Nadler follows:]



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          Mr. Collins.    Thank you, Mr. Chairman.   And thank you,

    Mr. Mueller, for being here.

          For 2 years leading up to the release of the Mueller report

    and in the 3 months since, Americans were first told what to

    expect and then what to believe.     Collusion, we were told, was in

    plain sight, even if the special counsel's team didn't find it.

          When Mr. Mueller produced his report and Attorney General

    Barr provided it to every American, we read no American conspired

    with Russia to interfere in our elections but learned the depths

    of Russia's malice toward America.

          We are here to ask serious questions about Mr. Mueller's

    work, and we will do that.    After an extended, unhampered

    investigation, today marks an end to Mr. Mueller's involvement in

    an investigation that closed in April.     The burden of proof for

    accusations that remain unproven is extremely high and especially

    in light of the special counsel's thoroughness.

          We were told this investigation began as an inquiry into

    whether Russia meddled in our 2016 election.      Mr. Mueller, you

    concluded they did.    Russians accessed Democrat servers and

    disseminated sensitive information by tricking campaign insiders

    into revealing protected information.

          The investigation also reviewed whether Donald Trump, the

    President, sought Russian assistance as a candidate to win the

    Presidency.   Mr. Mueller concluded he did not.     His family or

    advisers did not.    In fact, the report concludes no one in the
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    President's campaign colluded, collaborated, or conspired with the

    Russians.

          The President watched the public narrative surrounding this

    investigation [inaudible] assume his guilt while he knew the

    extent of his innocence.    Volume II of Mr. Mueller's report

    details the President's reaction to frustrating investigation

    where his innocence was established early on.      The President's

    attitude toward the investigation was understandably negative, yet

    the President did not use his authority to close the

    investigation.   He asked his lawyer if Mr. Mueller had conflicts

    that disqualified Mr. Mueller from the job, but he did not shut

    down the investigation.    The President knew he was innocent.

          Those are the facts of the Mueller report.     Russia meddled in

    the 2016 election, the President did not conspire with the

    Russians, and nothing we hear today will change those facts.         But

    one element of this story remains:     the beginnings of the FBI

    investigation into the President.     I look forward to Mr. Mueller's

    testimony about what he found during his review of the origins of

    the investigation.

          In addition, the inspector general continues to review how

    baseless gossip can be used to launch an FBI investigation against

    a private citizen and eventually a President.      Those results will

    be released, and we will need to learn from them to ensure

    government intelligence and our law enforcement powers are never

    again used and turned on a private citizen or a potential -- or a
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    political candidate as a result of the political leanings of a

    handful of FBI agents.

            The origins and conclusions of the Mueller investigation are

    the same things:    what it means to be American.    Every American

    has a voice in our democracy.    We must protect the sanctity of

    their voice by combatting election interference.      Every American

    enjoys the presumption of innocence and guarantee of due process.

    If we carry nothing -- anything away today, it must be that we

    increase our vigilance against foreign election interference,

    while we ensure our government officials don't weaponize their

    power against the constitutional rights guaranteed to every U.S.

    citizen.

            Finally, we must agree that the opportunity cost here is too

    high.    The months we have spent investigating from this dais

    failed to end the border crisis or contribute to the growing job

    market.    Instead, we have gotten stuck, and it's paralyzed this

    committee and this House.

            And as a side note, every week, I leave my family and kids,

    the most important things to me, to come to this place because I

    believe this place is a place where we can actually do things and

    help people.    Six and a half years ago, I came here to work on

    behalf of the people of the Ninth District in this country, and we

    accomplished a lot in those first 6 years on a bipartisan basis

    with many of my friends across the aisle sitting on this dais with

    me today.    However, this year, because of the majority's dislike
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    of this President and the endless hearing and to a closed

    investigation have caused us to accomplish nothing except talk

    about the problems of our country, while our border is on fire, in

    crisis, and everything else is stopped.

          This hearing is long overdue.     We have had truth for months.

    No American conspired to throw our election.      What we need today

    is to let that truth bring us confidence, and I hope,

    Mr. Chairman, closure.

          With that, I yield back.

          [The statement of Mr. Collins follows:]



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          Chairman Nadler.    Thank you, Mr. Collins.

          I will now introduce today's witness.

          Robert Mueller served as Director of the FBI from 2001 to

    2013, and most recently served as special counsel in the

    Department of Justice overseeing the investigation into Russian

    interference in the 2016 special election.

          He received his BA from Princeton University and MA from

    New York University, in my district, and his JD from the

    University of Virginia.    Mr. Mueller is accompanied by his -- by

    counsel, Aaron Zebley, who served as deputy special counsel on the

    investigation.

          We welcome our distinguished witness, and we thank you for

    participating in today's hearing.

          Now, if you would please rise, I will begin by swearing you

    in.

          Raise your right hand, please.     Left hand.

          Do you swear or affirm under penalty of perjury that the

    testimony you're about to give is true and correct to the best of

    your knowledge, information, and belief, so help you God?

          Let the record show the witness answered in the affirmative.

          Thank you.   And please be seated.

          Please note that your written statement will be entered into

    the record in its entirety.     Accordingly, I ask that you summarize

    your testimony in 5 minutes.

          Director Mueller, you may begin.
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    STATEMENT OF ROBERT S. MUELLER, III, SPECIAL COUNSEL, THE SPECIAL

    COUNSEL'S OFFICE, THE INVESTIGATION INTO RUSSIAN INTERFERENCE IN

    THE 2016 PRESIDENTIAL ELECTION, MAY 2017 TO MAY 2019



          Mr. Mueller.   Good morning, Chairman Nadler and Ranking

    Member Collins, and the members of the committee.

          As you know, in May 2017, the Acting Attorney General asked

    me to serve as special counsel.     I undertook that role because I

    believed that it was of paramount interest to the Nation to

    determine whether a foreign adversary had interfered in the

    Presidential election.    As the Acting Attorney General said at the

    time, the appointment was necessary in order for the American

    people to have full confidence in the outcome.

          My staff and I carried out this assignment with that critical

    objective in mind:    to work quietly, thoroughly, and with

    integrity so that the public would have full confidence in the

    outcome.

          The order appointing me as special counsel directed our

    office to investigate Russian interference in the 2016

    Presidential election.    This included investigating any links or

    coordination between the Russian Government and individuals

    associated with the Trump campaign.     It also included

    investigating efforts to interfere with or obstruct our

    investigation.
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          Throughout the investigation, I continually stressed two

    things to the team that we had assembled.      First, we needed to do

    our work as thoroughly as possible and as expeditiously as

    possible.   It was in the public interest for our investigation to

    be complete but not to last a day longer than was necessary.

          Second, the investigation needed to be conducted fairly and

    with absolute integrity.    Our team would not leak or take other

    actions that could compromise the integrity of our work.         All

    decisions were made based on the facts and the law.

          During the course of our investigation, we charged more than

    30 defendants with committing Federal crimes, including 12

    officers of the Russian military.     Seven defendants have been

    convicted or pled guilty.    Certain other charges we brought remain

    pending today, and for those matters, I stress that the

    indictments contain allegations and every defendant is presumed

    innocent unless and until proven guilty.

          In addition to the criminal charges we brought, as required

    by Justice Department regulations, we submitted a confidential

    report to the Attorney General at the conclusion of our

    investigation.    The report set forth the results of our work and

    the reasons for our charging and declination decisions.         The

    Attorney General later made the report largely public.

          As you know, I made a few limited remarks about our report

    when we closed the Special Counsel's Office in May of this year,

    but there are certain points that bear emphasis.      First, our
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    investigation found that the Russian Government interfered in our

    election in sweeping and systematic fashion.

          Second, the investigation did not establish that members of

    the Trump campaign conspired with the Russian Government in its

    election interference activities.     We did not address collusion,

    which is not a legal term; rather, we focused on whether the

    evidence was sufficient to charge any member of the campaign with

    taking part in a criminal conspiracy, and it was not.

          Third, our investigation of efforts to obstruct the

    investigation and lie to investigators was of critical importance.

    Obstruction of justice strikes at the core of the government's

    effort to find the truth and to hold wrongdoers accountable.

          Finally, as described in Volume II of our report, we

    investigated a series of actions by the President towards the

    investigation.    Based on Justice Department policy and principles

    of fairness, we decided we would not make a determination as to

    whether the President committed a crime.      That was our decision

    then and it remains our decision today.

          Let me say a further word about my appearance today.       It is

    unusual for a prosecutor to testify about a criminal

    investigation.    And given my role as a prosecutor, there are

    reasons why my testimony will necessarily be limited.

          First, public testimony could affect several ongoing matters.

    In some of these matters, court rules or judicial orders limit the

    disclosure of information to protect the fairness of the
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    proceedings.    And consistent with longstanding Justice Department

    policy, it would be inappropriate for me to comment in any way

    that could affect an ongoing matter.

            Second, the Justice Department has asserted privileges

    concerning investigative information and decisions, ongoing

    matters within the Justice Department, and deliberations within

    our office.    These are Justice Department privileges that I will

    respect.    The Department has released the letter discussing the

    restrictions on my testimony.     I therefore will not be able to

    answer questions about certain areas that I know are of public

    interest.

            For example, I am unable to address questions about the

    initial opening of the FBI's Russia investigation, which occurred

    months before my appointment, or matters related to the so-called

    Steele dossier.    These matters are subjects of ongoing review by

    the Department.    Any questions on these topics should therefore be

    directed to the FBI or the Justice Department.

            As I explained when we closed the Special Counsel's Office in

    May, our report contains our findings and analysis and the reasons

    for the decisions we made.     We conducted an extensive

    investigation over 2 years.     In writing the report, we stated the

    results of our investigation with precision.      We scrutinized every

    word.    I do not intend to summarize or describe the results of our

    work in a different way in the course of my testimony today.          And

    as I said on May 29, the report is my testimony, and I will stay
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    within that text.

          And as I stated in May, I will not comment on the actions of

    the Attorney General or of Congress.     I was appointed as a

    prosecutor, and I intend to adhere to that role and to the

    Department standards that govern it.

          I will be joined today by Deputy Special Counsel Aaron

    Zebley.    Mr. Zebley has extensive experience as a Federal

    prosecutor and at the FBI, where he served as my chief of staff.

    Mr. Zebley was responsible for the day-to-day oversight of the

    investigations conducted by our office.

          Now, I also want to, again, say thank you to the attorneys,

    the FBI agents, the analysts, the professional staff who helped us

    conduct this investigation in a fair and independent manner.

    These individuals, who spent nearly 2 years working on this

    matter, were of the highest integrity.

          Let me say one more thing.    Over the course of my career, I

    have seen a number of challenges to our democracy.       The Russian

    Government's effort to interfere in our election is among the most

    serious.   And as I said on May 29, this deserves the attention of

    every American.

          Thank you, Mr. Chairman.

          [The statement of Mr. Mueller follows:]



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          Chairman Nadler.      Thank you.

          We will now proceed under the 5-minute rule with questions.

    I will begin by recognizing myself for 5 minutes.

          Director Mueller, the President has repeatedly claimed that

    your report found there was no obstruction and that it completely

    and totally exonerated him.      But that is not what your report

    said, is it?

          Mr. Mueller.    Correct, that is not what the report said.

          Chairman Nadler.      In our reading from page 2 of Volume II of

    your report that is on the screen, you wrote, quote, if we had

    confidence after a thorough investigation of the facts that the

    President clearly did not commit obstruction of justice, we would

    so state.   Based on the facts and the applicable legal standards,

    however, we are unable to reach that judgment, close quote.

          Now, does that say there was no obstruction?

          Mr. Mueller.    No.

          Chairman Nadler.      In fact, you were actually unable to

    conclude the President did not commit obstruction of justice.         Is

    that correct?

          Mr. Mueller.    Well, we at the outset, determined that

    we -- when it came to the President's culpability, we needed

    to -- we needed to go forward only after taking into account the

    OLC opinion that indicated that a President -- a sitting President

    cannot be indicted.

          Chairman Nadler.      So the report did not conclude that he did
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    not commit obstruction of justice.      Is that correct?

          Mr. Mueller.   That is correct.

          Chairman Nadler.     And what about total exoneration?    Did you

    actually totally exonerate the President?

          Mr. Mueller.   No.

          Chairman Nadler.     Now, in fact, your report expressly states

    that it does not exonerate the President?

          Mr. Mueller.   It does.

          Chairman Nadler.     And your investigation actually found,

    quote, multiple acts by the President that were capable of

    exerting undue influence over law enforcement investigations,

    including the Russian interference and obstruction investigations.

    Is that correct?

          Mr. Mueller.   Correct.

          Chairman Nadler.     Now, Director Mueller, can you explain in

    plain terms what that finding means so the American people can

    understand it?

          Mr. Mueller.   Well, the finding indicates that the President

    was not -- that the President was not exculpated for the acts that

    he allegedly committed.

          Chairman Nadler.     In fact, you were talking about incidents,

    quote, in which the President sought to use his official power

    outside of usual channels, unquote, to exert undue influence over

    your investigations.     Is that right?

          Mr. Mueller.   That's correct.
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          Chairman Nadler.    Now, am I correct, then, on page 7 of

    Volume II of your report, you wrote, quote, the President became

    aware that his own conduct was being investigated in an

    obstruction of justice inquiry.      At that point, the President

    engaged in a second phase of conduct, involving public attacks on

    the investigation, nonpublic efforts to control it, and efforts in

    both public and private to encourage witnesses not to cooperate

    with the investigation, close quote.

          So President Trump's efforts to exert undue influence over

    your investigation intensified after the President became aware

    that he personally was being investigated?

          Mr. Mueller.   I stick with the language that you have in

    front of you.

          Chairman Nadler.    Which --

          Mr. Mueller.   Which comes from page 7, Volume II.

          Chairman Nadler.    Now, is it correct that if you concluded

    that the President committed the crime of obstruction, you could

    not publicly state that in your report or here today?

          Mr. Mueller.   Can you repeat the question, sir?

          Chairman Nadler.    Is it correct that if you had concluded

    that the President committed the crime of obstruction, you could

    not publicly state that in your report or here today?

          Mr. Mueller.   Well, I would say you could -- the statement

    would be that you would not indict and you would not indict

    because under the OLC opinion a sitting President cannot be
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    indicted.   It would be unconstitutional.

          Chairman Nadler.    Okay.     So you could not state that because

    of the OLC opinion if that had been your conclusion?

          Mr. Mueller.   OLC opinion with some guide, yes.

          Chairman Nadler.    But under DOJ -- under Department of

    Justice policy, the President could be prosecuted for obstruction

    of justice crimes after he leaves office, correct?

          Mr. Mueller.   True.

          Chairman Nadler.    Thank you.

          Did any senior White House official refuse a request to be

    interviewed by you and your team?

          Mr. Mueller.   I don't believe so.

          Well, let me take that back.      I would have to look at it, but

    I'm not certain that that was the case.

          Chairman Nadler.    Did the President refuse a request to be

    interviewed by you and your team?

          Mr. Mueller.   Yes.

          Chairman Nadler.    Yes.    And is it true that you tried for

    more than a year to secure an interview with the President?

          Mr. Mueller.   Yes.

          Chairman Nadler.    And is it true that you and your team

    advised the President's lawyer that, quote, an interview with the

    President is vital to our investigation, close quote?

          Mr. Mueller.   Yes.    Yes.

          Chairman Nadler.    And is it true that you also, quote, stated
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    that it is in the interest of the Presidency and the public for an

    interview to take place, close quote?

          Mr. Mueller.   Yes.

          Chairman Nadler.    But the President still refused to sit for

    an interview by you or your team?

          Mr. Mueller.   True.   True.

          Chairman Nadler.    And did you also ask him to provide written

    answers to questions under 10 possible episodes of obstruction of

    justice crimes involving him?

          Mr. Mueller.   Yes.

          Chairman Nadler.    Did he provide any answers to a single

    question about whether he engaged in obstruction of justice

    crimes?

          Mr. Mueller.   I would have to check on that.     I'm not

    certain.

          Chairman Nadler.    Director Mueller, we are grateful that you

    are here to explain your investigation and findings.       Having

    reviewed your work, I believe anyone else would engage in the

    conduct describing your report would have been criminally

    prosecuted.   Your work is vitally important to this committee and

    the American people because no one is above the law.

          I'll now recognize the gentleman from Georgia, Mr. Collins.

          Mr. Collins.   Thank you, Mr. Chairman.

          And we are moving, I understand and just reiterate, on the

    5-minute rule.    Mr. Mueller, I have several questions, many of
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    which that you just answered will be questioned here in a moment,

    but I want to lay some foundations.      So we will go through these

    fairly quickly.    I will talk slowly.    I am said that I talk fast.

    I will talk slowly.

          Mr. Mueller.    Thank you, sir.

          Mr. Collins.    In your press conference, you stated any

    testimony from your office would not go beyond our report.       We

    chose these words carefully.     The words speaks for itself.    I will

    not provide information beyond that which is already public in any

    appearance before Congress.

          Do you stand by that statement?

          Mr. Mueller.    Yes.

          Mr. Collins.    Since closing the Special Counsel's Office in

    May of 2019, have you conducted any additional interviews or

    obtained any new information in your role as special counsel?

          Mr. Mueller.    In the wake of the report?

          Mr. Collins.    Since the closing of the office in May of 2019.

          Mr. Mueller.    And the question was?

          Mr. Collins.    Have you conducted any new interviews and any

    new witnesses or anything?

          Mr. Mueller.    No.

          Mr. Collins.    And you can confirm you're no longer special

    counsel, correct?

          Mr. Mueller.    I am no longer special counsel.

          Mr. Collins.    At any time with the investigation, was your
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    investigation curtailed or stopped or hindered?

          Mr. Mueller.    No.

          Mr. Collins.    Were you or your team provided any questions by

    Members of Congress of the majority ahead of your hearing today?

          Mr. Mueller.    No.

          Mr. Collins.    Your report states that your investigative team

    included 19 lawyers and approximately 40 FBI agents and analysts

    and accountants.     Are those numbers accurate?

          Mr. Mueller.    Could you repeat that, please?

          Mr. Collins.    Forty FBI agents, 19 lawyers, intelligence

    analysts, and forensic accountants.      Are those numbers accurate?

    This is included in your report.

          Mr. Mueller.    Generally, yes.

          Chairman Nadler.      Is it also true that you issued over 2,800

    subpoenas, executed nearly 500 search warrants, obtained more than

    230 orders for communication records, and 50 pen registers?

          Mr. Mueller.    That went a little fast for me.

          Mr. Collins.    Okay.    In your report -- I will make this very

    simple -- you did a lot of work, correct?

          Mr. Mueller.    Yes.    That I agree to.

          Mr. Collins.    A lot of subpoenas?    A lot of pen registers?

          Mr. Mueller.    A lot of subpoenas, yes.

          Mr. Collins.    Okay.    We will walk this really slow if we need

    to.

          Mr. Mueller.    A lot search warrants.
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          Mr. Collins.   All right.   A lot of search warrants, a lot of

    things.   So you are very thorough?

          Mr. Mueller.   What?

          Mr. Collins.   In your opinion, very thorough, you listed this

    out in your report, correct?

          Mr. Mueller.   Yes.

          Mr. Collins.   Thank you.

          Is it true the evidence gathered during your

    investigation -- or given the questions that you have just

    answered, is it true the evidence gathered during your

    investigation did not establish that the President was involved in

    the underlying crime related to Russian election interference as

    stated in Volume I, page 7?

          Mr. Mueller.   We found insufficient evidence of the

    President's culpability --

          Mr. Collins.   So that would be a yes.

          Mr. Mueller.   -- with -- pardon?

          Mr. Collins.   That would be a yes?

          Mr. Mueller.   Yes.

          Mr. Collins.   Thank you.

          Isn't it true the evidence did not establish that the

    President or those close to him were involved in the charge of

    Russian computer hacking or active measure conspiracies or that

    the President otherwise had unlawful relationships with any

    Russian official, Volume II, pages 76, correct?
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          Mr. Mueller.   I leave the answer to our report.

          Mr. Collins.   So that is a yes.

          Is that true, your investigation did not establish that

    members of the Trump campaign conspired or coordinated with the

    Russian Government in the election interference activity, Volume

    I, page 2, Volume I, page 173?

          Mr. Mueller.   Thank you.   Yes.

          Mr. Collins.   Yes.   Thank you.

          Although your report states collusion is not a specific

    offense, and you have said that this morning, or a term of art in

    Federal criminal law, conspiracy is.

          In the colloquial context, are "collusion" and "conspiracy"

    essentially synonymous terms?

          Mr. Mueller.   You're going to have to repeat that for me.

          Mr. Collins.   Collusion is not a specific offense or a term

    of art in the Federal criminal law; conspiracy is.

          Mr. Mueller.   Yes.

          Mr. Collins.   In the colloquial context, known public

    context, "collusion" and "conspiracy" are essentially synonymous

    terms, correct?

          Mr. Mueller.   No.

          Mr. Collins.   If no, on page 180 of Volume I of your report,

    you wrote, as defined in legal dictionaries, collusion is largely

    synonymous with conspiracy as that crime is set forth in the

    general Federal conspiracy statute, 18 U.S.C. 371.       You said at
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    your May 29 press conference and here today, you choose your words

    carefully.   Are you sitting here today testifying to something

    different than what your report states?

          Mr. Mueller.    Well, what I'm asking is, if you can give me

    the citation, I can look at the citation and evaluate whether it

    is accurate.

          Mr. Collins.    Okay.   Let me just be clarifying.   You stated

    that you have stayed within the report.      I just stated your report

    back to you.   And you said that collusion and conspiracy were not

    synonymous terms.    That was -- your answer was no.

          Mr. Mueller.    That's correct.

          Mr. Collins.    In that page 180 of Volume I of your report it

    says, as defined in legal dictionaries, collusion is largely

    synonymous with conspiracy as that crime is set forth in general

    conspiracy statute 18 U.S.C. 371.       Now, you said you chose your

    words carefully.     Are you contradicting your report right now?

          Mr. Mueller.    Not when I read it.

          Mr. Collins.    So you change your answer to yes then?

          Mr. Mueller.    No.   No.   If you look at the language --

          Mr. Collins.    I'm reading your report, sir.    It's a yes or no

    answer.

          Mr. Mueller.    Page 180?

          Mr. Collins.    Page 180, Volume I.    This is from your report.

          Mr. Mueller.    Correct.    And I leave it with the report.

          Mr. Collins.    So the report says, yes, they are synonymous.
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          Mr. Mueller.   Yes.

          Mr. Collins.   Hopefully, for finally, out of your own report,

    we can put to bed the collusion and conspiracy.

          One last question as we're going through.      Did you ever look

    into other countries investigated in the Russian's interference

    into our election?    Were other countries investigated or found

    knowledge that they had interference in our election?

          Mr. Mueller.   I'm not going to discuss other matters.

          Mr. Collins.   With that, I yield back.

          Chairman Nadler.    The gentleman yields back.

          The gentlelady from California.

          Ms. Lofgren.   Director Mueller, as you've heard from the

    chairman, we're mostly going to talk about obstruction of justice

    today.   But the investigation of Russia's attack that started your

    investigation is why evidence of possible obstruction is serious.

          To what extent did the Russian Government interfere in the

    2016 Presidential election?

          Mr. Mueller.   Could you repeat that, ma'am?

          Ms. Lofgren.   To what extent did the Russian Government

    interfere in the 2016 Presidential election?

          Mr. Mueller.   Well, particularly when it came to computer

    crimes and the like, the government was implicated.

          Ms. Lofgren.   So you wrote, in Volume I, that the Russian

    Government interfered in the 2016 Presidential election in

    sweeping and systematic fashion.     You also described in your
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    report that the then-Trump campaign chairman Paul Manafort shared

    with a Russian operative, Kilimnik, the campaign strategy for

    winning Democratic votes in Midwestern States and internal polling

    data of the campaign.    Isn't that correct?

          Mr. Mueller.    Correct.

          Ms. Lofgren.    They also discussed the status of the Trump

    campaign and Manafort's strategy for winning Democratic votes in

    Midwestern States.    Months before that meeting, Manafort had

    caused internal data to be shared with Kilimnik, and the sharing

    continued for some period of time after their August meeting.

    Isn't that correct?

          Mr. Mueller.    Accurate.

          Ms. Lofgren.    In fact, your investigation found that Manafort

    briefed Kilimnik on the state of the Trump campaign and Manafort's

    plan to win the election, and that briefing encompassed the

    campaign's messaging, its internal polling data.      It also included

    discussion of battleground States, which Manafort identified as

    Michigan, Wisconsin, Pennsylvania, and Minnesota.      Isn't that

    correct?

          Mr. Mueller.    That's correct.

          Ms. Lofgren.    Did your investigation determine who requested

    the polling data to be shared with Kilimnik?

          Mr. Mueller.    Well, I would direct you to the report and

    adopt what we have in the report with regard to that particular

    issue.
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          Ms. Lofgren.    We don't have the redacted version.       That's

    maybe another reason why we should get that for Volume I.

          Based on your investigation, how could the Russian Government

    have used this campaign polling data to further its sweeping and

    systematic interference in the 2016 Presidential election?

          Mr. Mueller.    That's a little bit out of our path.

          Ms. Lofgren.    Fair enough.

          Did your investigation find that the Russian Government

    perceived it would benefit from one of the candidates winning?

          Mr. Mueller.    Yes.

          Ms. Lofgren.    And which candidate would that be?

          Mr. Mueller.    Well, it would be Trump --

          Ms. Lofgren.    Correct.

          Mr. Mueller.    -- the President.

          Ms. Lofgren.    Now, the Trump campaign wasn't exactly

    reluctant to take Russian help.      You wrote, it expected it would

    benefit electorally from information stolen and released through

    Russian efforts.     Isn't that correct?

          Mr. Mueller.    That's correct.

          Ms. Lofgren.    Now, was the investigation's

    determination -- what was the investigation's determination

    regarding the frequency with which the Trump campaign made contact

    with the Russian Government?

          Mr. Mueller.    Well, I would have to refer you to the report

    on that.
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          Ms. Lofgren.    Well, we went through and we counted 126

    contacts between Russians or their agents and Trump campaign

    officials or their associates.       So would that sound about right?

          Mr. Mueller.    I can't say.    I understand the statistic and I

    believe it.     I understand the statistic.

          Ms. Lofgren.    Well, Mr. Mueller, I appreciate your being here

    and your report.     From your testimony and the report, I think the

    American people have learned several things.       First, the Russians

    wanted Trump to win; second, the Russians went on a sweeping cyber

    influence campaign.    The Russians hacked the DNC, and they got the

    Democratic game plan for the election.       The Russian campaign

    chairman met with Russian agents and repeatedly gave them internal

    data, polling, and messaging in the battleground States.

          So while the Russians were buying ads and creating propaganda

    to influence the outcome of the election, they were armed with

    inside information that they had stolen through hacking from the

    DNC and that they had been given by the Trump campaign chairman,

    Mr. Manafort.

          My colleagues will probe the efforts undertaken to keep this

    information from becoming public, but I think it's important for

    the American people to understand the gravity of the underlying

    problem that your report uncovered.

          And with that, Mr. Chairman, I would yield back.

          Chairman Nadler.    The gentlelady yields back.

          The gentleman from Texas.
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          Mr. Ratcliffe.   Good morning, Director.     If you'll let me

    quickly summarize your opening statement this morning.          You said

    in Volume I on the issue of conspiracy, the special counsel

    determined that the investigation did not establish that members

    of the Trump campaign conspired or coordinated with the Russian

    Government in its election interference activities.       And then in

    Volume II, for reasons that you explain, the special counsel did

    not make a determination on whether there was an obstruction of

    justice crime committed by the President.

          Is that fair?

          Mr. Mueller.    Yes, sir.

          Mr. Ratcliffe.   All right.   Now, in explaining the special

    counsel did not make what you called a traditional prosecution or

    declination decision, the report on the bottom of page 2 of Volume

    II reads as follows:    The evidence we obtained about the

    President's actions and intent presents difficult issues that

    prevent us from conclusively determining that no criminal conduct

    occurred.   Accordingly, while this report does not conclude that

    the President committed a crime, it also does not exonerate him.

          Now, I read that correctly?

          Mr. Mueller.    Yes.

          Mr. Ratcliffe.   All right.   Now, your report, and today, you

    said that all times the special counsel team operated under was

    guided by and followed Justice Department policies and principles.

    So which DOJ policy or principle sets forth a legal standard that
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    an investigated person is not exonerated if their innocence from

    criminal conduct is not conclusively determined?

          Mr. Mueller.    Can you repeat the last part of that question?

          Mr. Ratcliffe.    Yeah.   Which DOJ policy or principle sets

    forth a legal standard that an investigated person is not

    exonerated if their innocence from criminal conduct is not

    conclusively determined?     Where does that language come from,

    Director?   Where is the DOJ policy that says that?

          Let me make it easier.

          Mr. Mueller.    Can I answer?

          Mr. Ratcliffe.    Is there --

          Mr. Mueller.    I'm sorry.   Go ahead.

          Mr. Ratcliffe.    Can you give me an example other than Donald

    Trump where the Justice Department determined that an investigated

    person was not exonerated because their innocence was not

    conclusively determined?

          Mr. Mueller.    I cannot, but this is a unique situation.

          Mr. Ratcliffe.    Okay.   Well, you can't -- time is short.

    I've got 5 minutes.     Let's just leave it at you can't find it,

    because I'll tell you why.      It doesn't exist.   The special

    counsel's job -- nowhere does it say that you were to conclusively

    determine Donald Trump's innocence or that the special counsel

    report should determine whether or not to exonerate him.

          It's not in any of the documents.     It's not in your

    appointment order.     It's not in the special counsel regulations.
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    It's not in the OLC opinions.     It's not in the Justice manual, and

    it's not in the principles of Federal prosecution.

          Nowhere do those words appear together because, respectfully,

    respectfully, Director, it was not the special counsel's job to

    conclusively determine Donald Trump's innocence or to exonerate

    him because the bedrock principle of our justice system is a

    presumption of innocence.    It exists for everyone.     Everyone is

    entitled to it, including sitting Presidents.      And because there

    is a presumption of innocence, prosecutors never, ever need to

    conclusively determine it.

          Now, Director, the special counsel applied this inverted

    burden of proof that I can't find and you said doesn't exist

    anywhere in the Department policies, and you used it to write a

    report.   And the very first line of your report, the very first

    line of your report says, as you read this morning, it authorizes

    the special counsel to provide the Attorney General with a

    confidential report explaining the prosecution or declination

    decisions reached by the special counsel.      That's the very first

    word of your report, right?

          Mr. Mueller.   That's correct.

          Mr. Ratcliffe.    Here's the problem, Director.    The special

    counsel didn't do that.    On Volume I, you did.    On Volume II, with

    respect to potential obstruction of justice, the special counsel

    made neither a prosecution decision or a declination decision.

    You made no decision.    You told us this morning and in your report
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    that you made no determination.

           So, respectfully, Director, you didn't follow the special

    counsel regulations.      It clearly says write a confidential report

    about decisions reached.      Nowhere in here does it say write a

    report about decisions that weren't reached.      You wrote 180 pages,

    180 pages about decisions that weren't reached, about potential

    crimes that weren't charged or decided.      And respectfully,

    respectfully, by doing that, you managed to violate every

    principle and the most sacred of traditions about prosecutors not

    offering extra prosecutorial analysis about potential crimes that

    aren't charged.

           So Americans need to know this, as they listen to the

    Democrats and socialists on the other side of the aisle as they do

    dramatic readings from this report, that Volume II of this report

    was not authorized under the law to be written.       It was written to

    a legal standard that does not exist at the Justice Department,

    and it was written in violation of every DOJ principle about extra

    prosecutorial commentary.

           I agree with the chairman this morning when he said Donald

    Trump is not above the law.      He's not.   But he damn sure shouldn't

    be below the law, which is where Volume II of this report puts

    him.

           Chairman Nadler.    The gentleman's time is expired.

           The gentlelady from Texas.

           Ms. Jackson Lee.    Thank you, Mr. Chairman.
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          Director Mueller, good morning.     Your exchange with the

    gentlelady from California demonstrates what is at stake.       The

    Trump campaign chair Paul Manafort was passing sensitive voter

    information and poller data to a Russian operative.       And there

    were so many other ways that Russia subverted our democracy.

          Together with the evidence in Volume I, I cannot think of a

    more serious need to investigate.     So now I'm going to ask you

    some questions about obstruction of justice as it relates to

    Volume II.

          On page 12 of Volume II, you state, we determined that there

    were sufficient factual and legal basis to further investigate

    potential obstruction of justice issues involving the President.

    Is that correct?

          Mr. Mueller.   And do you have a citation, ma'am?

          Ms. Jackson Lee.    Page 12, Volume II.

          Mr. Mueller.   And which portion of that page?

          Ms. Jackson Lee.    That is, we determined that there was a

    sufficient factual and legal basis to further investigate

    potential obstruction of justice issues involving the President.

    Is that correct?

          Mr. Mueller.   Yes.

          Ms. Jackson Lee.    Your report also described at least 10

    separate instances of possible obstruction of justice that were

    investigated by you and your team.     Is that correct?

          Mr. Mueller.   Yes.
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          Ms. Jackson Lee.     In fact, the table of contents serves as a

    very good guide of some of the acts of that obstruction of justice

    that you investigated, and I put it up on the screen.       On page 157

    of Volume II, you describe those acts, and they range from the

    President's effort to curtail the special counsel's investigation,

    the President's further efforts to have the Attorney General take

    over the investigation, the President's orders Don McGahn to deny

    that the President tried to fire the special counsel, and many

    others.    Is that correct?

          Mr. Mueller.   Yes.

          Ms. Jackson Lee.     I direct you now to what you wrote,

    Director Mueller:    The President's pattern of conduct as a whole

    sheds light on the nature of the President's acts and the

    inferences that can be drawn about his intent.

          Does that mean you have to investigate all of his conduct to

    ascertain true motive?

          Mr. Mueller.   No.

          Ms. Jackson Lee.     And when you talk about the President's

    pattern of conduct, that include the 10 possible acts of

    obstruction that you investigated.     Is that correct?    When you

    talk about the President's pattern of conduct, that would include

    the 10 possible acts of obstruction that you investigated,

    correct?

          Mr. Mueller.   I direct you to the report for how that is

    characterized.
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          Ms. Jackson Lee.    Thank you.

          Let me go to the screen again.     And for each of those 10

    potential instances of obstruction of justice, you analyzed three

    elements of a crime of obstruction of justice:      an obstructive

    act, a nexus between the act and official proceeding, and corrupt

    intent.   Is that correct?

          Mr. Mueller.    Yes.

          Ms. Jackson Lee.    You wrote on page 178, Volume II in your

    report, about corrupt intent:     Actions by the President to end a

    criminal investigation into his own conduct to protect against

    personal embarrassment or legal liability would constitute a core

    example of corruptly motivated conduct.      Is that correct?

          Mr. Mueller.    Yes.

          Ms. Jackson Lee.    To the screen again.   Even with the

    evidence you did find, is it true, as you note on page 76 of

    Volume II, that the evidence does indicate that a thorough FBI

    investigation would uncover facts about the campaign and the

    President personally that the President could have understood to

    be crimes or that would give rise to legal, personal, and

    political concerns?

          Mr. Mueller.    I rely on the language of the report.

          Ms. Jackson Lee.    Is that relevant to potential obstruction

    of justice?   Is that relevant to potential obstruction of justice?

          Mr. Mueller.    Yes.

          Ms. Jackson Lee.    You further elaborate on page 157,
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    obstruction of justice can be motivated by desire to protect

    noncriminal personal interests to protect against investigations

    where underlying criminal liability fall into a gray area or to

    avoid personal embarrassment.     Is that correct?

          Mr. Mueller.   I have on the screen --

          Ms. Jackson Lee.    Is that correct on the screen?

          Mr. Mueller.   Can you repeat the question, now that I have

    the language on the screen?

          Ms. Jackson Lee.    Is it correct, as you further elaborate,

    obstruction of justice can be motivated by a direct desire to

    protect noncriminal personal interests to protect against

    investigations where underlying criminal liability falls into a

    gray area --

          Mr. Mueller.   Yes.

          Ms. Jackson Lee.    -- or to avoid -- is that true?

          Mr. Mueller.   Yes.

          Ms. Jackson Lee.    And is it true that the impact -- pardon?

          Mr. Mueller.   Can you read the last question?

          Ms. Jackson Lee.    The last question was --

          Mr. Mueller.   I want to make certain I got it accurate.

          Ms. Jackson Lee.    No.   The last question was the language on

    the screen asking you if that's correct.

          Mr. Mueller.   Yes.

          Ms. Jackson Lee.    Okay.   Does a conviction of obstruction of

    justice result potentially in a lot of years of -- a lot of years
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    of time in jail?

          Mr. Mueller.   Yes.

          Well, again, can you repeat the question just to make certain

    that I have it accurate?

          Ms. Jackson Lee.    Does obstruction of justice warrant a lot

    of time in jail --

          Mr. Mueller.   Yes.

          Ms. Jackson Lee.    -- if you were convicted?

          Mr. Mueller.   Yes.

          Ms. Jackson Lee.    And if --

          Chairman Nadler.    The time of the gentlelady is expired.

          The gentleman from Wisconsin.

          Mr. Sensenbrenner.    Thank you very much, Mr. Chairman.

          Let me begin by reading the special counsel regulations by

    which you were appointed.    It reads, quote, at the conclusion of

    the special counsel's work, he or she shall provide the Attorney

    General with a confidential report explaining the prosecution or

    declination's decisions reached by the special counsel.         Is that

    correct?

          Mr. Mueller.   Yes.

          Mr. Sensenbrenner.    Okay.     Now, when a regulation uses the

    word "shall" provide, does it mean that the individual is, in

    fact, obligated to provide what's being demanded by the regulation

    or statute, meaning you don't have any wiggle room, right?

          Mr. Mueller.   I'd have to look more closely at the statute.
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          Mr. Sensenbrenner.    Well, I just read it to you.

          Okay.   Now, Volume II, page 1, your report boldly states, we

    determined not to make a traditional prosecutorial judgment.          Is

    that correct?

          Mr. Mueller.   I'm trying to find that citation, Congressman.

          Chairman Nadler.    Director, could you speak more directly

    into the microphone, please?

          Mr. Mueller.   Yes.

          Chairman Nadler.    Thank you.

          Mr. Sensenbrenner.    It's Volume II, page --

          Mr. Mueller.   Mr. Chairman -- I am sorry.

          Mr. Sensenbrenner.    Volume II, page 1, it said, we determined

    not to make a traditional prosecutorial judgment.

          Mr. Mueller.   Yes.

          Mr. Sensenbrenner.    That's right in the beginning.

          Now, since you decided under the OLC opinion that you

    couldn't prosecute a sitting President, meaning President Trump,

    why did we have all of this investigation of President Trump that

    the other side is talking about when you knew that you weren't

    going to prosecute him?

          Mr. Mueller.   Well, you don't know where the investigation is

    going to lie, and the OLC opinion itself says that you can

    continue the investigation even though you are not going to indict

    the President.

          Mr. Sensenbrenner.    Okay.   Well, if you're not going to
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    indict the President, then you just continue fishing.       And

    that's -- you know, that's my observation.

          Mr. Mueller.   Well --

          Mr. Sensenbrenner.    You know, sure -- my time is limited.

    Sure you can indict other people, but you can't indict the sitting

    President, right?

          Mr. Mueller.   That's true.

          Mr. Sensenbrenner.    Okay.   Now, there are 182 pages in raw

    evidentiary material, including hundreds of references to 302,

    which are interviews by the FBI, for individuals who have never

    been cross-examined and which did not comply with the special

    counsel's governing regulation to explain the prosecution or

    declination decisions reached.      Correct?

          Mr. Mueller.   And where are you reading from on that?

          Mr. Sensenbrenner.    I'm reading from my question.

          Mr. Mueller.   Then could you repeat it?

          Mr. Sensenbrenner.    Okay.   You have 182 pages of raw

    evidentiary material with hundreds of references to 302s who have

    never been cross-examined and which didn't comply with the

    governing regulation to explain the prosecution or

    declaration -- declination decisions reached.

          Mr. Mueller.   This is one of those areas which I decline to

    discuss by --

          Mr. Sensenbrenner.    Okay.   Then let --

          Mr. Mueller.   -- and would direct you to the report itself or
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    what is done on that --

           Mr. Sensenbrenner.   Well, I looked at 182 pages of it.

           You know, let me switch gears.    Mr. Chabot and I were on this

    committee during the Clinton impeachment.      Now, while I recognize

    that the independent counsel statute under which Kenneth Starr

    operated is different from the special counsel's statute, he in a

    number of occasions in his report stated that the -- President

    Clinton's actions may have risen to impeachable conduct,

    recognizing that it is up to the House of Representatives to

    determine what conduct is impeachable.

           You never used the term "raising" to impeachable conduct for

    any of the 10 instances that the gentlewoman from Texas did.          Is

    it true that there's nothing in Volume II of the report that says

    that the President may have engaged in impeachable conduct?

           Mr. Mueller.   Well, we have studiously kept in the center of

    our investigation the -- our mandate, and our mandate does not go

    to other ways of addressing conduct.     Our mandate goes to

    what -- developing the report and turning the report in to the

    Attorney General.

           Mr. Sensenbrenner.   With due respect, you know, it seems to

    me, you know, that there are a couple of statements that you made,

    you know, that said that this is not for me to decide, and the

    implication is that this is for this committee to decide.

           Now, you didn't use the word "impeachable" conduct like Starr

    did.   There was no statute to prevent you from using the word
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    "impeachable" conduct.       And I go back to what Mr. Ratcliffe said,

    and that is, is that even the President is innocent until proven

    guilty.

            My time is up.

            Chairman Nadler.    The gentleman's time is expired.

            The gentleman from Tennessee.

            Mr. Cohen.     Thank you, Mr. Chair.

            First, I'd just like to restate what Mr. Nadler said about

    your career.    It's a model of rectitude, and I thank you.

            Mr. Mueller.     Thank you.

            Mr. Cohen.     Based upon your investigation, how did

    President Trump react to your appointment as special counsel?

            Mr. Mueller.     Again, I send you the report for where that is

    stated.

            Mr. Cohen.     Well, there is a quote from page 78 of your

    report, Volume II, which reads, when Sessions told the President

    that a special counsel had been appointed, the President slumped

    back in his chair and said, quote, oh, my god.          This is terrible.

    This is the end of my Presidency.          I'm F'ed, unquote.

            Did Attorney General Sessions tell you about that little

    talk?

            Mr. Mueller.     I'm not sure --

            Chairman Nadler.    Director, please speak into the microphone.

            Mr. Mueller.     Oh, surely.   My apologies.

            I am not certain of the person who originally copied that
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    quote.

          Mr. Cohen.     Okay.    Well, Sessions apparently said it, and one

    of his aides had it in his notes too, which I think you had, but

    that's become record.        He wasn't pleased.   He probably wasn't

    pleased with the special counsel and particularly you because of

    your outstanding reputation.

          Mr. Mueller.    Correct.

          Mr. Cohen.     Prior to your appointment, the Attorney General

    recused himself from the investigation because of his role in the

    2016 campaign.     Is that not correct?

          Mr. Mueller.    That's correct.

          Mr. Cohen.     Recusal means the Attorney General cannot be

    involved in the investigation.        Is that correct?

          Mr. Mueller.    That's the effect of recusal, yes.

          Mr. Cohen.     And so instead, another Trump appointee, as you

    know Mr. Sessions was, Mr. Rosenstein became in charge of it.           Is

    that correct?

          Mr. Mueller.    Yes.

          Mr. Cohen.     Wasn't Attorney General Sessions following the

    rules and professional advice of the Department of Justice ethics

    folks when he recused himself from the investigation?

          Mr. Mueller.    Yes.

          Mr. Cohen.     And yet the President repeatedly expressed his

    displeasure at Sessions' decision to follow those ethics rules to

    recuse himself from oversight of that investigation.         Is that not
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    correct?

            Mr. Mueller.    That's correct based on what is written in the

    report.

            Mr. Cohen.     And the President's reaction to the recusal, as

    noted in the report, Mr. Bannon recalled that the President was

    mad, as mad as Bannon had ever seen him, and he screamed at McGahn

    about how weak Sessions was.         Do you recall that from the report?

            Mr. Mueller.    That's in the report, yes.

            Mr. Cohen.     Despite knowing that Attorney General Sessions

    was not supposed to be involved in the investigation, the

    President still tried to get the Attorney General to unrecuse

    himself after you were appointed special counsel.         Is that

    correct?

            Mr. Mueller.    Yes.

            Mr. Cohen.     In fact, your investigation found that at some

    point after your appointment, quote, the President called Sessions

    at his home and asked if he would unrecuse himself.         Is that not

    true?

            Mr. Mueller.    It's true.

            Mr. Cohen.     Now, that wasn't the first time the President

    asked Sessions to unrecuse himself, was it?

            Mr. Mueller.    I know there were at least two occasions.

            Mr. Cohen.     And one of them was with Flynn, and one of them

    was when Sessions and McGahn flew to Mar-a-Largo to meet with the

    President.    Sessions recalled that the President pulled him aside
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    to speak alone and suggest that he should do this unrecusal act,

    correct?

          Mr. Mueller.    Correct.

          Mr. Cohen.     And then when Michael Flynn -- a few days after

    Flynn entered a guilty plea for lying to Federal agents and

    indicated his intent to cooperate with that investigation, Trump

    asked to speak to Sessions alone again in the Oval Office and

    again asked Sessions to unrecuse himself.      True?

          Mr. Mueller.    I refer you to the report for that.

          Mr. Cohen.     Page 109, Volume II.   Thank you, sir.

          Do you know of any point when the President personally

    expressed anger or frustrations at Sessions?

          Mr. Mueller.    I'd have to pass on that.

          Mr. Cohen.     Do you recall -- and I think it's at page 78 of

    Volume II, the President told Sessions, you were supposed to

    protect me, you were supposed to protect me, or words to that

    effect?

          Mr. Mueller.    Correct.

          Mr. Cohen.     And is the Attorney General supposed to be the

    Attorney General of the United States of America or the

    consigliere for the President?

          Mr. Mueller.    United States of America.

          Mr. Cohen.     Thank you, sir.

          In fact, you wrote in your report that the President

    repeatedly sought to convince Sessions to unrecuse himself so
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    Sessions could supervise the investigation in a way that would

    restrict its scope.     Is that correct?

          Mr. Mueller.    I rely on the report.

          Mr. Cohen.     How could Sessions have restricted the scope of

    your investigation?

          Mr. Mueller.    Well, I'm not going to speculate.    If

    he -- quite obviously if he took over as Attorney General, he

    would have greater latitude in his actions that would enable him

    to do things that otherwise he could not.

          Mr. Cohen.     On page 113 you said the President believed that

    an unrecused Attorney General would play a protective role and

    could shield the President from the ongoing investigation.

          Regardless of all that, I want to thank you, Director

    Mueller, for your life of rectitude and service to our country.

    It's clear from your report and the evidence that the President

    wanted former Attorney General Sessions to violate the Justice

    Department ethics rules by taking over your investigation and

    improperly interfering with it to protect himself and his

    campaign.   Your findings are so important because in America

    nobody is above the law.

          I yield back the balance of my time.

          Chairman Nadler.    I thank the gentleman for yielding back.

          The gentleman from Ohio.

          Mr. Chabot.     Thank you.

          Director Mueller, my Democratic colleagues were very
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    disappointed in your report.     They were expecting you to say

    something along the lines of, here's why President Trump deserves

    to be impeached, as much as Ken Starr did relative to President

    Clinton back about 20 years ago.     Well, you didn't.     So their

    strategy had to change.

          Now they allege that there's plenty of evidence in your

    report to impeach the President but the American people just

    didn't read it.     And this hearing today is their last best hope to

    build up some sort of ground swell across America to impeach

    President Trump.     That's what this is really all about today.

          Now, a few questions.    On page 103 of Volume II of your

    report, when discussing the June 2016 Trump Tower meeting, you

    reference, quote, the firm that produced the Steele reporting,

    unquote.    The name of that firm was Fusion GPS.      Is that correct?

          Mr. Mueller.    And you're on page 103?

          Mr. Chabot.    103, that's correct, Volume II.     When you talk

    about the firm that produced the Steele reporting, the name of the

    firm that produced that was Fusion GPS.      Is that correct?

          Mr. Mueller.    I'm not familiar with that.    Could you --

          Mr. Chabot.    Let me just help you.   It was.    It's not a trick

    question.   It was Fusion GPS.

          Now, Fusion GPS produced the opposition research document

    widely known as the Steele dossier, and the owner of Fusion GPS

    was someone named Glenn Simpson.     Are you familiar with --

          Mr. Mueller.    This is outside my purview.
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          Mr. Chabot.    Okay.   Glenn Simpson was never mentioned in the

    448-page Mueller report, was he?

          Mr. Mueller.   Well, as I say, it's outside my purview, and

    it's being handled in the Department by others.

          Mr. Chabot.    Okay.   Well, he was not.   448 pages, the owner

    of Fusion GPS that did the Steele dossier that started all this,

    he's not mentioned in there.

          Let me move on.    At the same time, Fusion GPS was working to

    collect opposition research on Donald Trump from foreign sources

    on behalf of the Clinton campaign and the Democratic National

    Committee.   It also was representing a Russian-based company,

    Prevezon, which had been sanctioned by the U.S. Government.       Are

    you aware of that?

          Mr. Mueller.   That's outside my purview.

          Mr. Chabot.    Okay.   Thank you.

          One of the key players in the -- I'll go to something

    different.   One of the key players in the June 2016 Trump Tower

    meeting was Natalia Veselnitskaya, who you described in your

    report as a Russian attorney who advocated for the repeal of the

    Magnitsky Act.    Veselnitskaya had been working with none other

    than Glenn Simpson and Fusion GPS since at least early 2014.          Are

    you aware of that?

          Mr. Mueller.   Outside my purview.

          Mr. Chabot.    Thank you.

          But you didn't mention that or her connections to Glenn
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    Simpson at Fusion GPS in your report at all.

          Let me move on.    Now, NBC News has reported the following:

    quote, Russian lawyer Natalia Veselnitskaya says she first

    received the supposedly incriminating information she brought to

    Trump Tower describing alleged tax evasion and donation to

    Democrats from none other than Glenn Simpson, the Fusion GPS

    owner.

          You didn't include that in the report, and I assume --
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    RPTR BRYANT

    EDTR SECKMAN

    [9:32 a.m.]

          Mr. Mueller.   -- it is a matter being handled by others at

    the Department of Justice.

          Mr. Chabot.    Thank you.   Now, your report spends 14 pages

    discussing the June 9, 2016, Trump Tower meeting.      It would be

    fair to say, would it not, that you spent significant resources

    investigating that meeting?

          Mr. Mueller.   I refer you to the report.

          Mr. Chabot.    Okay.   And President Trump wasn't at the

    meeting?

          Mr. Mueller.   No, he was not.

          Mr. Chabot.    Thank you.   Now, in stark contrast to the

    actions of the Trump campaign, we know that the Clinton campaign

    did pay Fusion GPS to gather dirt on the Trump campaign from

    persons associated with foreign governments.      But your report

    doesn't mention a thing about Fusion GPS in it, and you didn't

    investigate Fusion GPS' connections to Russia.

          So let me just ask you this:     Can you see that, from

    neglecting to mention Glenn Simpson and Fusion GPS' involvement

    with the Clinton campaign to focusing on a brief meeting at the

    Trump Tower that produced nothing to ignoring the Clinton

    campaign's own ties to Fusion GPS, why some view your report as a
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    pretty one-sided attack on the President?

          Mr. Mueller.    Well, I tell you, it is still outside my

    purview.

          Mr. Chabot.    And I would just note, finally, that I guess it

    is just by chance, by coincidence that the things left out of the

    report tended to be favorable to the President.

          Chairman Nadler.    Your time has expired.

          Mr. Chabot.    My time has expired.

          Chairman Nadler.    The gentleman from Georgia.

          Mr. Johnson of Georgia.      Thank you.

          Director Mueller, I would like to get us back on track here.

    Your investigation found that President Trump directed White House

    Counsel Don McGahn to fire you.       Isn't that correct?

          Mr. Mueller.    True.

          Mr. Johnson of Georgia.      And the President claimed that he

    wanted to fire you because you had supposed conflicts of interest.

    Isn't that correct?

          Mr. Mueller.    True.

          Mr. Johnson of Georgia.      You had no conflicts of interest

    that required your removal.       Isn't that a fact?

          Mr. Mueller.    Also correct.

          Mr. Johnson of Georgia.      And, in fact, Don McGahn advised the

    President that the asserted conflicts were, in his words, silly

    and not real conflicts.       Isn't that true?

          Mr. Mueller.    I refer to the report on that episode.
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            Mr. Johnson of Georgia.    Well, page 85 of Volume II speaks to

    that.    And, also, Director Mueller, DOJ Ethics officials confirmed

    that you had no conflicts that would prevent you from serving as

    special counsel.       Isn't that correct?

            Mr. Mueller.    That is correct.

            Mr. Johnson of Georgia.    But despite Don McGahn and the

    Department of Justice guidance, around May 23, 2017, the

    President, quote, prodded McGahn to complain to Deputy Attorney

    General Rosenstein about these supposed conflicts of interest,

    correct?

            Mr. Mueller.    Correct.

            Mr. Johnson of Georgia.    And McGahn declined to call

    Rosenstein -- or Rosenstein, I am sorry -- telling the President

    that it would look like still trying to meddle in the

    investigation and knocking out Mueller would be another fact used

    to claim obstruction of justice.       Isn't that correct?

            Mr. Mueller.    Generally so, yes.

            Mr. Johnson of Georgia.    And, in other words, Director

    Mueller, the White House counsel told the President that if he

    tried to remove you that that could be another basis to allege

    that the President was obstructing justice, correct?

            Mr. Mueller.    That is generally correct, yes.

            Mr. Johnson of Georgia.    Now, I would like to review what

    happened after the President was warned about obstructing justice.

    On Tuesday, June --
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          Mr. Mueller.    I am sorry, Congressman.    Do you have a

    citation for that?

          Mr. Johnson of Georgia.      Yes.   Volume II, page 81 --

          Mr. Mueller.    Thank you.

          Mr. Johnson of Georgia.      -- and 82.   Now, I would like to

    review what happened after the President was warned about

    obstructing justice.    It is true that, on Tuesday, June 13, 2017,

    the President dictated a press statement stating he had, quote, no

    intention of firing you, correct?

          Mr. Mueller.    Correct.

          Mr. Johnson of Georgia.      But the following day, June 14th,

    the media reported for the first time that you were investigating

    the President for obstruction of justice, correct?

          Mr. Mueller.    Correct.

          Mr. Johnson of Georgia.      And then, after learning for the

    first time that he was under investigation, the very next day the

    President, quote, issued a series of tweets acknowledging the

    existence of the obstruction investigation and criticizing it.

    Isn't that correct?

          Mr. Mueller.    Generally so.

          Mr. Johnson of Georgia.      And then, on Saturday, June 17th, 2

    days later, the President called Don McGahn at home from Camp

    David on a Saturday to talk about you.       Isn't that correct?

          Mr. Mueller.    Correct.

          Mr. Johnson of Georgia.      What was the significant -- what was
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    significant about that first weekend phone call that Don McGahn

    took from President Trump?

          Mr. Mueller.    I am going to ask you to rely on what we wrote

    about those incidents.

          Mr. Johnson of Georgia.    Well, you wrote in you your report

    that on -- at page 85, Volume II, that, on Saturday, June 17,

    2017, the President called McGahn at home to have the special

    counsel removed.     Now, did the President call Don McGahn more than

    once that day?

          Mr. Mueller.    Well --

          Mr. Johnson of Georgia.    I think there were two calls.

          Chairman Nadler.    Speak into the mike, please.

          Mr. Mueller.    I am sorry about that.

          Mr. Johnson of Georgia.    On page 85 of your report, you

    wrote, quote, on the first call, McGahn recalled that the

    President said something like, quote, "You got to do this, you got

    to call Rod," correct?

          Mr. Mueller.    Correct.

          Mr. Johnson of Georgia.    And your investigation and report

    found that Don McGahn was perturbed, to use your words, by the

    President's request to call Rod Rosenstein to fire him.         Isn't

    that correct?

          Mr. Mueller.    Well, there was a continuous colloquy.      There

    was a continuous involvement of Don McGahn responding to the

    President's entreaties.
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          Mr. Johnson of Georgia.    And he did not want to put himself

    in the middle of that.    He did not want to have a role in asking

    the Attorney General to fire the special counsel, correct?

          Mr. Mueller.   Well, I would again refer you to the report and

    the way it is characterized in the report.

          Mr. Johnson of Georgia.    Thank you.    At Volume II, page 85,

    it states that he didn't want to have the Attorney General -- he

    didn't want to have a role in trying to fire the Attorney General.

          So, at this point, I will yield back.

          Chairman Nadler.    The gentleman's time is expired.      The

    gentleman from Texas.

          Mr. Gohmert.   Thank you, Mr. Chairman.

          Mr. Mueller, well, first, let me ask unanimous consent, Mr.

    Chairman, to submit this article "Robert Mueller:      Unmasked" for

    the record.

          Chairman Nadler.    Without objection.
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          [The information follows:]



    ******** COMMITTEE INSERT ********
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          Mr. Gohmert.   Now, Mr. Mueller, who wrote the 9-minute

    comments you read at your May 29th press conference?

          Mr. Mueller.   I am not going to get into that.

          Mr. Gohmert.   Okay.   So that is what I thought.    You didn't

    write it.

          A 2013 puff piece in The Washingtonian about Comey said,

    basically, when Comey called, you would drop everything you were

    doing.   It gave examples:   You were having dinner with your wife

    and daughter.    Comey calls.   You drop everything and go.

          The article quoted Comey as saying:     If a train were coming

    down the track, and I quote, at least Bob Mueller will be standing

    on the tracks with me.

          You and James Comey have been good friends or were good

    friends for many years, correct?

          Mr. Mueller.   No, we were business associates.     We both

    started off in the Justice Department about the same time.

          Mr. Gohmert.   You were good friends.    You can work together

    and not be friends, but you and Comey were friends.

          Mr. Mueller.   We were friends.

          Mr. Gohmert.   That is my question.    Thank you for getting to

    the answer.

          Now, before you were appointed as special counsel, had you

    talked to James Comey in the preceding 6 months?

          Mr. Mueller.   No.

          Mr. Gohmert.   When you were appointed as special counsel, was
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    President Trump's firing of Comey something you anticipated

    investigating, potentially obstruction of justice?

          Mr. Mueller.   I am not going to get into that, internal

    deliberations at the Justice Department.

          Mr. Gohmert.   Actually, it goes to your credibility, and

    maybe you have been away from the courtroom for a while.

    Credibility is always relevant.     It is always material.      And that

    goes for you too.    You are a witness before us.

          Let me ask you, when you talked to President Trump the day

    before he appointed -- or you were appointed as special

    counsel -- you were talking to him about the FBI Director position

    again -- did he --

          Mr. Mueller.   That is not --

          Mr. Gohmert.   -- mention the firing of James Comey --

          Mr. Mueller.   -- not as a candidate.    I was asked --

          Mr. Gohmert.   Did he mention the firing of James Comey in

    your discussion with him?

          Mr. Mueller.   I cannot remember.

          Mr. Gohmert.   Pardon?

          Mr. Mueller.   I cannot remember.    I don't believe so, but I

    am not going to be specific.

          Mr. Gohmert.   You don't remember.    But if he did, you could

    have been a fact witness as to the President's comments and state

    of mind on firing James Comey.

          Mr. Mueller.   I suppose that is possible.
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            Mr. Gohmert.   Yeah.   So most prosecutors would want to make

    sure there was no appearance of impropriety, but in your case, you

    hired a bunch of people that did not like the President.

            Let me ask you, when did you first learn of Peter Strzok's

    animus toward Donald Trump?

            Mr. Mueller.   In the summer of 2017.

            Mr. Gohmert.   You didn't know before he was hired?

            Mr. Mueller.   I am sorry?

            Mr. Gohmert.   You didn't know before he was hired for your

    team?

            Mr. Mueller.   Know what?

            Mr. Gohmert.   Peter Strzok hated Trump.

            Mr. Mueller.   Okay.

            Mr. Gohmert.   You didn't know that before he was made part of

    your team.    Is that what you are saying?

            Mr. Mueller.   No, I did not know that.

            Mr. Gohmert.   All right.    When did you first learn --

            Mr. Mueller.   And, actually, when I did find out, I acted

    swiftly to have him reassigned elsewhere in the FBI.

            Mr. Gohmert.   Well, there is some discussion about how swift

    that was.    But when did you learn of the ongoing affair he was

    having with Lisa Page?

            Mr. Mueller.   About the same time that I learned of Strzok.

            Mr. Gohmert.   Did you ever order anybody to investigate the

    deletion of all of their texts off of their government phones?
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            Mr. Mueller.   Once we found that Peter Strzok was author

    of --

            Mr. Gohmert.   Did you ever order --

            Mr. Mueller.   May I finish?

            Mr. Gohmert.   Well, you are not answering my question.         Did

    you order an investigation into the deletion and reformatting of

    their government phones?

            Mr. Mueller.   No.   There was an IG investigation ongoing.

            Mr. Gohmert.   Listen.    Regarding collusion or conspiracy, you

    didn't find evidence of any agreement -- I am quoting you -- among

    the Trump campaign officials and any Russia-linked officials to

    interfere with our U.S. election, correct?

            Mr. Mueller.   Correct.

            Mr. Gohmert.   So you also note in the report that an element

    of any of those obstructions you referenced requires a corrupt

    state of mind, correct?

            Mr. Mueller.   Corrupt intent, correct.

            Mr. Gohmert.   Right.    And if somebody knows they did not

    conspire with anybody from Russia to affect the election, and they

    see the big Justice Department with people that hate that person

    coming after them, and then a special counsel appointed who hires

    a dozen or more people that hate that person, and he knows he is

    innocent.    He is not corruptly acting in order to see that justice

    is done.    What he is doing is not obstructing justice.        He is

    pursuing justice, and the fact that you ran it out 2 years means
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    you perpetuated injustice.

          Mr. Mueller.   I take your question.

          Chairman Nadler.    The gentleman's time is expired.      The

    witness may answer the question.

          Mr. Mueller.   I take your question.

          Chairman Nadler.    The gentleman from Florida.

          Mr. Deutch.    Director Mueller, I would like to get back to

    your findings covering June of 2017.     There was a bombshell

    article that reported that the President of the United States was

    personally under investigation for obstruction of justice.        And

    you said in your report, on page 90, Volume II, and I quote:          News

    of the obstruction investigation prompted the President to call

    McGahn and seek to have the special counsel removed, close quote.

          And then, in your report, you wrote about multiple calls from

    the President to White House Counsel Don McGahn.      And regarding

    the second call, you wrote, and I quote:      McGahn recalled that the

    President was more direct, saying something like:       Call Rod, tell

    Rod that Mueller has conflicts and can't be the special counsel.

    McGahn recalled the President telling him:      Mueller has to go and

    call me back when you do it.

          Director Mueller, did McGahn understand what the President

    was ordering him to do?

          Mr. Mueller.   I direct you to the -- what we have written in

    the report in terms of characterizing his feelings.

          Mr. Deutch.    And in the report, it says, quote:    McGahn
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    understood the President to be saying that the special counsel had

    to be removed.    You also say, on page 86, that, quote, McGahn

    considered the President's request to be an inflection point, and

    he wanted to hit the brakes, and he felt trapped, and McGahn

    decided he had to resign.

          McGahn took action to prepare to resign.      Isn't that correct?

          Mr. Mueller.   I direct you again to the report.

          Mr. Deutch.    And, in fact, that very day he went to the White

    House, and quoting your report, you said, quote:      He then drove to

    the office to pack his belongings and submit his resignation

    letter, close quote.

          Mr. Mueller.   That is directly from the report.

          Mr. Deutch.    It is.   And before he resigned, however, he

    called the President's chief of staff, Reince Priebus, and he

    called the President's senior adviser, Steve Bannon.       Do you

    recall what McGahn told them?

          Mr. Mueller.   Whatever was said will appear in the report.

          Mr. Deutch.    It is.   It is.   And it says on page 87, quote:

    Priebus recalled that McGahn said that the President asked him to

    do crazy expletive -- in other words, crazy stuff.       The White

    House counsel thought that the President's request was completely

    out of bounds.    He said the President asked him to do something

    crazy.   It was wrong, and he was prepared to resign over it.

          Now, these are extraordinarily troubling events, but you

    found White House Counsel McGahn to be a credible witness.       Isn't
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    that correct?

          Mr. Mueller.   Correct.

          Mr. Deutch.    Director Mueller, the most important question I

    have for you today is why?      Director Mueller, why did the

    President of the United States want you fired?

          Mr. Mueller.   I can't answer that question.

          Mr. Deutch.    Well, on page 89 in your report on Volume II,

    you said, and I quote:    Substantial evidence indicates that the

    President's attempts to remove the special counsel were linked to

    the special counsel's oversight of investigations that involved

    the President's conduct and, most immediately, to reports that the

    President was being investigated for potential obstruction of

    justice, close quote.

          Director Mueller, you found evidence, as you lay out in your

    report, that the President wanted to fire you because you were

    investigating him for obstruction of justice.      Isn't that correct?

          Mr. Mueller.   That is what it says in the report, yes.         And I

    go -- I stand behind the report.

          Mr. Deutch.    Director Mueller, that shouldn't happen in

    America.   No President should be able to escape investigation by

    abusing his power.    But that is what you testified to in your

    report.    The President ordered you fired.    The White House counsel

    knew it was wrong.    The President knew it was wrong.     In your

    report, it says there is also evidence the President knew he

    should not have made those calls to McGahn.      But the President did
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    it anyway.    He did it anyway.   Anyone else who blatantly

    interfered with a criminal investigation like yours would be

    arrested and indicted on charges of obstruction of justice.

            Director Mueller, you determined that you were barred from

    indicting a sitting President.     We have already talked about that

    today.    That is exactly why this committee must hold the President

    accountable.

            I yield back.

            Chairman Nadler.   The gentleman yields back.

            The gentlelady from Alabama.

            Mrs. Roby.   Director Mueller, you just said, in response to

    two different lines of questioning, that you would refer, as it

    relates to this firing discussion, that I would refer you to the

    report and the way it was characterized in the report.

            Importantly, the President never said "fire Mueller" or "end

    the investigation," and one doesn't necessitate the other.       And

    McGahn, in fact, did not resign, he stuck around for a year and a

    half.

            On March 24th, Attorney General Barr informed the committee

    that he had received the special counsel's report, and it was not

    until April 18th that the Attorney General released the report to

    Congress and the public.     When you submitted your report to the

    Attorney General, did you deliver a redacted version of the report

    so that he would be able to release it to Congress and the public

    without delay, pursuant to his announcement of his intention to do
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    so during his confirmation hearing?

          Mr. Mueller.    I am not going to engage in discussion about

    what happened after the production of our report.

          Mrs. Roby.     Had the Attorney General asked you to provide a

    redacted version of the report?

          Mr. Mueller.    We worked on the redacted versions together.

          Mrs. Roby.     Did he ask you for a version where the grand jury

    material was separated?

          Mr. Mueller.    I am not going to get into details.

          Mrs. Roby.     Is it your belief that an unredacted version of

    the report could be released to Congress or the public?

          Mr. Mueller.    That is not within my purview.

          Mrs. Roby.     In the Starr investigation of President Clinton,

    it was the special prosecutor who went to court to receive

    permission to unredact grand jury material, rule 6(e) material.

    Why did you not take a similar action so Congress could view this

    material?

          Mr. Mueller.    We had a process that we were operating on with

    the Attorney General's Office.

          Mrs. Roby.     Are you aware of any Attorney General going to

    court to receive similar permission to unredact 6(e) material?

          Mr. Mueller.    I am not aware of that being done.

          Mrs. Roby.     The Attorney General released the special

    counsel's report with minimal redactions to the public and an even

    lesser redacted version to Congress.     Did you write the report
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    with the expectation that it would be released publicly?

          Mr. Mueller.    No, we did not have an expectation.       We wrote

    the report, understanding that it was demanded by the statute and

    would go to the Attorney General for further review.

          Mrs. Roby.     And pursuant to the special counsel regulations,

    who is the only party that must receive the charging decision

    resulting from the special counsel's investigation?

          Mr. Mueller.    With regard to the President or generally?

          Mrs. Roby.     No, generally.

          Mr. Mueller.    Attorney General.

          Mrs. Roby.     At Attorney General Barr's confirmation hearing,

    he made it clear that he intended to release your report to the

    public.   Do you remember how much of your report had been written

    at that point?

          Mr. Mueller.    I do not.

          Mrs. Roby.     Were there significant changes in tone or

    substance of the report made after the announcement that the

    report would be made available to Congress and the public?

          Mr. Mueller.    I can't get into that.

          Mrs. Roby.     During the Senate testimony of Attorney General

    William Barr, Senator Kamala Harris asked Mr. Barr if he had

    looked at all the underlying evidence that the special counsel's

    team had gathered.     He stated that he had not.

          So I am going to ask you, did you personally review all of

    the underlying evidence gathered in your investigation?
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          Mr. Mueller.    Well, to the extent that it came through the

    Special Counsel's Office, yes.

          Mrs. Roby.     Did any single member of your team review all the

    underlying evidence gathered during the course of your

    investigation?

          Mr. Mueller.    As has been recited here today, a substantial

    amount of work was done, whether it be search warrants or --

          Mrs. Roby.     My point is there is no one member of the team

    that looked at everything.

          Mr. Mueller.    That is what I am trying to get at.

          Mrs. Roby.     Okay.   It is fair to say that, in an

    investigation as comprehensive as yours, it is normal that

    different members of the team would have reviewed different sets

    of documents and few, if anyone, would have reviewed all of the

    underlying --

          Mr. Mueller.    Thank you.   Yes.

          Mrs. Roby.     How many of the approximately 500 interviews

    conducted by the special counsel did you attend personally?

          Mr. Mueller.    Very few.

          Mrs. Roby.     On March 27, 2019, you wrote a letter to the

    Attorney General essentially complaining about the media coverage

    of your report.    You wrote, and I quote:    The summary letter the

    Department sent to Congress and released to the public late in the

    afternoon of March 24 did not fully capture the context, nature,

    and substance of this office's work and conclusions.         We
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    communicated that concern to the Department on the morning of

    March 25th.   There is now public confusion about critical aspects

    of the result of our investigation.

          Who wrote that March 27th letter?

          Mr. Mueller.    Well, I can't get into who wrote it, the

    internal deliberations.

          Mrs. Roby.     But you signed it?

          Mr. Mueller.    What I will say is the letter stands for

    itself.

          Mrs. Roby.     Okay.    Why did you write a formal letter since

    you had already called the Attorney General to express those

    concerns?

          Mr. Mueller.    I can't get into that, internal deliberations.

          Mrs. Roby.     Did you authorize the letter's release to the

    media, or was it leaked?

          Mr. Mueller.    I have no knowledge on either.

          Mrs. Roby.     Well, you went nearly 2 years without a leak.

    Why was this letter leaked?

          Mr. Mueller.    Well, I can't get into it.

          Mrs. Roby.     Was this letter written and leaked for the

    express purpose of attempting to change the narrative about the

    conclusions of your report, and was anything in Attorney General

    Barr's letter referred to as principal conclusions inaccurate?

          Chairman Nadler.       The time of the gentlelady has expired.

          Mrs. Roby.     May he answer the question, please?
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          Mr. Mueller.    The question is?

          Chairman Nadler.    Yes, you may answer the question.

          Mrs. Roby.     Was anything in Attorney General Barr's letter

    referred to as the principal conclusions letter dated March 24th

    inaccurate?

          Mr. Mueller.    Well, I am not going to get into that.

          Chairman Nadler.    The time of the gentlelady has expired.

          The gentlelady from California.

          Ms. Bass.    Thank you, Mr. Chair.

          Director Mueller, as you know, we are focusing on five

    obstruction episodes today.      I would like to ask you about the

    second of those five obstruction episodes.      It is in the section

    of your report beginning on page 113 of Volume II entitled, quote,

    "The President orders McGahn to deny that the President tried to

    fire the special counsel," end quote.

          On January 25th, 2018, The New York Times reported that,

    quote:   The President had ordered McGahn to have the Department of

    Justice fire you.

          Is that correct?

          Mr. Mueller.    Correct.

          Ms. Bass.    And that story related to the events you already

    testified about here today, the President's calls to McGahn to

    have you removed, correct?

          Mr. Mueller.    Correct.

          Ms. Bass.    After the news broke, did the President go on TV
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    and deny the story?

          Mr. Mueller.    I do not know.

          Ms. Bass.    In fact, the President said, quote:    Fake news,

    folks, fake news, a typical New York Times fake story, end quote.

    Correct?

          Mr. Mueller.    Correct.

          Ms. Bass.    But your investigation actually found substantial

    evidence that McGahn was ordered by the President to fire you,

    correct?

          Mr. Mueller.    Yes.

          Ms. Bass.    Did the President's personal lawyer do something

    the following day in response to that news report?

          Mr. Mueller.    I would refer you to the coverage of this in

    the report.

          Ms. Bass.    On page 114, quote:   On January 26, 2018, the

    President's personal counsel called McGahn's attorney and said

    that the President wanted McGahn to put out a statement denying

    that he had been asked to fire the special counsel, end quote.

          Did McGahn do what the President asked?

          Mr. Mueller.    I refer you to the report.

          Ms. Bass.    Communicating through his personal attorney,

    McGahn refused because he said, quote, that the Times story was

    accurate in reporting that the President wanted the special

    counsel removed.     Isn't that right?

          Mr. Mueller.    I believe it is, but I refer you again to the
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    report.

          Ms. Bass.    Okay.   So Mr. McGahn, through his personal

    attorney, told the President that he was not going to lie.       Is

    that right?

          Mr. Mueller.    True.

          Ms. Bass.    Did the President drop the issue?

          Mr. Mueller.    I refer to the write-up of this in the report.

          Ms. Bass.    Okay.   Next, the President told the White House

    staff secretary, Rob Porter, to try to pressure McGahn to make a

    false denial.     Is that correct?

          Mr. Mueller.    That is correct.

          Ms. Bass.    What did he actually direct Porter to do?

          Mr. Mueller.    And I send you back to the report.

          Ms. Bass.    Okay.   Well, on page 113, it says, quote:    The

    President then directed Porter to tell McGahn to create a record

    to make it clear that the President never directed McGahn to fire

    you, end quote.    Is that correct?

          Mr. Mueller.    That is as it is stated in the report.

          Ms. Bass.    And you found, quote, the President said he wanted

    McGahn to write a letter to the file for our records, correct?

          Mr. Mueller.    Correct.

          Ms. Bass.    And to be clear, the President is asking his White

    House counsel, Don McGahn, to create a record that McGahn believed

    to be untrue while you were in the midst of investigating the

    President for obstruction of justice, correct?
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          Mr. Mueller.    Generally correct.

          Ms. Bass.   And Mr. McGahn was an important witness in that

    investigation, wasn't he?

          Mr. Mueller.    I would have to say yes.

          Ms. Bass.   Did the President tell Porter to threaten McGahn

    if he didn't create the written denial?

          Mr. Mueller.    I would refer you to the write-up of it in the

    report.

          Ms. Bass.   In fact, didn't the President say, quote, and this

    is on page 116, "If he doesn't write a letter, then maybe I will

    have to get rid of him," end quote?

          Mr. Mueller.    Yes.

          Ms. Bass.   Did Porter deliver that threat?

          Mr. Mueller.    I again refer you to the discussion that is

    found on page 115.

          Ms. Bass.   Okay.      But the President still didn't give up, did

    he?   So the President told McGahn directly to deny that the

    President told him to have you fired.       Can you tell me exactly

    what happened?

          Mr. Mueller.    I can't beyond what is in the report.

          Ms. Bass.   Well, on page 116, it says:      The President met him

    in the Oval Office.    Quote:     The President began the Oval Office

    meeting by telling McGahn that The New York Times story didn't

    look good and McGahn needed to correct it.

          Is that correct?
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          Mr. Mueller.    As it is written in the report, yes.

          Ms. Bass.     The President asked McGahn whether he would do a

    correction and McGahn said no, correct?

          Mr. Mueller.    That is accurate.

          Ms. Bass.     Well, Mr. Mueller, thank you for your

    investigation uncovering this very disturbing evidence.          My friend

    Mr. Richmond will have additional questions on the subject.

    However, it is clear to me if anyone else had ordered a witness to

    create a false record and cover up acts that are the subject of a

    law enforcement investigation, that person would be facing

    criminal charges.

          I yield back my time.

          Chairman Nadler.       The gentlelady yields back.

          The gentleman from Ohio.

          Mr. Jordan.    Director, the FBI interviewed Joseph Mifsud on

    February 10, 2017.     In that interview, Mr. Mifsud lied.       You point

    this out on page 193, Volume I.       Mifsud denied.    Mifsud also

    falsely stated.     In addition, Mifsud omitted.

          Three times he lied to the FBI, yet you didn't charge him

    with a crime.     Why not?

          Mr. Mueller.    Excuse me, did you say 1 -- I am sorry, did you

    say 193?

          Mr. Jordan.    Volume I, 193.     He lied three times.    You point

    it out in the report.     Why didn't you charge him with a crime?

          Mr. Mueller.    I can't get into internal deliberations with
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    regard to who would or would not be charged.

          Mr. Jordan.   You charged a lot of other people for making

    false statements.    Let's remember this, let's remember this:        In

    2016, the FBI did something they probably haven't done before.

    They spied on two American citizens associated with the

    Presidential campaign:    George Papadopoulos and Carter Page.

          With Carter Page, they went to the FISA court.      They used the

    now famous dossier as part of the reason they were able to get the

    warrant and spy on Carter Page for the better part of a year.

    With Mr. Papadopoulos, they didn't go to the court.       They used

    human sources, all kinds of -- from about the moment Papadopoulos

    joins the Trump campaign, you got all these people all around the

    world starting to swirl around him.     Names like Halper, Downer,

    Mifsud, Thompson, meeting in Rome, London, all kinds of places.

    The FBI even sent, even sent a lady posing as somebody else, went

    by the name Azra Turk, even dispatched her to London to spy on

    Mr. Papadopoulos.    In one of these meetings, Mr. Papadopoulos is

    talking to a foreign diplomat, and he tells the diplomat Russians

    have dirt on Clinton.    That diplomat then contacts the FBI, and

    the FBI opens an investigation based on that fact.

          You point this out on page 1 of the report.      July 31st, 2016,

    they open the investigation based on that piece of information.

    Diplomat tells Papadopoulos Russians have dirt -- excuse me,

    Papadopoulos tells the diplomat Russians have dirt on Clinton.

    The diplomat tells the FBI.     What I am wondering is who told
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    Papadopoulos?   How did he find out?

          Mr. Mueller.    I can't get into the evidentiary --

          Mr. Jordan.    Yes, you can, because you wrote about it.        You

    gave us the answer.    Page 192 of the report you tell us who told

    him, Joseph Mifsud.    Joseph Mifsud is the guy who told Joseph

    Papadopoulos, the mysterious professor who lives in Rome and

    London, works and teaches at two different universities; this is

    the guy who told Papadopoulos.     He is the guy who starts it all.

    And when the FBI interviews him, he lies three times, and yet you

    don't charge him with a crime.

          You charge Rick Gates for false statements.      You charge Paul

    Manafort for false statements.     You charge Michael Cohen with

    false statements.    You charge Michael Flynn, a three-star general,

    with false statements.    But the guy who puts the country through

    this whole saga, starts it all -- for 3 years we have lived this

    now -- he lies and you guys don't charge him.      And I am curious as

    to why.

          Mr. Mueller.    Well, I can't get into it.    And it is obvious I

    think that we can't get into charging decisions.

          Mr. Jordan.    When the FBI interviewed him in February -- the

    FBI interviews him in February.     When the Special Counsel's Office

    interviewed Mifsud, did he lie to you guys too?

          Mr. Mueller.    I can't get into that.

          Mr. Jordan.    Did you interview Mifsud?

          Mr. Mueller.    I can't get into that.
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          Mr. Jordan.    Is Mifsud Western intelligence or Russian

    intelligence?

          Mr. Mueller.    I can't get into that.

          Mr. Jordan.    A lot of things you can't get into.    What is

    interesting:    You can charge 13 Russians no one's ever heard of,

    no one's ever seen.    No one's ever going to hear of them.       No

    one's ever going to see them.     You can charge them.    You can

    charge all kinds of people who are around the President with false

    statements.    But the guy who launches everything, the guy who puts

    this whole story in motion, you can't charge him.      I think that is

    amazing.

          Mr. Mueller.    I am not certain -- I am not certain I agree

    with your characterization.

          Mr. Jordan.    Well, I am reading from your report.       Mifsud

    told Papadopoulos.    Papadopoulos tells the diplomat.     The diplomat

    tells the FBI.    The FBI opens the investigation July 31st, 2016.

    And here we are 3 years later, July of 2019.      The country's been

    put through this, and the central figure who launches it all lies

    to us, and you guys don't hunt him down and interview him again,

    and you don't charge him with a crime.

          Now, here is the good news.     Here is the good news.     The

    President was falsely accused of conspiracy.      The FBI does a

    10-month investigation.    And James Comey, when we deposed him a

    year ago, told us at that point they had nothing.      You do a

    22-month investigation.    At the end of that 22 months, you find no
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    conspiracy.    And what do the Democrats want to do?       They want to

    keep investigating.       They want to keep going.

            Maybe a better course of action, maybe a better course of

    action is to figure out how the false accusations started.         Maybe

    it is to go back and actually figure out why Joseph Mifsud was

    lying to the FBI.       And here is the good news.    Here is the good

    news.    That is exactly what Bill Barr is doing, and thank goodness

    for that.    That is exactly what the Attorney General and John

    Durham are doing.       They are going to find out why we went through

    this 3-year --

            Chairman Nadler.    The time of the gentleman --

            Mr. Jordan.     -- saga and get to the bottom of it.

            Chairman Nadler.    The time of the gentleman has expired.

            In a moment, we will take a very brief 5-minute break.

    First, I ask everyone in the room to please remain seated and

    quiet while the witness exits the room.       I also want to announce

    to those in the audience that you may not be guaranteed your seat

    if you leave the hearing room at this time.         At this time, the

    committee will stand in a very short recess.

            [Recess.]

            Chairman Nadler.    People, please take their seats before the

    special counsel returns.

            The gentleman from Louisiana, Mr. Richmond.

            Mr. Richmond.    Thank you, Mr. Chairman.

            Mr. Mueller, Congressman Deutch addressed Trump's request to
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    McGahn to fire you.    Representative Bass talked about the

    President's request of McGahn to deny the fact that the President

    made that request.

          I want to pick up where they left off, and I want to pick up

    with the President's personal lawyer.     In fact, there was evidence

    that the President's personal lawyer was alarmed at the prospect

    of the President meeting with Mr. McGahn to discuss Mr. McGahn's

    refusal to deny The New York Times report about the President

    trying to fire you, correct?

          Mr. Mueller.    Correct.

          Mr. Richmond.    In fact, the President's counsel was so

    alarmed by the prospect of the President's meeting with McGahn

    that he called Mr. McGahn's counsel and said that McGahn could not

    resign no matter what happened in the Oval Office that day,

    correct?

          Mr. Mueller.    Correct.

          Mr. Richmond.    So it is accurate to say that the President

    knew that he was asking McGahn to deny facts that McGahn, quote,

    had repeatedly said were accurate, unquote.      Isn't that right?

          Mr. Mueller.    Correct.

          Mr. Richmond.    Your investigation also found, quote:     By the

    time of the Oval Office meeting with the President, the President

    was aware, one, that McGahn did not think the story was false;

    two, did not want to issue a statement or create a written record

    denying facts that McGahn believed to be true.      The President
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    nevertheless persisted and asked McGahn to repudiate facts that

    McGahn had repeatedly said were accurate.

          Isn't that correct?

          Mr. Mueller.    Generally true.

          Mr. Richmond.    I believe that is on page 119.    Thank you.   In

    other words, the President was trying to force McGahn to say

    something that McGahn did not believe to be true.

          Mr. Mueller.    That is accurate.

          Mr. Richmond.    I want to reference you to a slide, and it is

    on page 120, and it says:    Substantial evidence indicates that in

    repeatedly urging McGahn to dispute that he was ordered to have

    the special counsel terminated, the President acted for the

    purpose of influencing McGahn's account in order to deflect or

    prevent further scrutiny of the President's conduct towards the

    investigation.

          Mr. Mueller.    That is accurate.

          Mr. Richmond.    Can you explain what you meant there?

          Mr. Mueller.    I am just going to leave it as it appears in

    the report.

          Mr. Richmond.    So it is fair to say the President tried to

    protect himself by asking staff to falsify records relevant to an

    ongoing investigation?

          Mr. Mueller.    I would say that is generally a summary.

          Mr. Richmond.    Would you say that that action, the President

    tried to hamper the investigation by asking staff to falsify
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    records relevant to your investigation?

          Mr. Mueller.    I am just going to refer you to the report, if

    I could, for review of that episode.

          Mr. Richmond.    Thank you.   Also, the President's attempts to

    get McGahn to create a false written record were related to Mr.

    Trump's concerns about your obstruction of justice inquiry,

    correct?

          Mr. Mueller.    I believe that to be true.

          Mr. Richmond.    In fact, at that same Oval Office meeting, did

    the President also ask McGahn why he had told -- quote, "why he

    had told Special Counsel's Office investigators that the President

    told him to have you removed," unquote?

          Mr. Mueller.    And what was the question, sir, if I might?

          Mr. Richmond.    Let me go to the next one.    The President,

    quote, criticized McGahn for telling your office about the June

    17, 2017, events when he told McGahn to have you removed, correct?

          Mr. Mueller.    Correct.

          Mr. Richmond.    In other words, the President was criticizing

    his White House counsel for telling law enforcement officials what

    he believed to be the truth.

          Mr. Mueller.    I again go back to the text of the report.

          Mr. Richmond.    Well, let me go a little bit further.     Would

    it have been a crime if Mr. McGahn had lied to you about the

    President ordering him to fire you?

          Mr. Mueller.    I don't want to speculate.
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          Mr. Richmond.    Okay.   Is it true that you charged multiple

    people associated with the President for lying to you during your

    investigation?

          Mr. Mueller.    That is accurate.

          Mr. Richmond.    The President also complained that his staff

    were taking notes during the meeting about firing McGahn.       Is that

    correct?

          Mr. Mueller.    That is what the report says.    Yeah, the

    report.

          Mr. Richmond.    But, in fact, it is completely appropriate for

    the President's staff, especially his counsels, to take notes

    during a meeting, correct?

          Mr. Mueller.    I rely on the wording of the report.

          Mr. Richmond.    Well, thank you, Director Mueller, for your

    investigation into whether the President attempted to obstruct

    justice by ordering his White House counsel, Don McGahn, to lie to

    protect the President and then to create a false record about it.

    It is clear that any other person who engaged in such conduct

    would be charged with a crime.     We will continue our

    investigation, and we will hold the President accountable because

    no one is above the law.

          Chairman Nadler.    The time of the gentleman has expired.

          The gentleman from Florida.

          Mr. Gaetz.     Director Mueller, can you state with confidence

    that the Steele dossier was not part of Russia's disinformation
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    campaign?

          Mr. Mueller.    As I said in my opening statement, that part of

    the building of the case predated me and by at least 10 months.

          Mr. Gaetz.     Paul Manafort's alleged crimes regarding tax

    evasion predated you.     You had no problem charging them.      As a

    matter of fact, this Steele dossier predated the Attorney General,

    and he didn't have any problem answering the question.          When

    Senator Cornyn asked the Attorney General the exact question I

    asked you, Director, the Attorney General said, and I am quoting:

    No, I can't state that with confidence.      And that is one of the

    areas I am reviewing.     I am concerned about it, and I don't think

    it is entirely speculative.

          Now, if something is not entirely speculative, then it must

    have some factual basis, but you identify no factual basis

    regarding the dossier or the possibility that it was part of the

    Russia disinformation campaign.

          Now, Christopher Steele's reporting is referenced in your

    report.    Steele reported to the FBI that senior Russian Foreign

    Ministry figures, along with other Russians, told him that there

    was -- and I am quoting from the Steele dossier -- extensive

    evidence of conspiracy between the Trump campaign team and the

    Kremlin.

          So here is my question:    Did Russians really tell that to

    Christopher Steele, or did he just make it all up, and was he

    lying to the FBI?
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          Mr. Mueller.    Let me back up a second, if I could, and say,

    as I said earlier with regard to Steele, that that is beyond my

    purview.

          Mr. Gaetz.     No, it is exactly your purview, Director Mueller,

    and here is why:     Only one of two things is possible, right?

    Either Steele made this whole thing up and there were never any

    Russians telling him of this vast criminal conspiracy that you

    didn't find, or Russians lied to Steele.      Now, if Russians were

    lying to Steele to undermine our confidence in our duly elected

    President, that would seem to be precisely your purview because

    you stated in your opening that the organizing principle was to

    fully and thoroughly investigate Russia's interference.         But you

    weren't interested in whether or not the Russians were interfering

    through Christopher Steele.     And if Steele was lying, then you

    should have charged him with lying, like you charged a variety of

    other people.   But you say nothing about this in your report.

          Mr. Mueller.    Well, sir --

          Mr. Gaetz.     Meanwhile, Director, you are quite loquacious on

    other topics.    You write 3,500 words about the June 9 meeting

    between the Trump campaign and Russian lawyer Veselnitskaya.          You

    write on page 103 of your report that the President's legal team

    suggested -- and I am quoting from your report -- that the meeting

    might have been a setup by individuals working with the firm that

    produced the Steele reporting.

          So I am going to ask you a very easy question, Director
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    Mueller.   On the week of June 9, who did Russian lawyer

    Veselnitskaya meet with more frequently, the Trump campaign or

    Glenn Simpson, who was functionally acting as an operative for the

    Democratic National Committee?

          Mr. Mueller.    Well, what I think is missing here is the fact

    that this is under investigation elsewhere in the Justice

    Department --

          Mr. Gaetz.     I --

          Mr. Mueller.    -- and if I can finish, sir, and if I can

    finish, sir -- and consequently, it is not within my purview.          The

    Department of Justice and FBI should be responsive to questions on

    this particular issue.

          Mr. Gaetz.     It is absurd to suggest that an operative for the

    Democrats was meeting with this Russian lawyer the day before and

    the day after the Trump Tower meeting, and yet that is not

    something you reference.

          Now, Glenn Simpson testified under oath he had dinner with

    Veselnitskaya the day before and the day after this meeting with

    the Trump team.    Do you have any basis, as you sit here today, to

    believe that Steele was lying?

          Mr. Mueller.    As I said before and I will say again, it is

    not my purview.    Others are investigating what you address.

          Mr. Gaetz.     So it is not your purview to look into whether or

    not Steele is lying.        It is not your purview to look into whether

    or not anti-Trump Russians are lying to Steele.        And it is not
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    your purview to look at whether or not Glenn Simpson was meeting

    with the Russians the day before and the day after you write 3,500

    words about the Trump campaign meeting.

          So I am wondering how these decisions are guided.         I look at

    the inspector general's report.     I am citing from page 404 of the

    inspector general's report.     It states:    Page stated:   Trump's not

    ever going to be President, right?     Right.    Strzok replied:    No,

    he is not.   We will stop it.

          Also in the inspector general's report, there is someone

    identified as attorney No. 2.     Attorney No. 2 -- this is page

    419 -- replied, "Hell no," and then added, "Viva la resistance."

          Attorney No. 2 in the inspector general's report and Strzok

    both worked on your team, didn't they?

          Mr. Mueller.    Pardon me, can you --

          Mr. Gaetz.     They both worked on your team, didn't they?

          Mr. Mueller.    I know -- I heard Strzok.     Who else were you

    talking about?

          Mr. Gaetz.     Attorney No. 2 identified in the inspector

    general's report.

          Mr. Mueller.    And the question was?

          Mr. Gaetz.     Did he work for you?    The guy who said, "Viva la

    resistance."

          Mr. Mueller.    Peter Strzok worked for me for a period of

    time, yes.

          Mr. Gaetz.     Yeah, but so did the other guy that said, "Viva
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    la resistance."    And here is what I am kind of noticing, Director

    Mueller:   When people associated with Trump lied, you throw the

    book at them.   When Christopher Steele lied, nothing.      And so it

    seems to be that when Glenn Simpson met with Russians, nothing.

    When the Trump campaign met with Russians, 3,500 words.         And maybe

    the reason why there are these discrepancies in what you focused

    on is because the team was so biased --

          Chairman Nadler.    The time of the --

          Mr. Gaetz.     -- pledged to the resistance, pledged to stop

    Trump.

          Chairman Nadler.    The time of the gentleman has expired.

          Mr. Jeffries of New York is recognized.

          Mr. Jeffries.    Mr. Mueller, obstruction of justice is a

    serious crime that strikes at the core of an investigator's effort

    to find the truth, correct?

          Mr. Mueller.    Correct.

          Mr. Jeffries.    The crime of obstruction of justice has three

    elements, true?

          Mr. Mueller.    True.

          Mr. Jeffries.    The first element is an obstructive act,

    correct?

          Mr. Mueller.    Correct.

          Mr. Jeffries.    An obstructive act could include taking an

    action that would delay or interfere with an ongoing

    investigation, as set forth in Volume II, page 87 and 88 of your
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    report, true?

           Mr. Mueller.    I am sorry.   Could you again repeat the

    question?

           Mr. Jeffries.    An obstructive act could include taking an

    action that would delay or interfere with an ongoing

    investigation.

           Mr. Mueller.    That is true.

           Mr. Jeffries.    Your investigation found evidence that

    President Trump took steps to terminate the special counsel,

    correct?

           Mr. Mueller.    Correct.

           Mr. Jeffries.    Mr. Mueller, does ordering the termination of

    the head of a criminal investigation constitute an obstructive

    act?

           Mr. Mueller.    That would be -- I would refer you to the

    report on that.

           Mr. Jeffries.    Let me refer you to page 87 and 88 of Volume

    II, where you conclude:       The attempt to remove the special counsel

    would qualify as an obstructive act if it would naturally obstruct

    the investigation and any grand jury proceedings that might flow

    from the inquiry, correct?

           Mr. Mueller.    Yes.   I have got that now.   Thank you.

           Mr. Jeffries.    Thank you.   The second element of obstruction

    of justice is the presence of an obstructive act in connection

    with an official proceeding, true?
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            Mr. Mueller.    True.

            Mr. Jeffries.    Does the special counsel's criminal

    investigation into the potential wrongdoing of Donald Trump

    constitute an official proceeding?

            Mr. Mueller.    And that is an area which I cannot get into.

            Mr. Jeffries.    Okay.   President Trump tweeted on June 16,

    2017, quote:    I am being investigated for firing the FBI Director

    by the man who told me to fire the FBI Director.       Witch hunt.

            The June 16th tweet just read -- was cited on page 89 in

    Volume II -- constitutes a public acknowledgement by President

    Trump that he was under criminal investigation, correct?

            Mr. Mueller.    I think generally correct.

            Mr. Jeffries.    One day later, on Saturday, June 17th,

    President Trump called White House Counsel Don McGahn at home and

    directed him to fire the special counsel, true?

            Mr. Mueller.    I believe it to be true.   I think we have

    been -- I may have stated in response to questions some --

            Mr. Jeffries.    That is correct.   President Trump told Don

    McGahn, quote, Mueller has to go, close quote.       Correct?

            Mr. Mueller.    Correct.

            Mr. Jeffries.    Your report found, on page 89, Volume II, that

    substantial evidence indicates that, by June 17th, the President

    knew his conduct was under investigation by a Federal prosecutor

    who could present any evidence of Federal crimes to a grand jury,

    true?
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          Mr. Mueller.    True.

          Mr. Jeffries.    The third element -- the second element having

    just been satisfied, the third element of the crime of obstruction

    of justice is corrupt intent, true?

          Mr. Mueller.    True.

          Mr. Jeffries.    Corrupt intent exists if the President acted

    to obstruct an official proceeding for the improper purpose of

    protecting his own interests, correct?

          Mr. Mueller.    That is generally correct.

          Mr. Jeffries.    Thank you.

          Mr. Mueller.    The only thing I would say is we're going

    through the three elements of the proof of the obstruction of

    justice charges when the fact of the matter is we got -- excuse

    me, just one second.

          Mr. Jeffries.    Thank you.   Mr. Mueller, let me move on in the

    interest of time.     Upon learning about the appointment of the

    special counsel, your investigation found that Donald Trump stated

    to the then Attorney General, quote:     Oh my God, this is terrible.

    This is the end of my Presidency.     I am F'd.

          Is that correct?

          Mr. Mueller.    Correct.

          Mr. Jeffries.    Is it fair to say that Donald Trump viewed the

    special counsel's investigation into his conduct as adverse to his

    own interests?

          Mr. Mueller.    I think that generally is true.
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          Mr. Jeffries.    The investigation found evidence, quote, that

    the President knew that he should not have directed Don McGahn to

    fire the special counsel.     Correct?

          Mr. Mueller.    And where do you have that quote?

          Mr. Jeffries.    Page 90, Volume II:    There is evidence that

    the President knew he should not have made those calls to McGahn,

    close quote.

          Mr. Mueller.    I see that.    Yes, that is accurate.

          Mr. Jeffries.    The investigation also found substantial

    evidence that President Trump repeatedly urged McGahn to dispute

    that he was ordered to have the special counsel terminated,

    correct?

          Mr. Mueller.    Correct.

          Mr. Jeffries.    The investigation found substantial evidence

    that, when the President ordered Don McGahn to fire the special

    counsel and then lie about it, Donald Trump, one, committed an

    obstructive act; two, connected to an official proceeding; three,

    did so with corrupt intent.

          Those are the elements of obstruction of justice.         This is

    the United States of America.       No one is above the law, no one.

    The President must be held accountable one way or the other.

          Mr. Mueller.    Let me just say, if I might, I don't subscribe

    necessarily to your -- the way you analyze that.       I am not saying

    it is out of the ballpark, but I am not supportive of that

    analytical charge.
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          Mr. Jeffries.     Thank you.

          Chairman Nadler.      The gentleman from Colorado.

          Mr. Buck.   Thank you, Mr. Chairman.

          Mr. Mueller, over here.

          Mr. Mueller.    Hi.

          Mr. Buck.   Hi.    I want to start by thanking you for your

    service.   You joined the Marines and led a rifle platoon in

    Vietnam, where you earned a bronze star, purple heart, and other

    commendations.    You served as an assistant United States attorney

    leading the homicide unit here in D.C., U.S. attorney for the

    District of Massachusetts and later Northern District of

    California, Assistant Attorney General for DOJ's Criminal

    Division, and the FBI Director.      So thank you, I appreciate that.

          But having reviewed your biography, it puzzles me why you

    handled your duties in this case the way you did.      The report

    contradicts what you taught young attorneys at the Department of

    Justice, including to ensure that every defendant is treated

    fairly, or, as Justice Sutherland said in the Berger case, a

    prosecutor is not the representative of an ordinary party to a

    controversy but of a sovereignty whose interest in a criminal

    prosecution is not that it shall win a case but that justice shall

    be done and that the prosecutor may strike hard blows, but he is

    not at liberty to strike foul ones.

          By listing the 10 factual situations and not reaching a

    conclusion about the merits of the case, you unfairly shifted the
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    burden of proof to the President, forcing him to prove his

    innocence while denying him a legal forum to do so.       And I have

    never heard of a prosecutor declining a case and then holding a

    press conference to talk about the defendant.      You noted eight

    times in your report that you had a legal duty under the

    regulations to either prosecute or decline charges.       Despite this,

    you disregarded that duty.

           As a former prosecutor, I am also troubled with your legal

    analysis.   You discussed 10 separate factual patterns involving

    alleged obstruction, and then you failed to separately apply the

    elements of the applicable statutes.

           I looked at the 10 factual situations, and I read the case

    law.   And I have to tell you, just looking at the Flynn matter,

    for example, the four statutes that you cited for possible

    obstruction, 1503, 1505, 1512(b)(3), and 1512(c)(2), when I look

    at those concerning the Flynn matter, 1503 is inapplicable because

    there wasn't a grand jury or trial jury impaneled, and Director

    Comey was not an officer of the court as defined by the statute.

           Section 1505 criminalizes acts that would obstruct or impede

    administrative proceedings as those before Congress or an

    administrative agency.    The Department of Justice criminal

    resource manual states that the FBI investigation is not a pending

    proceeding.

           1512(b)(3) talks about intimidation, threats of force to

    tamper with a witness.    General Flynn at the time was not a
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    witness, and certainly Director Comey was not a witness.

          And 1512(c)(2) talks about tampering with a record.       And as

    Joe Biden described the statute as it was being debated on the

    Senate floor, he called this a statute criminalizing document

    shredding, and there is nothing in your report that alleges that

    the President destroyed any evidence.

          So what I have to ask you and what I think people are working

    around in this hearing is -- let me lay a little foundation for

    it.   The ethical rules require that a prosecutor have a reasonable

    probability of conviction to bring a charge.      Is that correct?

          Mr. Mueller.   It sounds generally accurate.

          Mr. Buck.   And the regulations concerning your job as special

    counsel state that your job is to provide the Attorney General

    with a confidential report explaining the prosecution or

    declination decisions reached by your office.

          You recommended declining prosecution of President Trump and

    anyone associated with his campaign because there was insufficient

    evidence to convict for a charge of conspiracy with Russian

    interference in the 2016 election.     Is that fair?

          Mr. Mueller.   That is fair.

          Mr. Buck.   Was there sufficient evidence to convict President

    Trump or anyone else with obstruction of justice?

          Mr. Mueller.   We did not make that calculation.

          Mr. Buck.   How could you not have made the calculation with

    the regulation --
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           Mr. Mueller.   As the OLC opinion, the OLC opinion, Office of

    Legal Counsel, indicates that we cannot indict a sitting

    President.   So one of the tools that a prosecutor would use is not

    there.

           Mr. Buck.   Okay.     But let me just stop.   You made the

    decision on the Russian interference.       You couldn't have indicted

    the President on that, and you made the decision on that, but when

    it came to obstruction, you threw a bunch of stuff up against the

    wall to see what would stick, and that is really unfair.

           Mr. Mueller.   I would not agree to that characterization at

    all.   What we did is provide to the Attorney General, in the form

    of a confidential memorandum, our understanding of the case, those

    cases that were brought, those cases that were declined, and that

    one case where the President cannot be charged with a crime.

           Mr. Buck.   Okay.     Could you charge the President with a crime

    after he left office?

           Mr. Mueller.   Yes.

           Mr. Buck.   You believe that he committed -- you could charge

    the President of the United States with obstruction of justice

    after he left office?

           Mr. Mueller.   Yes.

           Mr. Buck.   Ethically, under the ethical standards?

           Mr. Mueller.   Well, I am not certain because I haven't looked

    at the ethical standards, but the OLC opinion says that the

    prosecutor, while he cannot bring a charge against a sitting
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    President, nonetheless, he can continue the investigation to see

    if there are any other persons who might be drawn into the

    conspiracy.

          Chairman Nadler.    The time of the gentleman has expired.

          The gentleman from Rhode Island.

          Mr. Cicilline.    Director, as you know, we are specifically

    focusing on five separate obstruction episodes here today.       I

    would like to ask you about the third episode.      It is the section

    of your report entitled "The President's efforts to curtail the

    special counsel investigation," beginning at page 90.       And by

    "curtail," you mean limit, correct?

          Mr. Mueller.   Correct.

          Mr. Cicilline.    My colleagues have walked through how the

    President tried to have you fired through the White House counsel,

    and because Mr. McGahn refused the order, the President asked

    others to help limit your investigation.      Is that correct?

          Mr. Mueller.   Correct.

          Mr. Cicilline.    And was Corey Lewandowski one such

    individual?

          Mr. Mueller.   Again, can you remind me what --

          Mr. Cicilline.    Well, Corey Lewandowski is the President's

    former campaign manager, correct?

          Mr. Mueller.   Correct.

          Mr. Cicilline.    Did he have any official position with the

    Trump administration?
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          Mr. Mueller.   I don't believe so.

          Mr. Cicilline.   Your report describes an incident in the Oval

    Office involving Mr. Lewandowski on June 19, 2017, at Volume II,

    page 91.   Is that correct.

          Mr. Mueller.   I am sorry.   What is the citation, sir?

          Mr. Cicilline.   Page 91.

          Mr. Mueller.   Of the second volume?

          Mr. Cicilline.   Yes.

          Mr. Mueller.   And where?

          Mr. Cicilline.   A meeting in the Oval Office between

    Mr. Lewandowski and the President.

          Mr. Mueller.   Okay.

          Mr. Cicilline.   And that was just 2 days after the President

    called Don McGahn at home and ordered him to fire you.          Is that

    correct?

          Mr. Mueller.   Apparently so.

          Mr. Cicilline.   So, right after his White House counsel,

    Mr. McGahn, refused to follow the President's order to fire you,

    the President came up with a new plan, and that was to go around

    to all of his senior advisers and government aides to have a

    private citizen try to limit your investigation.

          What did the President tell Mr. Lewandowski to do?         Do you

    recall he told him -- he dictated a message to Mr. Lewandowski for

    Attorney General Sessions and asked him to write it down.          Is that

    correct?
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          Mr. Mueller.    True.

          Mr. Cicilline.   And did you and your team see this

    handwritten message?

          Mr. Mueller.    I am not going to get into what we may or may

    not have included in our investigation.

          Mr. Cicilline.   Okay.     The message directed Sessions to

    give -- and I am quoting from your report -- to give a public

    speech saying that he planned to meet with the special prosecutor

    to explain this is very unfair and let the special prosecutor move

    forward with investigating election meddling for future elections.

    That is at page 91.    Is that correct?

          Mr. Mueller.    Yes, I see that.    Thank you.   Yes, it is.

          Mr. Cicilline.   In other words, Mr. Lewandowski, a private

    citizen, was instructed by the President of the United States to

    deliver a message from the President to the Attorney General that

    directed him to limit your investigation, correct?

          Mr. Mueller.    Correct.

          Mr. Cicilline.   And at this time, Mr. Sessions was still

    recused from oversight of your investigation, correct?

          Mr. Mueller.    I am sorry.    Could you restate that?

          Mr. Cicilline.   The Attorney General was recused from

    oversight.

          Mr. Mueller.    Yes, yes.

          Mr. Cicilline.   So the Attorney General would have had to

    violate his own Department's rules in order to comply with the
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    President's order, correct?

          Mr. Mueller.   Well, I am not going to get into the subsidiary

    details.   I just refer you again to page 91, 92 of the report.

          Mr. Cicilline.   And if the Attorney General had followed

    through with the President's request, Mr. Mueller, it would have

    effectively ended your investigation into the President and his

    campaign, as you note on page 97, correct?

          Mr. Mueller.   Could you --

          Mr. Cicilline.   At page 97, you write, and I quote:      Taken

    together, the President's directives indicate that Sessions was

    being instructed to tell the special counsel to end the existing

    investigation into the President and his campaign, with the

    special counsel being permitted to move forward with investigating

    election meddling for future elections.      Is that correct?

          Mr. Mueller.   Generally true, yes, sir.

          Mr. Cicilline.   And an unsuccessful attempt to obstruct

    justice is still a crime.     Is that correct?

          Mr. Mueller.   That is correct.

          Mr. Cicilline.   And Mr. Lewandowski tried to meet with the

    Attorney General.    Is that right?

          Mr. Mueller.   True.

          Mr. Cicilline.   And he tried to meet with him in his office

    so he would be certain there wasn't a public log of the visit.

          Mr. Mueller.   According to what we gathered for the report.

          Mr. Cicilline.   And the meeting never happened and the
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     President raised the issue again with Mr. Lewandowski.      And this

     time, he said, and I quote, if Sessions does not meet with you,

     Lewandowski should tell Sessions he was fired, correct?

           Mr. Mueller.   Correct.

           Mr. Cicilline.   So immediately following the meeting with the

     President, Lewandowski then asked Mr. Dearborn to deliver the

     message, who is the former chief of staff to Mr. Sessions.      And

     Mr. Dearborn refuses to deliver it because he doesn't feel

     comfortable.   Isn't that correct?

           Mr. Mueller.   Generally correct, yes.

           Mr. Cicilline.   So, just so we are clear, Mr. Mueller, 2 days

     after the White House Counsel Don McGahn refused to carry out the

     President's order to fire you, the President directed a private

     citizen to tell the Attorney General of the United States, who was

     recused at the time, to limit your investigation to future

     elections, effectively ending your investigation into the 2016

     Trump campaign.   Is that correct?

           Mr. Mueller.   I am not going to adopt your characterization.

     I will say that the facts as laid out in the report are accurate.

           Mr. Cicilline.   Well, Mr. Mueller, in your report you, in

     fact, write at page 99 -- 97:    Substantial evidence indicates that

     the President's effort to have Sessions limit the scope of the

     special counsel's investigation to future election interference

     was intended to prevent further investigative scrutiny of the

     President and his campaign conduct.     Is that correct?
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           Mr. Mueller.    Generally.

           Mr. Cicilline.    And so, Mr. Mueller, you have seen a letter

     where a thousand former Republican and Democratic Federal

     prosecutors have read your report and said, anyone but the

     President who committed those acts would be charged with

     obstruction of justice.     Do you agree with those former

     colleagues, a thousand prosecutors who came to that conclusion?

           Chairman Nadler.    The time of the gentleman has expired.

           The gentleman from Arizona.

           Mr. Biggs.     Thank you, Mr. Chairman.

           Mr. Mueller, you guys, your team wrote in the report,

     quote -- this is at the top of page 2, Volume I, also on page 173,

     by the way.   You said that you had come to the conclusion that,

     quote:   The investigation did not establish that members of the

     Trump campaign conspired or coordinated with the Russian

     Government in its election interference activities, close quote.

           That is an accurate statement, right?

           Mr. Mueller.    That is accurate.

           Mr. Biggs.     And I am curious, when did you personally come to

     that conclusion?

           Mr. Mueller.    Can you remind me which paragraph you are

     referring to?

           Mr. Biggs.     Top of page 2.

           Mr. Mueller.    On two.

           Mr. Biggs.     Volume I.
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             Mr. Mueller.    Okay.   And exactly which paragraph are you

     looking at on 2?

             Mr. Biggs.     The investigation did not establish --

             Mr. Mueller.    Of course.   I see it, yes.   What was your

     question?

             Mr. Biggs.     My question now is, when did you personally reach

     that conclusion?

             Mr. Mueller.    Well, we were ongoing for 2 years.

             Mr. Biggs.     Right, you were ongoing, and you wrote it at some

     point during that 2-year period, but at some point, you had to

     come to a conclusion that I don't think there -- that there is not

     a conspiracy going on here.       There was no conspiracy between this

     President.    I am not talking about the rest of the President's

     team.    I am talking about this President and the Russians.

             Mr. Mueller.    As you understand, in developing a criminal

     case, you get pieces of information, pieces of information,

     witnesses, and the like as you make your case.

             Mr. Biggs.     Right.

             Mr. Mueller.    And when you make a decision on a particular

     case depends on a number of factors.

             Mr. Biggs.     Right, I understand.

             Mr. Mueller.    So I cannot say specifically that we reached a

     decision on a particular defendant at a particular point in time.
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     RPTR MERTENS

     EDTR ZAMORA

     [10:44 a.m.]

           Mr. Biggs.     But it was sometime well before you wrote the

     report.    Fair enough?      I mean, you wrote the report dealing with a

     whole myriad of issues.        Certainly, at some time prior to that

     report is when you reached the decision that, okay, with regard to

     the President himself, I don't find anything here.         Fair enough?

           Mr. Mueller.    Well, I'm not certain I do agree with that.

           Mr. Biggs.     So you waited till the last minute when you were

     actually writing the report and say, oh, okay --

           Mr. Mueller.    No.     But there were various aspects of the

     development and --

           Mr. Biggs.     Sure.    And that's my point.   There are various

     aspects that happen, but somewhere along the pike, you come to a

     conclusion there's nothing -- there's no there there for this

     defendant.    Isn't that right?

           Mr. Mueller.    I can't -- I can't speak to that.

           Mr. Biggs.     You can't say when.    Fair enough.

           Mr. Zebley.     Mr. Biggs --

           Mr. Biggs.     So -- no, I'm not -- no.    I'm asking the sworn

     witness.

           Mr. Mueller, the evidence suggests that on May 10, 2017, at

     approximately 7:45 a.m., 6 days before the DAG, the Deputy
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     Attorney General, appointed you special counsel, Mr. Rosenstein

     called you and mentioned the appointment of the special counsel.

     Not necessarily that you'd be appointed, but that you had a

     discussion to that.     Is that true?   May 10, 2017.

           Mr. Mueller.    I don't have any -- no, I don't have any

     knowledge of that occurring.

           Mr. Biggs.     You don't have any knowledge or you don't recall?

           Mr. Mueller.    I don't have any knowledge.

           Mr. Biggs.     The evidence also suggests --

           Mr. Mueller.    Given that what I saw you do, are you

     questioning that?

           Mr. Biggs.     Well, I just find it intriguing.    Let me just

     tell you that there's evidence that suggests that that phone call

     took place and that that is what was said.

           So let's move to the next question.     The evidence suggests

     that also on May 12, 2017, 5 days before the DAG appointed you

     special counsel, you met with Mr. Rosenstein in person.         Did you

     discuss the appointment of the special counsel then, not

     necessarily you, but that there would be a special counsel?

           Mr. Mueller.    I've gone into waters that don't allow me to

     give you an answer to that particular question.       It relates to the

     internal discussions he would have in terms of indicting an

     individual.

           Mr. Biggs.     This has nothing to do with the indictment.       It

     has to do with special counsel and whether you discussed that with
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     Mr. Rosenstein.

           The evidence also suggests that on May 13, 4 days before you

     were appointed special counsel, you met with attorney -- former

     Attorney General Sessions and Rosenstein, and you spoke about

     special counsel.     Do you remember that?

           Mr. Mueller.    Not offhand, no.

           Mr. Biggs.     Okay.   And on May 16, the day before you were

     appointed special counsel, you met with the President and Rod

     Rosenstein.   Do you remember having that meeting?

           Mr. Mueller.    Yes.

           Mr. Biggs.     And discussion of the position of FBI Director

     took place.   Do you remember that?

           Mr. Mueller.    Yes.

           Mr. Biggs.     And did you discuss at any time in that meeting

     Mr. Comey's termination?

           Mr. Mueller.    No.

           Mr. Biggs.     Did you discuss at any time in that meeting the

     potential appointment of a special counsel, not necessarily you,

     but just in general terms?

           Mr. Mueller.    I can't get into the discussions on that.

           Mr. Biggs.     How many times did you speak to Mr. Rosenstein

     before May 17, which is the day you got appointed, regarding the

     appointment of special counsel?      How many times prior to that did

     you discuss that?

           Mr. Mueller.    I can't tell you how many times.
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             Mr. Biggs.     Is that because you don't recall or you just --

             Mr. Mueller.    I do not recall.

             Mr. Biggs.     Okay.    Thank you.

             How many times did you speak with Mr. Comey about any

     investigations pertaining to Russia prior to May 17, 2017?             Did

     you have any?

             Mr. Mueller.    None at all.

             Mr. Biggs.     Zero.

             Mr. Mueller.    Zero.

             Mr. Biggs.     Okay.    My time has expired, so --

             Chairman Nadler.       The time of the gentleman has expired.

             The gentleman from California.

             Mr. Swalwell.    Director Mueller, going back to the

     President's obstruction via Corey Lewandowski, it was referenced

     that a thousand former prosecutors who served under Republican and

     Democratic administrations with 12,000 years of Federal service

     wrote a letter regarding the President's conduct.            Are you

     familiar with that letter?

             Mr. Mueller.    I've read about that letter, yes.

             Mr. Swalwell.    And some of the individuals who signed that

     letter, the statement of former prosecutors, are people you worked

     with.    Is that right?

             Mr. Mueller.    Quite probably, yes.

             Mr. Swalwell.    People that you respect?

             Mr. Mueller.    Quite probably, yes.
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           Mr. Swalwell.     And in that letter, they said all of this

     conduct trying to control and impede the investigation against the

     President by leveraging his authority over others is similar to

     conduct we have seen charged against other public officials and

     people in powerful positions.

           Are they wrong?

           Mr. Mueller.    They had a different case.

           Mr. Swalwell.     Do you want to sign that letter, Director

     Mueller?

           Mr. Mueller.    They had a different case.

           Mr. Swalwell.     Director Mueller, thank you for your service

     going all the way back to the sixties when you courageously served

     in Vietnam.   Because I have a seat on the Intelligence Committee,

     I will have questions later.     And because of our limited time, I

     will ask to enter this letter into the record under unanimous

     consent.

           Chairman Nadler.    Without objection.

           [The information follows:]



     ******** COMMITTEE INSERT ********
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           Mr. Swalwell.    And I yield to my colleague from California,

     Mr. Lieu.

           Mr. Lieu.   Thank you, Director Mueller, for your long history

     of service to our country, including your service as a Marine

     where you earned a Bronze Star with a V device.

           I'd like to now turn to the elements of obstruction of

     justice as applied to the President's attempts to curtail your

     investigation.

           The first element of obstruction of justice requires an

     obstructive act, correct?

           Mr. Mueller.    Correct.

           Mr. Lieu.   Okay.    I'd like to direct you to page 97 of Volume

     II of your report.    And you wrote there on page 97, quote,

     Sessions was being instructed to tell the special counsel to end

     the existing investigation into the President and his campaign,

     unquote.    That's in the report, correct?

           Mr. Mueller.    Correct.

           Mr. Lieu.   That would be evidence of an obstructive act

     because it would naturally obstruct the investigation, correct?

           Mr. Mueller.    Correct.

           Mr. Lieu.   Okay.    Let's turn now to the second element of the

     crime of obstruction of justice which requires a nexus to an

     official proceeding.      Again, I'm going to direct you to page 97,

     the same page in Volume II, and you wrote, quote, by the time the

     President's initial one-on-one meeting with Lewandowski on June
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     19, 2017, the existence of a grand jury investigation supervised

     by the special counsel was public knowledge.

           That's in the report, correct?

           Mr. Mueller.   Correct.

           Mr. Lieu.   That would constitute evidence of a nexus to an

     official proceeding because a grand jury investigation is an

     official proceeding, correct?

           Mr. Mueller.   Yes.

           Mr. Lieu.   Okay.     I'd like to now turn to the final element

     of the crime of obstruction of justice.      On that same page,

     page 97, do you see where there is an intent section on that page?

           Mr. Mueller.   I do see that.

           Mr. Lieu.   All right.     Would you be willing to read the first

     sentence?

           Mr. Mueller.   And that was starting with?

           Mr. Lieu.   Substantial evidence.

           Mr. Mueller.   Indicates that the President's?

           Mr. Lieu.   If you could read that first sentence.        Would you

     be willing to do that?

           Mr. Mueller.   I'm happy to have you read it.

           Mr. Lieu.   Okay.     I will read it then.

           You wrote, quote, substantial evidence indicates that the

     President's effort to have Sessions limit the scope of the special

     counsel's investigation to future election interference was

     intended to prevent further investigative scrutiny of the
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     President's and his campaign's conduct, unquote.

            That's in the report, correct?

            Mr. Mueller.   That is in the report.   And I rely what's in

     the report to indicate what's happening in the paragraphs that

     we've been discussing.

            Mr. Lieu.   Thank you.

            So to recap what we've heard, we have heard today that the

     President ordered former White House Counsel Don McGahn to fire

     you.   The President ordered Don McGahn to then cover that up and

     create a false paper trail.     And now we've heard the President

     ordered Corey Lewandowski to tell Jeff Sessions to limit your

     investigation so that he, you, stop investigating the President.

            I believe a reasonable person looking at these facts could

     conclude that all three elements of the crime of obstruction of

     justice have been met.    And I would like to ask you, the reason,

     again, that you did not indict Donald Trump is because of OLC

     opinion stating that you cannot indict a sitting President,

     correct?

            Mr. Mueller.   That is correct.

            Mr. Lieu.   The fact that the orders by the President were not

     carried out, that is not a defense to obstruction of justice

     because the statute itself is quite broad.     It says that as long

     as you endeavor or attempt to obstruct justice, that would also

     constitute a crime.

            Mr. Mueller.   I'm not going to get into that at this
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     juncture.

             Mr. Lieu.    Okay.    Thank you.

             And based on the evidence that we have heard today, I believe

     a reasonable person could conclude that at least three crimes of

     obstruction of justice by the President occurred.          We're going to

     hear about two additional crimes, and that will be the witness

     tamperings of Michael Cohen and Paul Manafort.

             I yield back.

             Mr. Mueller.    The only thing I want to add is that on going

     through the elements with you do not mean -- or does not mean that

     I subscribe to what you're trying to prove through those elements.

             Chairman Nadler.      The time of the gentleman has expired.

             The gentlelady from Arizona.

             I'm sorry.   The gentleman from California.

             Mr. McClintock.      Thank you, Mr. Chairman.

             Mr. Mueller, over here.     Thanks for joining us today.      You

     had three discussions with Rod Rosenstein about your appointment

     as special counsel:       May 10, May 12, and May 13, correct?

             Mr. Mueller.    If you say so.     I have no reason to dispute

     that.

             Mr. McClintock.      Then you met with the President on the 16th

     with Rod Rosenstein present.        And then on the 17th, you were

     formally appointed as special counsel.         Were you meeting with the

     President on the 16th with knowledge that you were under

     consideration for appointment to special counsel?
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           Mr. Mueller.   I did not believe I was under consideration for

     counsel.   I had served two terms as FBI Director --

           Mr. McClintock.   The answer is no.

           Mr. Mueller.   The answer is no.

           Mr. McClintock.   Greg Jarrett describes your office as the

     team of partisans.   And as additional information is coming to

     light, there's a growing concern that political bias caused

     important facts to be omitted from your report in order to cast

     the President unfairly in a negative light.     For example, John

     Dowd, the President's lawyer, leaves an message with Michael

     Flynn's lawyer on November 17 of -- November of 2017.      The edited

     version in your report makes it appear that he was improperly

     asking for confidential information, and that's all we know from

     your report, except that the judge in the Flynn case ordered the

     entire transcript released in which Dowd makes it crystal clear

     that's not what he was suggesting.

           So my question is, why did you edit the transcript to hide

     the exculpatory part of the message?

           Mr. Mueller.   Well, I'm not sure I would agree with your

     characterization that we did anything to hide.

           Mr. McClintock.   Well, you omitted it.    You quoted the part

     where he says we need some kind of heads-up just for the sake of

     protecting all of our interests, if we can, but you omitted the

     portion where he says without giving up any confidential

     information.
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           Mr. Mueller.   Well, I'm not going to go further in terms of

     discussing the --

           Mr. McClintock.   Let's go on.   You extensively discussed

     Konstantin Kilimnik's activities with Paul Manafort.      And you

     describe him as, quote, a Russian-Ukrainian political consultant

     and long-time employee of Paul Manafort assessed by the FBI to

     have ties to Russian intelligence.     And, again, that's all we know

     from your report, except we've since learned from news articles

     that Kilimnik was actually a U.S. State Department intelligence

     source, yet nowhere in your report is he so identified.         Why was

     that fact omitted?

           Mr. Mueller.   I don't necessarily credit what you're saying

     occurred.

           Mr. McClintock.   Were you aware that Kilimnik was a U.S.

     State Department source?

           Mr. Mueller.   I'm not going to go into the ins and

     outs -- I'm not going to go into the ins and outs of what we had

     in the course of our investigation.

           Mr. McClintock.   Did you interview Konstantin Kilimnik?

           Mr. Mueller.   Pardon?

           Mr. McClintock.   Did you interview Konstantin Kilimnik?

           Mr. Mueller.   I can't go into the discussion of our

     investigative moves.

           Mr. McClintock.   And yet that is the basis of your report.

     Again, the problem we're having is we have to rely on your report
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     for an accurate reflection of the evidence, and we're starting to

     find out that's not true.

           For example, your report famously links Russian internet

     troll farms with the Russian Government.     Yet at a hearing on May

     28 in the Concord Management IRA prosecution that you initiated,

     the judge excoriated both you and Mr. Barr for producing no

     evidence to support this claim.    Why did you suggest Russia was

     responsible for the troll farms, when in court you've been unable

     to produce any evidence to support it?

           Mr. Mueller.   Well, I'm not going to get into that any

     further than I already have.

           Mr. McClintock.   But you have left the clear impression

     throughout the country through your report that it was the Russian

     Government behind the troll farms, and yet when you're called upon

     to provide actual evidence in court, you fail to do so.

           Mr. Mueller.   Well, again, I dispute your characterization of

     what occurred in that proceeding.

           Mr. McClintock.   In fact, the judge considered holding the

     prosecutors in criminal contempt.     She backed off only after your

     hastily called press conference the next day in which you

     retroactively made the distinction between the Russian Government

     and the Russia troll farms.    Did your press conference of May 29

     have anything to do with the threat to hold your prosecutors in

     contempt the previous day for publicly misrepresenting the

     evidence?
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           Mr. Mueller.   What was the question?

           Mr. McClintock.    The question is, did your May 29 press

     conference have anything to do with the fact that the previous

     day, the judge threatened to hold your prosecutors in contempt for

     misrepresenting evidence?

           Mr. Mueller.   No.

           Mr. McClintock.    Now, the fundamental problem is, as I said,

     we've got to take your word.     Your team faithfully, accurately,

     impartially, and completely described all of the underlying

     evidence in the Mueller report, and we're finding more and more

     instances where this just isn't the case.      And it's starting to

     look like, you know, having desperately tried and failed to make a

     legal case against the President, you made a political case

     instead.   You put it in a paper sack, lit it on fire, dropped it

     on our porch, rang the doorbell and ran.

           Mr. Mueller.   I don't think you reviewed a report that is as

     thorough, as fair, as consistent as the report that we have in

     front of us.

           Mr. McClintock.    Then why is contradictory information --

           Chairman Nadler.     The time of the gentleman has expired.

           The gentleman from Maryland is recognized.

           Mr. Raskin.    Director Mueller, let's go to a fourth episode

     of obstruction of justice in the form of witness tampering, which

     is urging witnesses not to cooperate with law enforcement, either

     by persuading them or intimidating them.      Witness tampering is a
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     felony punishable by 20 years in prison.         You found evidence that

     the President engaged in efforts, and I quote, to encourage

     witnesses not to cooperate with the investigation.         Is that right?

             Mr. Mueller.   That's correct.   Have you got a citation?

             Mr. Raskin.    I'm at page 7 on Volume II.

             Mr. Mueller.   Thank you.

             Mr. Raskin.    Now, one of these witnesses was Michael Cohen,

     the President's personal lawyer, who ultimately pled guilty to

     campaign violations based on secret hush money payments to women

     the President knew and also to lying to Congress about the hope

     for a $1 billion Trump Tower deal.

             After the FBI searched Cohen's home, the President called him

     up personally, he said, to check in, and told him to, quote, hang

     in there and stay strong.       Is that right?   Do you remember finding

     that?

             Mr. Mueller.   If it's in the report as stated, yes, it is

     right.

             Mr. Raskin.    Yes.   Also in the report, actually, are a series

     of calls made by other friends of the President.        One reached out

     to say he was with the boss at Mar-a-Lago, and the President said

     he loves you.    His name is redacted.     Another redacted friend

     called to say, the boss loves you.       And the third redacted friend

     called to say, everyone knows the boss has your back.

             Do you remember finding that sequence of calls?

             Mr. Mueller.   Generally, yes.
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           Mr. Raskin.    When the news -- and, in fact, Cohen said that

     following the receipt of these messages -- I'm quoting here,

     page 147, Volume II -- he believed he had the support of the White

     House if he continued to toe the party line, and he determined to

     stay on message and be part of the team.       That's at page 147.    Do

     you remember generally finding that?

           Mr. Mueller.    Generally, yes.

           Mr. Raskin.    Well, and Robert Costello, a lawyer close to the

     President's legal team, emailed Cohen to say, quote, you are

     loved, they're in our corner, sleep well tonight, and you have

     friends in high places.      And that's up on the screen, page 147.

     Do you remember reporting that?

           Mr. Mueller.    I see that.

           Mr. Raskin.    Okay.   Now, when the news first broke that Cohen

     had arranged payoffs to Stormy Daniels, Cohen faithfully stuck to

     this party line.     He said publicly that neither the Trump

     Organization nor the Trump campaign was a part of the transaction

     and neither reimbursed him.     Trump's personal attorney at that

     point quickly texted Cohen to say, quote, client says thank you

     for what you do.

           Mr. Mueller, who is the capital C client thanking Cohen for

     what he does?

           Mr. Mueller.    I can't speak to that.

           Mr. Raskin.    Okay.   The assumption in the context suggests

     very strongly it's President Trump.
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             Mr. Mueller.   I can't speak to that.

             Mr. Raskin.    Okay.   Cohen later broke and pled guilty to

     campaign finance offenses, and admitted fully they were made,

     quote, at the direction of candidate Trump.         Do you remember that?

             Mr. Mueller.   Yes.

             Mr. Raskin.    After Cohen's guilty plea, the President

     suddenly changed his tune towards Mr. Cohen, didn't he?

             Mr. Mueller.   I would say I rely on what's in the report.

             Mr. Raskin.    Well, he made the suggestion that Cohen family

     members had committed crimes.       He targeted, for example, Cohen's

     father-in-law and repeatedly suggested that he was guilty of

     committing crimes, right?

             Mr. Mueller.   Generally accurate.

             Mr. Raskin.    Okay.   On page 154, you give a powerful summary

     of these changing dynamics, and you said -- I'm happy to have you

     read it, but I'm happy to do it if not.

             Mr. Mueller.   I have it in front of me.     Thank you.

             Mr. Raskin.    Would you like to read it?

             Mr. Mueller.   I would.

             Mr. Raskin.    Can you read it out loud to everybody?

             Mr. Mueller.   I would be happy to have you read it out loud.

             Mr. Raskin.    Okay.   Very good.   We'll read it at the same

     time.

             The evidence concerning this sequence of events could support

     an inference that the President used inducements in the form of
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     positive messages in an effort to get Cohen not to cooperate and

     then turned to attacks and intimidation to deter the provision of

     information or to undermine Cohen's credibility once Cohen began

     cooperating.

            Mr. Mueller.   I believe that's accurate.

            Mr. Raskin.    Okay.   And in my view, if anyone else in America

     engaged in these actions, they would have been charged with

     witness tampering.     We must enforce the principle in Congress that

     you emphasize so well in the very last sentence of your report,

     which is that in America, no person is so high as to be above the

     law.

            I yield back, Mr. Chairman.

            Chairman Nadler.   The gentleman leads back.

            The gentlelady from Arizona.

            Mrs. Lesko.    Thank you, Mr. Chairman.

            Just recently, Mr. Mueller, you said -- Mr. Lieu was asking

     you questions.   And Mr. Lieu's question, I quote, the reason you

     didn't indict the President is because of the OLC opinion.      And

     you answered, that is correct.      But that is not what you said in

     the report, and it's not what you told Attorney General Barr.

            And, in fact, in a joint statement that you released with DOJ

     on May 29, after your press conference, your office issued a joint

     statement with the Department of Justice that said:      The Attorney

     General has previously stated that the special counsel repeatedly

     affirmed that he was not saying that but for the OLC opinion he
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     would have found the President obstructed justice.      The special

     counsel's report and his statement today made clear that the

     office concluded it would not reach a determination one way or the

     other whether the President committed a crime.      There is no

     conflict between these statements.

           So, Mr. Mueller, do you stand by your joint statement with

     DOJ that you issued on May 29 as you sit here today?

           Mr. Mueller.   I would have to look at it more closely before

     I said I agree with it.

           Mrs. Lesko.    Well, so, you know, my conclusion is that what

     you told Mr. Lieu really contradicts what you said in the report,

     and specifically what you said apparently repeatedly to Attorney

     General Barr that -- and then you issued a joint statement on May

     29 saying that the Attorney General has previously stated that the

     special counsel repeatedly affirmed that he was not saying but for

     the OLC report that we would have found the President obstructed

     justice, so I just say there's a conflict.

           I do have some more questions.     Mr. Mueller, there's been a

     lot of talk today about firing the special counsel and curtailing

     the investigation.    Were you ever fired, Mr. Mueller?

           Mr. Mueller.   Was I what?

           Mrs. Lesko.    Were you ever fired as special counsel,

     Mr. Mueller?

           Mr. Mueller.   Not that I -- no.

           Mrs. Lesko.    No.   Were you allowed to complete your
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     investigation unencumbered?

           Mr. Mueller.   Yes.

           Mrs. Lesko.    And, in fact, you resigned as special counsel

     when you closed up the office in late May 2019.      Is that correct?

           Mr. Mueller.   That's correct.

           Mrs. Lesko.    Thank you.

           Mr. Mueller, on April 18, the Attorney General held a press

     conference in conjunction with the public release of your report.

     Did Attorney General Barr say anything inaccurate, either in his

     press conference or his March 24 letter to Congress, summarizing

     the principal conclusions of your report?

           Mr. Mueller.   Well, what you are not mentioning is a letter

     we sent on March 27 to Mr. Barr that raised some issues, and that

     letter speaks for itself.

           Mrs. Lesko.    But then I don't see how you could -- that could

     be since AG Barr's letter detailed the principal conclusions of

     your report, and you have said before that -- that there wasn't

     anything inaccurate.    In fact, you have this joint statement.      But

     let me go on to another question.

           Mr. Mueller, rather than purely relying on the evidence

     provided by witnesses and documents, I think you relied a lot on

     media.   I'd like to know how many times you cited The Washington

     Post in your report.

           Mr. Mueller.   How many times I what?

           Mrs. Lesko.    Cited The Washington Post in your report.
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           Mr. Mueller.   I do not have knowledge of that figure, but

     I -- well, that's it.    I don't have knowledge of that figure.

           Mrs. Lesko.    I counted about 60 times.

           How many times did you cite The New York Times?       I counted --

           Mr. Mueller.   Again, I have no idea.

           Mrs. Lesko.    I counted about 75 times.

           How many times did you cite Fox News?

           Mr. Mueller.   As with the other two, I have no idea.

           Mrs. Lesko.    About 25 times.

           I've got to say it looks like Volume II is mostly

     regurgitated press stories.    Honestly, there's almost nothing in

     Volume II that I didn't already hear or know simply by having a

     $50 cable news subscription.    However, your investigation cost the

     American taxpayers $25 million.

           Mr. Mueller, you cited media reports nearly 200 times in your

     report.   Then in a footnote, a small footnote, No. 7, page 15 of

     Volume II of your report, you wrote, I quote, this section

     summarizes and cites various news stories, not for the truth of

     the information contained in the stories, but rather, to place

     candidate Trump's response to those stories in context.

           Since nobody but lawyers reads footnotes, are you concerned

     that the American public took the embedded news stories --

           Chairman Nadler.   The time of the gentlelady has expired.

           The gentlelady from Washington.

           Mrs. Lesko.    Can Mr. Mueller answer the question?
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           Chairman Nadler.   No.    No.   No.   We're running short on time.

           I said the gentlelady from Washington.

           Ms. Jayapal.   Thank you.

           Director Mueller, let's turn to the fifth of the obstruction

     episodes in your report, and that is the evidence of whether

     President Trump engaged in witness tampering with Trump campaign

     chairman Paul Manafort, whose foreign ties were critical to your

     investigation into Russia's interference in our elections.       And

     this starts at Volume II, page 123.

           Your office got indictments against Manafort and Trump deputy

     campaign manager Rick Gates in two different jurisdictions,

     correct?

           Mr. Mueller.   Correct.

           Ms. Jayapal.   And your office found that after a grand jury

     indicted them, Manafort told Gates not to plead guilty to any

     charges because, quote, he had talked to the President's personal

     counsel, and they were going to take care of us.       Is that correct?

           Mr. Mueller.   That's accurate.

           Ms. Jayapal.   And according to your report, 1 day after

     Manafort's conviction on eight felony charges, quote, the

     President said that flipping was not fair and almost ought to be

     outlawed.   Is that correct?

           Mr. Mueller.   I'm aware of that.

           Ms. Jayapal.   In this context, Director Mueller, what does it

     mean to flip?
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           Mr. Mueller.   Have somebody cooperate in a criminal

     investigation.

           Ms. Jayapal.   And how essential is that cooperation to any

     efforts to combat crime?

           Mr. Mueller.   I'm not going to go beyond that, characterizing

     that effort.

           Ms. Jayapal.   Thank you.

           In your report, you concluded that President Trump and his

     personal counsel, Rudy Giuliani, quote, made repeated statements

     suggesting that a pardon was a possibility for Manafort, while

     also making it clear that the President did not want Manafort to

     flip and cooperate with the government, end quote.      Is that

     correct?

           Mr. Mueller.   Correct.

           Ms. Jayapal.   And as you stated earlier, witness tampering

     can be shown where someone with an improper motive encourages

     another person not to cooperate with law enforcement.      Is that

     correct?

           Mr. Mueller.   Correct.

           Ms. Jayapal.   Now, on page 123 of Volume II, you also discuss

     the President's motive, and you say that as court proceedings

     moved forward against Manafort, President Trump, quote, discussed

     with aides whether and in what way Manafort might be cooperating

     and whether Manafort knew any information that would be harmful to

     the President, end quote.    Is that correct?
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           Mr. Mueller.   And that was a quote from?

           Ms. Jayapal.   From page 123, Volume II.

           Mr. Mueller.   I have that.   Thank you.   Yes.

           Ms. Jayapal.   And when someone tries to stop another person

     from working with law enforcement and they do it because they're

     worried about what that person will say, it seems clear from what

     you wrote that this is a classic definition of witness tampering.

           Now, Mr. Manafort did eventually decide to cooperate with

     your office, and he entered into a plea agreement, but then he

     broke that agreement.    Can you describe what he did that caused

     you to tell the court that the agreement was off?

           Mr. Mueller.   I refer you to the court proceedings on that

     issue.

           Ms. Jayapal.   So on page 127 of Volume II, you told the court

     that Mr. Manafort lied about a number of matters that were

     material to the investigation, and you said that Manafort's

     lawyers also, quote, regularly briefed the President's lawyers on

     topics discussed and the information that Manafort had provided in

     interviews with the Special Counsel's Office.      Does that sound

     right?

           Mr. Mueller.   And the source of that is?

           Ms. Jayapal.   That's page 127, Volume II.    That's a direct

     quote.

           Mr. Mueller.   If it's from the report, yes, I support it.

           Ms. Jayapal.   Thank you.
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             And 2 days after you told the court that Manafort broke his

     plea agreement by lying repeatedly, did President Trump tell the

     press that Mr. Manafort was, quote, very brave because he did not

     flip?    This is page 128 of Volume II.

             Mr. Mueller.    If it's in the report, I support it as it

     is -- as it is set forth.

             Ms. Jayapal.    Thank you.

             Director Mueller, in your report, you make a very serious

     conclusion about the evidence regarding the President's

     involvement with the Manafort criminal proceedings.       Let me read

     to you from your report.

             Evidence concerning the President's conduct toward Manafort

     indicates that the President intended to encourage Manafort to not

     cooperate with the government.       It is clear that the President,

     both publicly and privately, discouraged Mr. Manafort's

     cooperation or flipping, while also dangling the promise of a

     pardon if he stayed loyal and did not share what he knew about the

     President.    Anyone else who did these things would be prosecuted

     for them.    We must ensure that no one is above the law.

             And I thank you for being here, Director Mueller.

             I yield back.

             Chairman Nadler.   The gentleman from Pennsylvania.

             Mr. Reschenthaler.    Thank you, Mr. Chairman.

             Mr. Mueller, I'm over here.    I'm sorry.

             Mr. Mueller, are you familiar with the now expired
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     Independent Counsel Statute?    It's the statute under which Ken

     Starr was appointed.

           Mr. Mueller.    That Ken Starr did what?   I'm sorry.

           Mr. Reschenthaler.    Are you familiar with the Independent

     Counsel Statute?

           Mr. Mueller.    Are you talking about the one we're operating

     now or a previous?

           Mr. Reschenthaler.    No, under which Ken Starr was appointed.

           Mr. Mueller.    I am not that familiar with that, but I'd be

     happy to take your question.

           Mr. Reschenthaler.    Well, the Clinton administration allowed

     the Independent Counsel Statute to expire after Ken Starr's

     investigation.    The final report requirement was a major reason

     why the statute was allowed to expire.     Even President Clinton's

     AG, Janet Reno, expressed concerns about the final report

     requirement.   And I will quote AG Reno.

           She said:    On one hand, the American people have an interest

     in knowing the outcome of an investigation of their highest

     officials.   On the other hand, the report requirement cuts against

     many of the most basic traditions and practices of American law

     enforcement.   Under our system, we presume innocence, and we value

     privacy.   We believe that information obtained during criminal

     investigations should, in most cases, be made public only if

     there's an indictment and prosecution, not in a lengthy and

     detailed report filed after a decision has been made not to
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     prosecute.   The final report provides a forum for unfairly airing

     any target's dirty laundry.    It also creates yet another incentive

     for an independent counsel to overinvestigate in order to justify

     his or her tenure and to avoid criticism that the independent

     counsel may have left a stone unturned.

           Again, Mr. Mueller, those are AG Reno's words.      Didn't you do

     exactly what AG Reno feared?      Didn't you publish a lengthy report

     unfairly airing the target's dirty laundry without recommending

     charges?

           Mr. Mueller.   I disagree with that, and I -- may I finish?

           Mr. Reschenthaler.   Did any of your witnesses have a chance

     to be cross-examined?

           Mr. Mueller.   Can I just finish my answer on this?

           Mr. Reschenthaler.   Quickly.

           Mr. Mueller.   I operate under the current statute, not the

     original statute, so I am most familiar with the current statute,

     not the older statute.

           Mr. Reschenthaler.   Did any of the witnesses have a chance to

     be cross-examined?

           Mr. Mueller.   Did any of the witnesses in our investigation?

           Mr. Reschenthaler.   Yes.

           Mr. Mueller.   I'm not going to answer that.

           Mr. Reschenthaler.   Did you allow the people mentioned in

     your report to challenge how they were characterized?

           Mr. Mueller.   I'm not going to get into that.
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             Mr. Reschenthaler.   Okay.   Given that AG Barr stated multiple

     times during his confirmation hearing that he would make as much

     of your report public as possible, did you write your report

     knowing that it would likely be shared with the public?

             Mr. Mueller.   No.

             Mr. Reschenthaler.   Did knowing that the report could and

     likely would be made public, did that alter the contents which you

     included?

             Mr. Mueller.   I can't speak to that.

             Mr. Reschenthaler.   Despite the expectations that your report

     would be released to the public, you left out significant

     exculpatory evidence, in other words, evidence favorable to the

     President, correct?

             Mr. Mueller.   Well, I actually would disagree with you.     I

     think we strove to put into the report the exculpatory evidence as

     well.

             Mr. Reschenthaler.   One of my colleagues got into that with

     you where you said there was evidence you left out.

             Mr. Mueller.   Well, you make a choice as to what goes into an

     indictment.

             Mr. Reschenthaler.   Isn't it true, Mr. Mueller, isn't it true

     that on page 1 of Volume II, you state when you're quoting the

     statute you have an obligation to either prosecute or not

     prosecute?

             Mr. Mueller.   Well, generally that is the case, although most
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     cases are not done in the context of the President.

           Mr. Reschenthaler.    And in this case, you made a decision not

     to prosecute, correct?

           Mr. Mueller.   No.   We made a decision not to decide whether

     to prosecute or not.

           Mr. Reschenthaler.    So, essentially, what your report did was

     everything that AG Reno warned against?

           Mr. Mueller.   I can't agree with that characterization.

           Mr. Reschenthaler.    Well, what you did is you compiled nearly

     450 pages of the very worst information you gathered against the

     target of your investigation, who happens to be the President of

     the United States, and you did this knowing that you were not

     going to recommend charges and that the report would be made

     public.

           Mr. Mueller.   Not true.

           Mr. Reschenthaler.    Mr. Mueller, as a former officer in the

     United States JAG Corps, I prosecuted nearly 100 terrorists in a

     Baghdad courtroom.   I cross-examined the butcher of Fallujah in

     defense of our Navy SEALS.    As a civilian, I was elected a

     magisterial district judge in Pennsylvania, so I am very well

     versed in the American legal system.

           The drafting and the publication of some of the information

     in this report without an indictment, without prosecution,

     frankly, flies in the face of American justice.      And I find those

     facts and this entire process un-American.
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           I yield the remainder of my time to my colleague, Jim Jordan.

           Mr. Jordan.     Director Mueller, the third FISA renewal happens

     a month after you're named special counsel.     What role did your

     office play in the third FISA renewal of Carter Page?

           Mr. Mueller.    I'm not going to talk to that.

           Chairman Nadler.    The time of the gentleman has expired.

           The gentlelady from Florida.

           Mrs. Demings.     Director Mueller, a couple of my

     colleagues -- right here -- wanted to talk to you or ask you about

     lies, so let's talk about lies.     According to your report, page 9,

     Volume I, witnesses lied to your office and to Congress.        Those

     lies materially impaired the investigation of Russia interference,

     according to your report.

           Other than the individuals who pled guilty to crimes based on

     their lying to you and your team, did other witnesses lie to you?

           Mr. Mueller.    I think there are probably a spectrum of

     witnesses in terms of those who are not telling the full truth and

     those who are outright liars.

           Mrs. Demings.     Thank you very much.

           Outright liars.    It is fair to say, then, that there were

     limits on what evidence was available to your investigation of

     both Russia election interference and obstruction of justice?

           Mr. Mueller.    That's true and is usually the case.

           Mrs. Demings.     And that lies about Trump campaign officials

     and administration officials impeded your investigation?
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           Mr. Mueller.    I would generally agree with that.

           Mrs. Demings.    Thank you so much, Director Mueller.     You will

     be hearing more from me in the next hearing.

           So I yield the balance of my time to Mr. Correa.      Thank you.

           Mr. Correa.     Mr. Mueller, first of all, let me welcome you.

     Thank you for your service to our country.      You're a hero, Vietnam

     war vet, a wounded war vet.      We won't forget your service to our

     country.

           Mr. Mueller.    Thank you, sir.

           Mr. Correa.     If I may begin.   Because of time limits, we have

     gone in depth on only five possible episodes of obstruction.

     There's so much more, and I want to focus on another section of

     obstruction, which is the President's conduct concerning Michael

     Flynn, the President's National Security Advisor.

           In early 2017, the White House Counsel and the President were

     informed that Mr. Flynn had lied to government authorities about

     his communications with the Russian Ambassador during the Trump

     campaign and transition.     Is this correct?

           Mr. Mueller.    Correct.

           Mr. Correa.     If a hostile nation knows that a U.S. official

     has lied publicly, that can be used to blackmail that government

     official, correct?

           Mr. Mueller.    I'm not going to speak to that.   I don't

     disagree with it necessarily, but I'm not going to speak any more

     to that issue.
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           Mr. Correa.    Thank you very much, sir.

           Flynn resigned on February 13, 2016, and the very next day,

     when the President was having lunch with New Jersey Governor Chris

     Christie, did the President say, open quotes, now that we fired

     Flynn, the Russia thing is over, close quote?      Is that correct?

           Mr. Mueller.   Correct.

           Mr. Correa.    And is it true that Christie responded by

     saying, open quotes, no way, and this Russia thing is far from

     over, close quote?

           Mr. Mueller.   That's the way we have it in the report.

           Mr. Correa.    Thank you.

           And after the President met with Christie, later that same

     day, the President arranged to meet with then FBI Director James

     Comey alone in the Oval Office, correct?

           Mr. Mueller.   Correct, particularly if you have the citation

     to the report.

           Mr. Correa.    Page 39-40, Volume II.

           Mr. Mueller.   Thank you very much.

           Mr. Correa.    And according to Comey, the President told him,

     open quote, I hope you can see your way clear to letting this

     thing go, to letting Flynn go.      He's a good guy, and I hope you

     can let it go, close quote.       Page 40, Volume II.

           Mr. Mueller.   Accurate.

           Mr. Correa.    What did Comey understand the President to be

     asking?
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           Mr. Mueller.    I'm not going to get into what was in

     Mr. Comey's mind.

           Mr. Correa.    Comey understood this to be a direction because

     of the President's position and the circumstances of the

     one-to-one meeting?    Page 40, Volume II.

           Mr. Mueller.    Well, I understand it's in the report, and I

     support it as being in the report.

           Mr. Correa.    Thank you, sir.

           Even though the President publicly denied telling Comey to

     drop the investigation, you found, open quote, substantial

     evidence corroborating Comey's account over the President's.         Is

     this correct?

           Mr. Mueller.    That's correct.

           Mr. Correa.    The President fired Comey on May 9.    Is that

     correct, sir?

           Mr. Mueller.    I believe that's the accurate date.

           Mr. Correa.    That's page 77, Volume II.

           You found substantial evidence that the catalyst for the

     President's firing of Comey was Comey's, open quote, unwillingness

     to publicly state that the President was not personally under

     investigation.

           Mr. Mueller.    I'm not going to delve more into the details of

     what happened.   If it's in the report, again, I'll support it

     because it's already been reviewed and appropriately appears in

     the report.
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            Mr. Correa.     And that's page 75, Volume II.

            Mr. Mueller.    Thank you.

            Mr. Correa.     Thank you.

            And, in fact, the very next day, the President told the

     Russian foreign minister, open quote, I just fired the head of the

     FBI.   He was crazy, a real nut job.        I faced great pressure

     because of Russia.      That's taken off.     I'm not under

     investigation, close quote.         Is that correct?

            Mr. Mueller.    If that's what was written in the report, yes.

            Chairman Nadler.    The time of the gentleman has expired.

            Mr. Correa.     Thank you, sir.

            Chairman Nadler.    The gentleman from Virginia.

            Mr. Cline.     Thank you, Mr. Chairman.

            Mr. Mueller, we've heard a lot about what you're not going to

     talk about today.      So let's talk about something that you should

     be able to talk about, the law itself, the underlying obstruction

     statute and your creative legal analysis of the statutes in Volume

     II, particularly an interpretation of 18 U.S.C. 1512 C.

     Section 1512 C is an obstruction of justice statute created as

     part of auditing financial regulations for public companies.             And

     as you write on page 164 of Volume II, this provision was added as

     a floor amendment in the Senate and explained as closing a certain

     loophole with respect to document shredding.

            And to read the statute, whoever corruptly alters, destroys,

     mutilates, or conceals a record, document, or other object or
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     attempts to do so with the intent to impair the object's integrity

     or availability for use in an official proceeding or otherwise

     obstructs, influences, or impedes any official proceeding or

     attempts to do so shall be fined under the statute and imprisoned

     not more than 20 years or both.

           Your analysis and application of the statute proposes to give

     clause C2 a much broader interpretation than commonly used.

     First, your analysis proposes to read clause C2 in isolation,

     reading it as a freestanding, all-encompassing provision

     prohibiting any act influencing a proceeding if done with an

     improper motive.     And second, your analysis of the statute

     proposes to apply the sweeping prohibition to lawful acts taken by

     public officials exercising their discretionary powers if those

     acts influence a proceeding.

           So, Mr. Mueller, I'd ask you, in analyzing the obstruction,

     you state that you recognize that the Department of Justice and

     the courts have not definitively resolved these issues, correct?

           Mr. Mueller.    Correct.

           Mr. Cline.     You would agree that not everyone in the Justice

     Department agreed with your legal theory of the obstruction of

     justice statute, correct?

           Mr. Mueller.    I'm not going to be involved in a discussion on

     that at this juncture.

           Mr. Cline.     In fact, the Attorney General himself disagrees

     with your interpretation of the law, correct?
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           Mr. Mueller.    I leave that to the Attorney General to

     identify.

           Mr. Cline.     And you would agree that prosecutors sometimes

     incorrect apply the law, correct?

           Mr. Mueller.    I would have to agree with that one, yes.

           Mr. Cline.     And members of your legal team, in fact, have had

     convictions overturned because they were based on an incorrect

     legal theory, correct?

           Mr. Mueller.    I don't know to what you aver.   We've all spent

     time in the trenches trying cases and not won every one of those

     cases.

           Mr. Cline.     Well, let me ask you about one in particular.

     One of your top prosecutors, Andrew Weissmann, obtained a

     conviction against auditing firm Arthur Andersen, lower court,

     which was subsequently overturned in a unanimous Supreme Court

     decision that rejected the legal theory advanced by Weissmann,

     correct?

           Mr. Mueller.    Well, I'm not going to get into that, delve

     into that.

           Mr. Cline.     Well, let me read from that and maybe it will --

           Mr. Mueller.    May I just finish?   May I just finish --

           Mr. Cline.     Yes.

           Mr. Mueller.    -- my answer to say that I'm not going to

     be -- get involved in a discussion on that.     I will refer you to

     that citation that you gave me at the outset for the lengthy
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     discussion on just what you're talking about.       And to the extent

     that I have anything to say about it, it is what we've already put

     into the report on that issue.

           Mr. Cline.     I am reading from your report when discussing

     this section.   I will read from the decision of the Supreme Court

     unanimously reversing Mr. Weissmann when he said, indeed, it's

     striking how little culpability the instructions required.       For

     example, the jury was told that even if petitioner honestly and

     sincerely believed its conduct was lawful, the jury could convict.

     The instructions also diluted the meaning of corruptly such that

     it covered innocent conduct.

           Mr. Mueller.    Well, let me just say --

           Mr. Cline.     Let me move on.   I have limited time.

           Your report takes the broadest possible reading of this

     provision in applying it to the President's official acts, and I'm

     concerned about the implications of your theory for

     overcriminalizing conduct by public officials and private citizens

     alike.

           So to emphasize how broad your theory of liability is, I want

     to ask you about a few examples.       On October 11, 2015, during an

     FBI investigation into Hillary Clinton's use of a private email

     server, President Obama said, I don't think it posed a national

     security problem.     And he later said, I can tell you that this is

     not a situation in which America's national security was

     endangered.
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           Assuming for a moment that his comments did influence the

     investigation, couldn't President Obama be charged, under your

     interpretation, with obstruction of justice?

           Mr. Mueller.    Well, again, I'd refer you to the report.      But

     let me say with Andrew Weissmann, who is one of the more talented

     attorneys that we have on board --

           Mr. Cline.     Okay.   Well, I'll take that as --

           Mr. Mueller.    -- over a period of time, he has run a number

     of units.

           Mr. Cline.     I have very little time.

           In August 2015, a very senior DOJ official called FBI Deputy

     Director Andrew McCabe expressing concern that FBI agents were

     still openly pursuing the Clinton Foundation probe.       The DOJ

     official was apparently very pissed off, quote/unquote.         McCabe

     questioned this official, asking, are you telling me I need to

     shut down a validly predicated investigation, to which the

     official replied, of course not.

           This seems to be a clear example of somebody within the

     executive branch attempting to influence an FBI investigation.           So

     under your theory, couldn't that person be charged with

     obstruction as long as the prosecutor could come up with a

     potentially corrupt motive?

           Mr. Mueller.    I refer you to our lengthy dissertation on

     exactly those issues that appears at the end of the report.

           Mr. Cline.     Mr. Mueller, I'd argue that it says above the
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     Supreme Court equal justice --

           Chairman Nadler.    The time of the gentleman has expired.

           Our intent was to conclude this hearing in 3 hours.       Given

     the break, that would bring us to approximately 11:40.      With

     Director Mueller's indulgence, we will be asking our remaining

     Democratic members to voluntarily limit their time below the

     5 minutes so that we can complete our work as close to that

     timeframe as possible.

           And I recognize the gentlelady from Pennsylvania.

           Ms. Scanlon.    Thank you.

           Director Mueller, I want to ask you some questions about the

     President's statements regarding advance knowledge of the

     WikiLeaks dumps.     So the President refused to sit down with your

     investigators for an in-person interview, correct?

           Mr. Mueller.    Correct.

           Ms. Scanlon.    So the only answers we have to questions from

     the President are contained in Appendix C to your report?

           Mr. Mueller.    That's correct.

           Ms. Scanlon.    Okay.   So looking at Appendix C on page 5, you

     asked the President over a dozen questions about whether he had

     knowledge that WikiLeaks possessed or might possess the emails

     that were stolen by the Russians.

           Mr. Mueller.    I apologize.

           Ms. Scanlon.    Sure.

           Mr. Mueller.    Can you start it again?
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           Ms. Scanlon.   Okay.    Sure.

           Mr. Mueller.   Thank you.

           Ms. Scanlon.   So we are looking at Appendix C.

           Mr. Mueller.   Right.

           Ms. Scanlon.   And at Appendix C, page 5, you ask the

     President about a dozen questions about whether he had knowledge

     that WikiLeaks possessed the stolen emails that might be released

     in a way helpful to his campaign or harmful to the Clinton

     campaign.    Is that correct?   You asked those questions?

           Mr. Mueller.   Yes.

           Ms. Scanlon.   Okay.    In February of this year, Mr. Trump's

     personal attorney, Michael Cohen, testified to Congress under oath

     that, quote:   Mr. Trump knew from Roger Stone in advance about the

     WikiLeaks drop of emails, end quote.

           That is a matter of public record, isn't it?

           Mr. Mueller.   Well, are you referring to the report or some

     other public record?

           Ms. Scanlon.   This was testimony before Congress by

     Mr. Cohen.   Do you know if he told you --

           Mr. Mueller.   I am not familiar with -- explicitly familiar

     with what he testified to before Congress.

           Ms. Scanlon.   Okay.    Let's look at an event described on page

     18 of Volume II of your report.       Now, according -- and we are

     going to put it up in a slide, I think.       According to Deputy

     Campaign Manager Rick Gates, in the summer of 2016, he and
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     candidate Trump were on the way to an airport shortly after

     WikiLeaks released its first set of stolen emails.      And Gates told

     your investigators that candidate Trump was on a phone call, and

     when the call ended, Trump told Gates that more releases of

     damaging information would be coming, end quote.      Do you recall

     that from the report?

           Mr. Mueller.   If it is in the report, I support it.

           Ms. Scanlon.   Okay.   And that is on page 18 of Volume II.

     Now, on page 77 of Volume II, your report also stated, quote:         In

     addition, some witnesses said that Trump privately sought

     information about future WikiLeaks releases, end quote.         Is that

     correct?

           Mr. Mueller.   Correct.

           Ms. Scanlon.   Now, in Appendix C where the President did

     answer some written questions, he said, quote:      I do not recall

     discussing WikiLeaks with him, nor do I recall being aware of

     Mr. Stone having discussed WikiLeaks with individuals associated

     with my campaign, end quote.    Is that correct?

           Mr. Mueller.   If it is from the report, it is correct.

           Ms. Scanlon.   Okay.   So is it fair to say the President

     denied ever discussing WikiLeaks with Mr. Stone and denied being

     aware that anyone associated with his campaign discussed WikiLeaks

     with Stone?

           Mr. Mueller.   I am sorry.   Could you repeat that one?

           Ms. Scanlon.   Is it fair, then, that the President denied
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     knowledge of himself or anyone else discussing WikiLeaks dumps

     with Mr. Stone?

            Mr. Mueller.   Yes.    Yes.

            Ms. Scanlon.   Okay.    And, with that, I would yield back.

            Mr. Mueller.   Thank you, ma'am.

            Chairman Nadler.   The gentlelady yields back.

            The gentleman from Florida.

            Mr. Steube.    Thank you, Mr. Chair.

            Mr. Mueller, did you indeed interview for the FBI Director

     job one day before you were appointed as special counsel?

            Mr. Mueller.   In my understanding, I was not applying for the

     job.   I was asked to give my input on what it would take to do the

     job, which triggered the interview you are talking about.

            Mr. Steube.    So you don't recall on May 16, 2017, that you

     interviewed with the President regarding the FBI Director job?

            Mr. Mueller.   I interviewed with the President, but it wasn't

     about the Director job.

            Mr. Steube.    The FBI Director job?

            Mr. Mueller.   It was about the job but not about me applying

     for the job.

            Mr. Steube.    So your statement here today is that you didn't

     interview to apply for the FBI Director job?

            Mr. Mueller.   That is correct.

            Mr. Steube.    So did you tell the Vice President that the FBI

     Director position would be the one job that you would come back
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     for?

            Mr. Mueller.   I don't recall that one.

            Mr. Steube.    You don't recall that?

            Mr. Mueller.   No.

            Mr. Steube.    Okay.   Given your 22 months of investigation,

     tens of millions of dollars spent, and millions of documents

     reviewed, did you obtain any evidence at all that any American

     voter changed their vote as a result of Russian's election

     interference?

            Mr. Mueller.   I can't speak to that.

            Mr. Steube.    You can't speak to that?

            Mr. Mueller.   No.

            Mr. Steube.    After 22 months of investigation, there is not

     any evidence in that document before us that any voter changed

     their vote because of their interference, and I am asking you

     based on all of the documents that you reviewed.

            Mr. Mueller.   That was outside our purview.

            Mr. Steube.    Russian meddling was outside your purview?

            Mr. Mueller.   The impact of that meddling was undertaken by

     other agencies.

            Mr. Steube.    Okay.   You stated in your opening statement that

     you would not get into the details of the Steele dossier.

     However, multiple times in Volume II on page 23, 27, and 28, you

     mentioned the unverified allegations.      How long did it take you to

     reach the conclusion that it was unverified?
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           Mr. Mueller.   I am not going to speak to that.

           Mr. Steube.    It is actually in your report multiple times as

     unverified, and you are telling me that you are not willing to

     tell us how you came to the conclusion that it was unverified?

           Mr. Mueller.   True.

           Mr. Steube.    When did you become aware that the unverified

     Steele dossier was included in the FISA application to spy on

     Carter Page?

           Mr. Mueller.   I am sorry.   What was the question?

           Mr. Steube.    When did you become aware that the unverified

     Steele dossier was intended -- was included in the FISA

     application to spy on Carter Page?

           Mr. Mueller.   I am not going to speak to that.

           Mr. Steube.    Your team interviewed Christopher Steele.       Is

     that correct?

           Mr. Mueller.   I am not going to get into that.     As I said at

     the outset --

           Mr. Steube.    You can't tell this committee as to whether or

     not you interviewed Christopher Steele in a 22-month investigation

     with 18 lawyers?

           Mr. Mueller.   As I said at the outset, that is one of

     those -- one of the investigations that is being handled by others

     in the Department of Justice.

           Mr. Steube.    Yeah, but you're here testifying about this

     investigation today, and I am asking you directly, did any members
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     of your team or did you interview Christopher Steele in the course

     of your investigation?

            Mr. Mueller.   And I am not going to answer that question,

     sir.

            Mr. Steube.    You had 2 years to investigate.   Not once did

     you consider or even investigate how an unverified document that

     was paid for by a political opponent was used to obtain a warrant

     to spy on the opposition political campaign.     Did you do any

     investigation on that whatsoever?

            Mr. Mueller.   I do not accept your characterization of what

     occurred.

            Mr. Steube.    What would be your characterization?

            Mr. Mueller.   I am not going to speak any more to it.

            Mr. Steube.    So you can't speak any more to it, but you are

     not going to agree with my characterization.     Is that correct?

            Mr. Mueller.   Yes.

            Mr. Steube.    The FISA application makes reference to Source

     1, who is Christopher Steele, the author of the Steele dossier.

     The FISA application says nothing Source 1's reason for conducting

     the research into Candidate 1's ties to Russia based on Source 1's

     previous reporting history with FBI whereby Source 1 provided

     reliable information to the FBI.     The FBI believes Source 1's

     reporting herein to be credible.     Do you believe the FBI's

     representation that Source 1's reporting was credible to be

     accurate?
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            Mr. Mueller.    I am not going to answer that.

            Mr. Steube.    So you are not going to respond to any of the

     questions regarding Christopher Steele or your interviews with

     him?

            Mr. Mueller.    Well, as I said at the outset this morning,

     that was one of the investigations that I could not speak to.

            Mr. Steube.    Well, I don't understand how if you interviewed

     an individual in the purview of this investigation that you are

     testifying to us today that you've closed that investigation, how

     that is not within the purview to tell us about that investigation

     and who you interviewed.

            Mr. Mueller.    I have nothing to add.

            Mr. Steube.    Okay.   Well, I can guarantee that the American

     people want to know, and I am very hopeful and glad that AG Barr

     is looking into this and the inspector general is looking into

     this because you are unwilling to answer the questions of the

     American people as it relates to the very basis of this

     investigation into the President and the very basis of this

     individual who you did interview.        You are just refusing to answer

     those questions.      Can't the President fire the FBI Director at any

     time without reason under Article I of the Constitution?

            Mr. Mueller.    Yes.

            Mr. Steube.    Article II.

            Mr. Mueller.    Yes.

            Mr. Steube.    That is correct.    Can he also fire you as
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     special counsel at any time without any reason?

           Mr. Mueller.    I believe that to be the case.

           Mr. Steube.    Under Article II.

           Mr. Mueller.    Well, hold on just a second.     You said without

     any reason.    I know that special counsel can be fired, but I am

     not sure it extends to whatever reason is given.

           Mr. Steube.    Well, and you've testified that you weren't

     fired.    You were able to complete your investigation in full.      Is

     that correct?

           Mr. Mueller.    I am not going to add to what I have stated

     before.

           Mr. Steube.    My time has expired.

           Chairman Nadler.    The gentleman's time has expired.

           The gentlelady from Pennsylvania -- from Texas.

           Ms. Garcia.    Thank you, Mr. Chairman, and thank you,

     Mr. Mueller, for being with us.    It is close to the afternoon now.

           Director Mueller, now I would like to ask you about the

     President's answers relating to Roger Stone.     Roger Stone was

     indicted for multiple Federal crimes, and the indictment alleges

     that Mr. Stone discussed future WikiLeaks email releases with the

     Trump campaign.     Understanding there is a gag order on the Stone

     case, I will keep my questions restricted to publicly available

     information.    Mr. Stone's --

           Mr. Mueller.    Let me just say at the outset.    I don't mean to

     disrupt you, but I am not -- I would like some demarcation of that
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     which is applicable to this but also in such a way that it does

     not hinder the other prosecution that is taking place in D.C.

           Ms. Garcia.    I understand that.   I am only going to be

     talking about the questions that you asked in writing to the

     President --

           Mr. Mueller.   Thank you, ma'am.

           Ms. Garcia.    -- that relate to Mr. Stone.     Mr. Stone's

     indictment states, among other things, the following quote:         Stone

     was contacted by senior Trump officials to inquire about future

     releases of Organization 1, Organization 1 being WikiLeaks.         The

     indictment continues, quote:     Stone thereafter told the Trump

     campaign about potential future release of damaging material by

     WikiLeaks.    So, in short, the indictment alleges that Stone was

     asked by the Trump campaign to get information about more

     WikiLeaks releases and that Stone, in fact, did tell the Trump

     campaign about potential future releases, correct?

           Mr. Mueller.   Yes, ma'am, but I see you are quoting from the

     indictment.    Even though the indictment is a public document, I

     feel uncomfortable discussing anything having to do with the Stone

     prosecution.

           Ms. Garcia.    Right.   The indictment is of record, and we

     pulled it off the --

           Mr. Mueller.   I understand.

           Ms. Garcia.    I am reading straight from it.    Well, turning

     back to the President's answers to your questions, then, on this
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     very subject, the President denied ever discussing future

     WikiLeaks releases with Stone and denied knowing whether anyone

     else on his campaign had those discussions with Stone.      If you had

     learned that other witnesses -- putting aside the President, if

     other witnesses had lied to your investigators in response to

     specific questions, whether in writing or in an interview, could

     they be charged with false statement crimes?

           Mr. Mueller.   Well, I am not going to speculate.     I think you

     are asking for me to speculate given a set of circumstances.

           Ms. Garcia.    Well, let's make it more specific.    What if I

     had made a false statement to an investigator on your team?      Could

     I go to jail for up to 5 years?

           Mr. Mueller.   Yes.

           Ms. Garcia.    Yes.

           Mr. Mueller.   Well, although -- it is Congress, so --

           Ms. Garcia.    Well, that is the point, though, isn't it, that

     no one is above the law?

           Mr. Mueller.   That is right.

           Ms. Garcia.    Not you, not the Congress, and certainly not the

     President.   And I think it is just troubling to have to hear some

     of these things, and that is why the American people deserve to

     learn the full facts of the misconduct described in your report

     for which any other person would have been charged with crimes.

           So thank you for being here, and again, the point has been

     underscored many times, but I will repeat it.      No one is above the
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     law.   Thank you.

            Mr. Mueller.   Thank you, ma'am.

            Chairman Nadler.   The gentleman from North Dakota is

     recognized.

            Mr. Armstrong.   Mr. Mueller, how many people did you fire?

     How many people on your staff did you fire during the course of

     the investigation?

            Mr. Mueller.   How many people?

            Mr. Armstrong.   Did you fire?

            Mr. Mueller.   I am not going to discuss that.

            Mr. Armstrong.   According to the inspector general's report,

     Attorney No. 2 was let go, and we know Peter Strzok was let go,

     correct?

            Mr. Mueller.   Yes, and there may have been other persons on

     other issues that have been either transferred or fired.

            Mr. Armstrong.   Peter Strzok testified before this committee

     on July 12, 2018, that he was fired because you were concerned

     about preserving the appearance of independence.      Do you agree

     with his testimony?

            Mr. Mueller.   Say that again, if you could.

            Mr. Armstrong.   He said he was fired at least partially

     because you were worried about, concerned about preserving the

     appearance of independence with the special counsel's

     investigation.   Do you agree with that statement?

            Mr. Mueller.   The statement was by whom?
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           Mr. Armstrong.    Peter Strzok at this hearing.

           Mr. Mueller.   I am not familiar with that.

           Mr. Armstrong.    Did you fire him because you were worried

     about the appearance of independence of the investigation?

           Mr. Mueller.   No.    He was transferred as a result of

     instances involving texts.

           Mr. Armstrong.    Do you agree that your office did not only

     have an obligation to operate with independence but to operate

     with the appearance of independence as well?

           Mr. Mueller.   Absolutely.    We strove to do that over the 2

     years.

           Mr. Armstrong.    Andrew Weissmann --

           Mr. Mueller.   Part of that was making certain that --

           Mr. Armstrong.    Andrew Weissmann is one of your top

     attorneys.

           Mr. Mueller.   Yes.

           Mr. Armstrong.    Did Weissmann have a role in selecting other

     members of your team?

           Mr. Mueller.   He had some role but not a major role.

           Mr. Armstrong.    Andrew Weissmann attended a Hillary Clinton's

     election night party.      Did you know that before or after he came

     onto the team?

           Mr. Mueller.   I don't know when I found that out.

           Mr. Armstrong.    On January 30, 2017 Weissmann wrote an email

     to Deputy Attorney General Yates stating,
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     "I am so proud and in awe," regarding her disobeying a direct

     order from the President.

             Did Weissmann disclose that email to you before he joined the

     team?

             Mr. Mueller.   I am not going to talk about that.

             Mr. Armstrong.   Is that not a conflict of interest?

             Mr. Mueller.   I am not going to talk about that.

             Mr. Armstrong.   Are you aware that Ms. Jeannie Rhee

     represented Hillary Clinton in litigation regarding personal

     emails originating from Clinton's time as Secretary of State?

             Mr. Mueller.   Yes.

             Mr. Armstrong.   Did you know that before she came on the

     team?

             Mr. Mueller.   No.

             Mr. Armstrong.   Aaron Zebley, the guy sitting next to you,

     represented Justin Cooper, a Clinton aide, who destroyed one of

     Clinton's mobile devices.        And you must be aware by now that six

     of your lawyers donated $12,000 directly to Hillary Clinton.           I am

     not even talking about the $49,000 they donated to other

     Democrats, just the donations to the opponent who was the target

     of your investigation.

             Mr. Mueller.   Can I speak for a second to the hiring

     practices?

             Mr. Armstrong.   Sure.

             Mr. Mueller.   We strove to hire those individuals that could
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     do the job.

           Mr. Armstrong.   Okay.

           Mr. Mueller.   I've been in this business for almost 25 years.

     And in those 25 years, I have not had occasion once to ask

     somebody about their political affiliation.     It is not done.      What

     I care about is the capability of the individual to do the job and

     do the job quickly and seriously and with integrity.

           Mr. Armstrong.   But that is what I am saying, Mr. Mueller.

     This isn't just about you being able to vouch for your team.         This

     is about knowing that the day you accepted this role, you had to

     be aware, no matter what this report concluded, half of the

     country was going to be skeptical of your team's findings, and

     that is why we have recusal laws that define bias and perceived

     bias for this very reason.     28 United States Code 528 specifically

     lists not just political conflict of interest but the appearance

     of political conflict of interest.     It is just simply not enough

     that you vouch for your team.     The interest of justice demands

     that no perceived bias exist.     I can't imagine a single prosecutor

     or judge that I have ever appeared in front of would be

     comfortable with these circumstances where over half of the

     prosecutorial team had a direct relationship to the opponent of

     the person being investigated.
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     RPTR ZAMORA

     EDTR ZAMORA

     [11:43 a.m.]

           Mr. Mueller.   Let me -- one other fact that I put on the

     table, and that is we hired 19 lawyers over a period of time.        Of

     those 19 lawyers, 14 of them were transferred from elsewhere in

     the Department of Justice.    Only five came from outside.      So we

     did not have --

           Mr. Armstrong.   And half of them had a direct relationship,

     political or personal, with the opponent of the person you were

     investigating.    And that's my point.   I wonder if not a single

     word in this entire report was changed, but rather, the only

     difference was we switched Hillary Clinton and President Trump.

           If Peter Strzok had texted those terrible things about

     Hillary Clinton instead of President Trump, if a team of lawyers

     worked for, donated thousands of dollars to, and went to Trump's

     parties instead of Clinton's, I don't think we'd be here trying to

     prop up an obstruction allegation.

           My colleagues would have spent the last 4 months accusing

     your team of being bought and paid for by the Trump campaign and

     we couldn't trust a single word of this report.      They would still

     be accusing the President of conspiracy with Russia, and they

     would be accusing your team of aiding and abetting with that

     conspiracy.
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             And with that, I yield back.

             Chairman Nadler.   The gentleman yields back.

             The gentleman from Colorado.

             Mr. Neguse.    Director Mueller, thank you for your service to

     our country.    I'd like to talk to you about one of the other

     incidents of obstruction, and that's the evidence in your report

     showing the President directing his son and his communications

     director to issue a false public statement in June of 2017 about a

     meeting between his campaign and Russian individuals at Trump

     Tower in June of 2016.

             According to your report, Mr. Trump, Jr. was the only Trump

     associate who participated in that meeting and who declined to be

     voluntarily interviewed by your office.        Is that correct?

             Mr. Mueller.   Yes.

             Mr. Neguse.    Did Mr. Trump, Jr. or his counsel ever

     communicate to your office any intent to invoke his Fifth

     Amendment right against self-incrimination?

             Mr. Mueller.   I'm not going to answer that.

             Mr. Neguse.    You did pose written questions to the President

     about his knowledge of the Trump Tower meeting.        You

     included -- also asked him about whether or not he had directed a

     false press statement.        The President did not answer at all that

     question, correct?

             Mr. Mueller.   I don't have it in front of me.       I take your

     word.
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            Mr. Neguse.    I can represent to you that appendix C,

     specifically C13, states as much.

            According to page 100 of Volume II of your report, your

     investigation found that Hope Hicks, the President's

     communications director, in June of 2017 was shown emails that set

     up the Trump Tower meeting, and she told your office that she was,

     quote, shocked by the emails because they looked, quote, really

     bad.   True?

            Mr. Mueller.   Do you have the citation?

            Mr. Neguse.    Sure.   It's page 100 of Volume II.

            While you're flipping to that page, Director Mueller, I will

     also tell you that according to page 99 of Volume II, those emails

     in question stated, according to your report, that the crown

     prosecutor of Russia had offered to provide the Trump campaign

     with some official documents and information that would

     incriminate Hillary and her dealings with Russia as part of Russia

     and its government support for Mr. Trump.

            Trump Jr. responded, if it's what you say, I love it.     And

     he, Kushner, and Manafort, met with the Russian attorneys and

     several other Russian individuals at Trump Tower on June 9, 2016,

     end quote.     Correct?

            Mr. Mueller.   Generally accurate.

            Mr. Neguse.    Isn't it true that Ms. Hicks told your office

     that she went multiple times to the President to, quote, urge him

     that they should be fully transparent about the June 9 meeting,
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     end quote, but the President each time said no.      Correct?

           Mr. Mueller.   Accurate.

           Mr. Neguse.    And the reason was because of those emails which

     the President, quote, believed would not leak, correct?

           Mr. Mueller.   Well, I'm not certain how it's characterized,

     but generally correct.

           Mr. Neguse.    Did the President direct Ms. Hicks to say,

     quote, only that Trump Jr. took a brief meeting and it was about

     Russian adoption, end quote, because Trump Jr.'s statement to The

     New York Times, quote, said too much, according to page 102 of

     Volume II?

           Mr. Mueller.   Okay.

           Mr. Neguse.    Correct?

           Mr. Mueller.   Let me just check one thing.

           Yes.

           Mr. Neguse.    And according to Ms. Hicks, the President still

     directed her to say the meeting was only about Russian adoption,

     correct?

           Mr. Mueller.   Yes.

           Mr. Neguse.    Despite knowing that to be untrue.

           Thank you, Director Mueller.

           I yield back the balance of my time.

           Mr. Mueller.   The gentleman from Louisiana.

           Mr. Johnson of Louisiana.    Mr. Mueller, you've been

     asked -- over here on the far right, sir.
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           You've been asked a lot of questions here today.      To be

     frank, you've performed as most of us expected.      You've stuck

     closely to your report, and you have declined to answer many of

     our questions on both sides.

           As the closer for the Republican side -- I know you're glad

     to get to the close -- I want to summarize the highlights of what

     we have heard and what we know.

           You spent 2 years and nearly $30 million taxpayer and

     unlimited resources to prepare a nearly 450-page report which you

     describe today as very thorough.     Millions of Americans today

     maintain genuine concerns about your work, in large part, because

     of the infamous and widely publicized bias of your investigating

     team members, which we now know included 14 Democrats and zero

     Republicans.

           Campaign finance reports later showed that team --

           Mr. Mueller.   Can I --

           Mr. Johnson of Louisiana.    Excuse me.   It's my time.   That

     team of Democrat investigators you hired donated more than $60,000

     to the Hillary Clinton campaign and other Democratic candidates.

     Your team also included Peter Strzok and Lisa Page, which have

     been discussed today, and they had the lurid text messages that

     confirmed they openly mocked and hated Donald Trump and his

     supporters and they vowed to take him out.

           Mr. Ratcliffe asked you earlier this morning, quote, can you

     give me an example other than Donald Trump where the Justice
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     Department determined that an investigated person was not

     exonerated because their innocence was not conclusively

     determined, unquote.    You answered, I cannot.    Sir, that is

     unprecedented.

           The President believed from the very beginning that you and

     your special counsel team had serious conflicts.      This is stated

     in the report and acknowledged by everybody.      And yet

     President Trump cooperated fully with the investigation.        He knew

     he had done nothing wrong, and he encouraged all witnesses to

     cooperate with the investigation and produce more than 1.4 million

     pages of information and allowed over 40 witnesses, who were

     directly affiliated with the White House or his campaign.

           Your report acknowledges on page 61, Volume II, that a volume

     of evidence exists of the President telling many people privately,

     quote, the President was concerned about the impact of the Russian

     investigation on his ability to govern and to address important

     foreign relations issues and even matters of national security.

           And on page 174 of Volume II, your report also acknowledges

     that the Supreme Court has held, quote, the President's removal

     powers are at their zenith with respect to principal officers,

     that is officers who must be appointed by the President and who

     report to him directly.    The President's exclusive and illimitable

     power of removal of those principal officers furthers the

     President's ability to ensure that the laws are faithfully

     executed, unquote.   And that would even include the Attorney
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     General.

           Look, in spite of all of that, nothing ever happened to stop

     or impede your special counsel's investigation.      Nobody was fired

     by the President, nothing was curtailed, and the investigation

     continued unencumbered for 22 long months.

           As you finally concluded in Volume I, the evidence, quote,

     did not establish that the President was involved in an underlying

     crime related to Russian election interference, unquote.        And the

     evidence, quote, did not establish that the President or those

     close to him were involved in any Russian conspiracies or had an

     unlawful relationship with any Russian official, unquote.

           Over those 22 long months that your investigation dragged

     along, the President became increasingly frustrated, as many of

     the American people did, with its affects on our country and his

     ability to govern.   He vented about this to his lawyer and his

     close associates, and he even shared his frustrations, as we all

     know, on Twitter.

           But while the President's social media accounts might have

     influenced some in the media or the opinion of some of the

     American people, none of those audiences were targets or witnesses

     in your investigation.    The President never affected anybody's

     testimony; he never demanded to end the investigation or demanded

     that you be terminated; and he never misled Congress, the DOJ, or

     the special counsel.    Those, sir, are undisputed facts.

           There will be a lot of discussion, I predict, today and great
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     frustration throughout the country about the fact that you

     wouldn't answer any questions here about the origins of this whole

     charade, which was the infamous Christopher Steele dossier, now

     proven to be totally bogus, even though it is listed and

     specifically referenced in your report.      But as our hearing is

     concluding, we apparently will get no comment on that from you.

           Mr. Mueller, there's one primary reason why you were called

     here today by the Democrat majority of our committee.      Our

     colleagues on the other side of the aisle just want political

     cover.   They desperately wanted you today to tell them they should

     impeach the President.    But the one thing you have said very

     clearly today is that your report is complete and thorough, and

     you completely agree with and stand by its recommendations and all

     of its content.     Is that right?

           Mr. Mueller.    True.

           Mr. Johnson of Louisiana.      Mr. Mueller, one last important

     question.   Your report does not recommend impeachment, does it?

           Mr. Mueller.    I'm not going to talk about the

     recommendations.

           Mr. Johnson of Louisiana.      It does not conclude that

     impeachment would be appropriate here, right?

           Mr. Mueller.    I'm not going to talk -- I'm not going to talk

     about that issue.

           Mr. Johnson of Louisiana.      That's one of the many things you

     wouldn't talk about today, but I think we can all draw our own
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     conclusions.

           I do thank you for your service to the country.      And I'm glad

     this charade will come to an end soon and we can get back to the

     important business of this committee with its broad jurisdiction

     of so many important issues for the country.

           With that, I yield back.

           Chairman Nadler.   The gentleman yields back.

           I want to announce that our intent was to conclude this

     hearing at around 11:45.    All of the Republican members have now

     asked their questions, but we have a few remaining Democratic

     members.   They will be limiting their questions, so with Director

     Mueller's indulgence, we expect to finish within 15 minutes.

           The gentlelady from Georgia is recognized.

           Mrs. McBath.   Thank you, Mr. Chairman.

           And thank you, Director Mueller.    Your investigations of the

     Russian attack on our democracy and of obstruction of justice were

     extraordinarily productive.    And under 2 years, you charged at

     least 37 people or entities with crimes.     You convicted seven

     individuals, five of whom were top Trump campaign or White House

     aides.   Charges remain pending against more than 2 dozen Russian

     persons or entities and against others.

           Now, let me start with those five Trump campaign

     administration aides that you convicted.     Would you agree with me

     that they are Paul Manafort, President Trump's campaign manager;

     Rick Gates, President Trump's deputy campaign manager; Michael
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     Flynn, President Trump's former National Security Advisor; Michael

     Cohen, the President's personal attorney; George Papadopoulos,

     President Trump's former campaign foreign policy adviser, correct?

           Mr. Mueller.    Correct.

           Mrs. McBath.    And the sixth Trump associate will face trial

     later this year, correct?    And that person would be Roger Stone,

     correct?

           Mr. Mueller.    Correct.

           Mrs. McBath.    Thank you.

           Mr. Mueller.    Well, I'm not certain what you said about

     Stone, but he is in another court system, as I indicated before.

           Mrs. McBath.    Exactly.   He's still under investigation.

           Mr. Mueller.    And I do not want to discuss.

           Mrs. McBath.    Correct.   Thank you.

           And there are many other charges as well, correct?

           Mr. Mueller.    Correct.

           Mrs. McBath.    So, sir, I just want to thank you so much, in

     my limited time today, for your team, the work that you did, and

     your dedication.     In less than 2 years, your team was able to

     uncover an incredible amount of information related to Russia's

     attack on our elections and to obstruction of justice.

           And there is still more that we have to learn.      Despite

     facing unfair attacks by the President and even here today, your

     work has been substantive and fair.     The work has laid the

     critical foundation for our investigation, and for that, I thank
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     you.   I thank you.

            And with that, I yield back the balance of my time.

            Chairman Nadler.   The gentlelady yields back.

            The gentleman from Arizona.

            Mr. Stanton.   Thank you.

            Director Mueller, I'm disappointed that some have questioned

     your motives throughout this process, and I want to take a moment

     to remind the American people of who you are and your exemplary

     service to our country.

            You are a Marine, you served in Vietnam and earned a Bronze

     Star and a Purple Heart, correct?

            Mr. Mueller.   Correct.

            Mr. Stanton.   Which President appointed you to become the

     United States attorney for Massachusetts?

            Mr. Mueller.   Which Senator?

            Mr. Stanton.   Which President?

            Mr. Mueller.   Oh, which President.   I think that was

     President Bush.

            Mr. Stanton.   According to my notes, it was President Ronald

     Reagan had the honor to do so.

            Under whose --

            Mr. Mueller.   My mistake.

            Mr. Stanton.   Under whose administration did you serve as the

     assistant attorney general in charge of the DOJ's Criminal

     Division?
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           Mr. Mueller.   Under which President?

           Mr. Stanton.   Yep.

           Mr. Mueller.   That would be George Bush I.

           Mr. Stanton.   That is correct, President George H.W. Bush.

           After that, you took a job at a prestigious law firm, and

     after only a couple years, you did something extraordinary.      You

     left that lucrative position to reenter public service prosecuting

     homicides here in Washington, D.C.     Is that correct?

           Mr. Mueller.   Correct.

           Mr. Stanton.   When you were named Director of the FBI, which

     President first appointed you?

           Mr. Mueller.   Bush.

           Mr. Stanton.   And the Senate confirmed you with a vote of 98

     to 0, correct?

           Mr. Mueller.   Surprising.

           Mr. Stanton.   And you were sworn in as Director just one week

     before the September 11 attacks.

           Mr. Mueller.   True.

           Mr. Stanton.   You helped to protect this Nation against

     another attack.   You did such an outstanding job that when your

     10-year term expired, the Senate unanimously voted to extend your

     term for another 2 years, correct?

           Mr. Mueller.   True.

           Mr. Stanton.   When you were asked in 2017 to take the job as

     special counsel, the President had just fired FBI Director James
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     Comey.   The Justice Department and the FBI were in turmoil.     You

     must have known there would be an extraordinary challenge.      Why

     did you accept?

           Mr. Mueller.   I'm not going to get into -- that's a little

     bit off track.    It was a challenge, period.

           Mr. Stanton.   Some people have attacked the political

     motivations of your team, even suggested your investigation was a

     witch hunt.   When you considered people to join your team, did you

     ever even once ask about their political affiliation?

           Mr. Mueller.   Never once.

           Mr. Stanton.   In your entire career as a law enforcement

     official, have you ever made a hiring decision based upon a

     person's political affiliation?

           Mr. Mueller.   No.

           Mr. Stanton.   I'm not surprised --

           Mr. Mueller.   And if I might just interject, the capabilities

     that we have shown in the report that's been discussed here today

     was a result of a team of agents and lawyers who were absolutely

     exemplary and were hired because of the value they could

     contribute to getting the job done and getting it done

     expeditiously.

           Mr. Stanton.   Sir, you're a patriot.     And clear to me in

     reading your report and listening to your testimony today, you

     acted fairly and with restraint.     There were circumstances where

     you could have filed charges against other people mentioned in the
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     report but you declined.    Not every prosecutor does that,

     certainly not one on a witch hunt.

           The attacks made against you and your team intensified

     because your report is damning.     And I believe you did uncover

     substantial evidence of high crimes and misdemeanors.

           Let me also say something else that you were right about.

     The only remedy for this situation is for Congress to take action.

           I yield back.

           Chairman Nadler.   The gentleman yields back.

           The gentlelady from Pennsylvania.

           Ms. Dean.   Good morning, Director Mueller.     Madeleine Dean.

           Mr. Mueller.    Ah, gotcha.   Sorry.

           Ms. Dean.   Thank you.

           I wanted to ask you about public confusion connected with

     Attorney General Barr's release of your report.      I will be quoting

     your March 27 letter.

           Sir, in that letter, and at several other times, did you

     convey to the Attorney General that the, quote, introductions and

     executive summaries of our two-volume report accurately summarize

     this office's work and conclusions, end quote?

           Mr. Mueller.    I have to say that the letter itself speaks for

     itself.

           Ms. Dean.   And those were your words in that letter.

           Continuing with your letter, you wrote to the Attorney

     General that, quote, the summary letter that the Department sent
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     to Congress and released to the public late in the afternoon of

     March 24 did not fully capture the context, nature, and substance

     of this office's work and conclusions, end quote.      Is that

     correct?

           Mr. Mueller.   Again, I rely on the letter itself for its

     terms.

           Ms. Dean.   Thank you.

           What was it about the report's context, nature, substance

     that the Attorney General's letter did not capture?

           Mr. Mueller.   I think we captured that in the March 27

     responsive letter.

           Ms. Dean.   And this is from the 27th letter.    What were some

     of the specifics that you thought --

           Mr. Mueller.   I direct you to the letter itself.

           Ms. Dean.   Okay.   You finished that letter by saying, there

     is now public confusion about critical aspects as a result of our

     investigation.    Could you tell us specifically some of the public

     confusion you identified?

           Mr. Mueller.   Not generally.   Again, I go back to the letter.

     The letters speaks for itself.

           Ms. Dean.   And could Attorney General Barr have avoided

     public confusion if he had released your summaries and executive

     introduction and summaries?

           Mr. Mueller.   I don't feel comfortable speculating on that.

           Ms. Dean.   Shifting to May 30, the Attorney General, in an
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     interview with CBS News, said that you could have

     reached -- quote, you could have reached a decision as to whether

     it was criminal activity, end quote, on the part of the President.

     Did the Attorney General or his staff ever tell you that he

     thought you should make a decision on whether the President

     engaged in criminal activity?

             Mr. Mueller.    I'm not going to speak to what the Attorney

     General was thinking or saying.

             Ms. Dean.   If the Attorney General had directed you or

     ordered you to make a decision on whether the President engaged in

     criminal activity, would you have so done?

             Mr. Mueller.    I can't answer that question in the vacuum.

             Ms. Dean.   Director Mueller, again, I thank you for being

     here.    I agree with your March 27 letter.    There was public

     confusion, and the President took full advantage of that confusion

     by falsely claiming your report found no obstruction.

             Let us be clear, your report did not exonerate the President;

     instead, it provided substantial evidence of obstruction of

     justice leaving Congress to do its duty.      We shall not shrink from

     that duty.

             I yield back.

             Chairman Nadler.   The gentlelady yields back.   The --

             Mr. Johnson of Louisiana.    Mr. Chairman, I have a point of

     inquiry, over on your left.

             Chairman Nadler.   The gentleman will state his point of
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     inquiry.

           Mr. Johnson of Louisiana.    Was the point of this hearing to

     get Mr. Mueller to recommended impeachment?

           Mr. Mueller.   That is not a fair point of inquiry.

           The gentlelady from Florida is recognized.

           Mr. Johnson of Louisiana.    Mr. Chairman?

           Chairman Nadler.   The gentlelady from Florida is recognized.

           Ms. Mucarsel-Powell.   Director Mueller, thank you so much for

     coming here.   You're a patriot.

           I want to refer you now to Volume II, page 158.      You wrote

     that, quote, the President's efforts to influence the

     investigation were mostly unsuccessful, but that is largely

     because the persons who surrounded the President declined to carry

     out orders or accede to his request.     Is that right?

           Mr. Mueller.   That is accurate.   That is what we found.

           Ms. Mucarsel-Powell.   And you're basically referring to

     senior advisers who disobeyed the President's orders, like

     White House Counsel Don McGahn, former Trump campaign manager

     Corey Lewandowski.   Is that right?

           Mr. Mueller.   Well, we have not specified the persons

     mentioned.

           Ms. Mucarsel-Powell.   Well, in page 158, White House Counsel

     Don McGahn, quote, did not tell the Acting Attorney General that

     the special counsel must be removed but was instead prepared to

     resign over the President's orders.
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           You also explained that an attempt to obstruct justice does

     not have to succeed to be a crime, right?

           Mr. Mueller.    True.

           Ms. Mucarsel-Powell.    Simply attempting to obstruct justice

     can be a crime, correct?

           Mr. Mueller.    Yes.

           Ms. Mucarsel-Powell.    So even though the President's aides

     refused to carry out his orders to interfere with your

     investigation, that is not a defense to obstruction of justice by

     this President, is it?

           Mr. Mueller.    I'm not going to speculate.

           Ms. Mucarsel-Powell.    So to reiterate, simply trying to

     obstruct justice can be a crime, correct?

           Mr. Mueller.    Yes.

           Ms. Mucarsel-Powell.    And you say that the President's

     efforts to influence the investigation were, quote, mostly

     unsuccessful.     And that's because not all of his efforts were

     unsuccessful, right?

           Mr. Mueller.    Are you reading into what I -- what we have

     written in the report?

           Ms. Dean.    I was going to ask you if you could just tell me

     which ones you had in mind as successful when you wrote that

     sentence.

           Mr. Mueller.    I'm going to pass on that.

           Ms. Mucarsel-Powell.    Yeah.   Director Mueller, today, we've
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     talked a lot about the separate acts by this President, but you

     also wrote in your report that, quote, the overall pattern of the

     President's conduct towards the investigations can shed light on

     the nature of the President's acts, and the inferences can be

     drawn about his intent, correct?

           Mr. Mueller.   Accurate recitation from the report.

           Ms. Mucarsel-Powell.     Right.   And on page 158 again, I think

     it's important for everyone to note that the President's conduct

     had a significant change when he realized that it was -- the

     investigations were conducted to investigate his obstruction acts.

           So in other words, when the American people are deciding

     whether the President committed obstruction of justice, they need

     to look at all of the President's conduct and overall pattern of

     behavior.   Is that correct?

           Mr. Mueller.   I don't disagree.

           Ms. Mucarsel-Powell.     Thank you.   Dr. Mueller -- Director

     Mueller -- Doctor also, I'll designate that too -- I have

     certainly made up my mind about whether we -- what we have

     reviewed today meets the elements of obstruction, including

     whether there was corrupt intent.       And what is clear is that

     anyone else, including some Members of Congress, would have been

     charged with crimes for these acts.       We would not have allowed

     this behavior from any of the previous 44 Presidents.       We should

     not allow it now or for the future to protect our democracy.          And,

     yes, we will continue to investigate because, as you clearly state
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     at the end of your report, no one is above the law.

           I yield back my time.

           Chairman Nadler.    The gentlelady yields back.

           The gentlelady from Texas.

           Ms. Escobar.   Director Mueller, you wrote in your report that

     you, quote, determined not to make a traditional prosecutorial

     judgment, end quote.     Was that in part because of an opinion by

     the Department of Justice Office of Legal Counsel that a sitting

     President can't be charged with a crime?

           Mr. Mueller.   Yes.

           Ms. Escobar.   Director Mueller, at your May 29, 2019, press

     conference, you explained that, quote, the opinion says that the

     Constitution requires a process other than the criminal justice

     system to formally accuse a sitting President of wrongdoing, end

     quote.   That process other than the criminal justice system for

     accusing a President of wrongdoing, is that impeachment?

           Mr. Mueller.   I'm not going to comment on that.

           Ms. Escobar.   In your report, you also wrote that you did not

     want to, quote, potentially preempt constitutional processes for

     addressing Presidential misconduct, end quote.      For the nonlawyers

     in the room, what did you mean by, quote, potentially preempt

     constitutional processes?

           Mr. Mueller.   I'm not going to try to explain that.

           Ms. Escobar.   That actually is coming from page 1 of Volume

     II.   In the footnote is the reference to this.     What are those
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     constitutional processes?

           Mr. Mueller.   I think I heard you mention at least one.

           Ms. Escobar.   Impeachment, correct?

           Mr. Mueller.   I'm not going to comment.

           Ms. Escobar.   Okay.   That is one of the constitutional

     processes listed in the report in the footnote in Volume II.

           Your report documents the many ways the President sought to

     interfere with your investigation.     And you state in your report

     on page 10, Volume II, that with a -- interfering with a

     congressional inquiry or investigation with corrupt intent can

     also constitute obstruction of justice.

           Mr. Mueller.   True.

           Ms. Escobar.   Well, the President has told us that he intends

     to fight all the subpoenas.    His continued efforts to interfere

     with investigations of his potential misconduct certainly

     reinforce the importance of the process the Constitution requires

     to, quote, formally accuse a sitting President of wrongdoing, as

     you cited in the report.

           And in this -- and this hearing has been very helpful to this

     committee as it exercises its constitutional duty to determine

     whether to recommend articles of impeachment against the

     President.

           I agree with you, Director Mueller, that we all have a vital

     role in holding this President accountable for his actions.      More

     than that, I believe we in Congress have a duty to demand
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     accountability and safeguard one of our Nation's highest

     principles that no one is above the law.

           From everything that I have heard you say here today, it's

     clear that anyone else would have been prosecuted based on the

     evidence available in your report.     It now falls on us to hold

     President Trump accountable.    Thank you for being here.

           Chairman, I yield back.

           Mr. Collins.   Mr. Chairman?

           Chairman Nadler.   The gentlelady yields back.

           Mr. Collins.   Just one point of personal privilege.

           Chairman Nadler.   Point of personal privilege.

           Mr. Collins.   I just want to thank the chairman.     We did get

     in our time.   After this was first developed to us, we did both

     get in time.   Our side got our 5 minutes in.

           Also, Mr. Mueller, thank you for being here, and I join the

     chairman in thanking you for being here.

           Chairman Nadler.   Thank you.

           Director Mueller, we thank you for attending today's hearing.

           Before we conclude, I ask everyone to please remain seated

     and quiet while the witness exits the room.

           Without objection, all members will have 5 legislative days

     to submit additional written questions for the witness or

     additional materials for the record.

           And without objection, the hearing is now adjourned.

           [Whereupon, at 12:11 p.m., the committee was adjourned.]
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